      Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 1
            BAP Appeal No. 23-4  Docket No. 31-1  Filed: 08/04/2023 Page: 1 of 1


                            UNITED STATES BANKRUPTCY APPELLATE PANEL
                                               OF THE TENTH CIRCUIT
Anne Zoltani                                   OFFICE OF THE CLERK                     Byron White U.S. Courthouse
Clerk of Court                                                                      1823 Stout St., Denver, CO 80257
                                                                                                      (303) 335-2900
                                                 August 04, 2023


        TO:                                  All Parties
        RE:                                  Kate Drakewyck
        BAP No.:                             CO-23-004
        Bk. No.:                             22-10977
        Adv. No.:                            22-01250

        A notice of appeal was filed in the above referenced case. The notice of appeal and preliminary
        record on appeal were transmitted to the Clerk of the U.S. Court of Appeals for the Tenth Circuit
        on July 20, 2023. Pursuant to Tenth Circuit Rule 11.2(A), this Court transmits the complete
        record on appeal to the Clerk containing the following documents:

            o    Bankruptcy Court docket entries,
            o    Notice of appeal to the BAP,
            o    Bankruptcy Court Opinion, Order, and/or Judgment from which the appeal to the BAP
                 was taken,
            o    BAP docket entries,
            o    Notice of appeal to the Tenth Circuit,
            o    Briefs, if any,
            o    Appendices, if any, containing the record on appeal before the BAP
            o    BAP Opinion, Order, and/or Judgment from which the appeal is taken,
            o    Motions connected to the BAP Opinion, Order, and/or Judgment from which the appeal
                 is taken, responses, and dispositive orders, if any,
            o    Motions for extension of time to file the notice of appeal, responses, and dispositive
                 orders, if any, and
            o    Post judgment motions, responses, and dispositive orders, if any.

        This completes the record for purposes of appeal.




                                                            Anne Zoltani
                                                            Clerk of Court
23−4 Kate Drakewyck
      Appellate Case: 23-1236          Document: 010110908642 Date Filed: 08/25/2023 Page: 2                               United States
            BAP Appeal No. 23-4          Docket No. 31-2  Filed: 08/04/2023 Page: 1 of 245                          Bankruptcy Appellate Panel
                                                                                                                       of the Tenth Circuit

                                                                                                                          A True Copy
                                                                                                                  Anne M. Zoltani, Clerk of Court

                                                 General Docket
                                                                                                           Attested by:

                                U.S. Bankruptcy Appellate Panel of the Tenth Circuit
Bankruptcy Appellate Panel Docket #: 23−4                                                        Docketed: 01/30/2023
Kate Drakewyck                                                                                    Termed: 06/23/2023
Appeal From: United States Bankruptcy Court for the District of Colorado
Fee Status: Fee Paid
Case Type Information:
  1) Bankruptcy Appeal
  2) Chapter 7 Non−Business−Adv
  3) Interlocutory
Originating Court Information:
   District: 1082−1 : 22−10977                                                       Adversary Proceeding: 22−01250
   Trial Judge: Elizabeth E. Brown, U.S. Bankruptcy
Judge
   Date Filed: 10/17/2022
   Date Order/Judgment:          Date NOA Filed:         Date Rec'd BAP:
   01/18/2023                    01/28/2023              01/30/2023
Prior Cases:
   22−16 Date Filed: 09/22/2022       Date Disposed: 10/11/2022     Disposition: Panel Order − Dismissed


Current Cases:
  None
Panel Assignment:     Not available




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23−4 Kate Drakewyck
      Appellate Case: 23-1236         Document: 010110908642 Date Filed: 08/25/2023 Page: 3
            BAP Appeal No. 23-4         Docket No. 31-2  Filed: 08/04/2023 Page: 2 of 245
KATE BUFFY DRAKEWYCK                                  Kate Buffy Drakewyck
         Plaintiff − Appellant                        Direct: 720−232−7287
                                                      Email: bdrakewyck@yahoo.com
                                                      [NTC Pro Se]
                                                      Po Box 140114
                                                      Lakewood, CO 80214




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                                                page 2 of 5
23−4 Kate Drakewyck
      Appellate Case: 23-1236         Document: 010110908642 Date Filed: 08/25/2023 Page: 4
            BAP Appeal No. 23-4         Docket No. 31-2  Filed: 08/04/2023 Page: 3 of 245
IN RE KATE BUFFY DRAKEWYCK,

           Debtor.

__________________________________


KATE BUFFY DRAKEWYCK,

           Plaintiff − Appellant.




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23−4 Kate Drakewyck
      Appellate Case: 23-1236          Document: 010110908642 Date Filed: 08/25/2023 Page: 5
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07/21/2023    30   CIRCUIT: Notice of Appeal to the Tenth Circuit of filed. Tenth Circuit case number: 23−1236.
                   Bankruptcy court served. [92504] [Entered: 07/21/2023 02:07 PM]
07/21/2023    29   CIRCUIT: Notice of Appeal to the Tenth Circuit filed. Notice of Appeal and preliminary record
                   electronically transmitted to the Tenth Circuit. All parties served. [92502] [Entered: 07/21/2023 11:04
                   AM]
07/20/2023    28   CIRCUIT: Notice of Appeal to the Tenth Circuit Court of Appeals of Opinion [24] filed by Appellant
                   Kate Buffy Drakewyck. Fee due. [92497] [Entered: 07/20/2023 12:33 PM]
07/10/2023    27   MANDATE: BAP mandate filed. All parties and bankruptcy court served. [92465] Service Date:
                   07/10/2023. [Entered: 07/10/2023 07:56 AM]
06/23/2023    25   JUDGMENT: Judgment of this Court is hereby entered in accordance with the Unpublished Opinion,
                   [24], entered on June 23, 2023. All parties and the bankruptcy court served. Service Date: 06/23/2023.
                   [Entry date: 06/23/2023]. [92431] [Entered: 06/23/2023 01:42 PM]
06/23/2023    24   MERITS DISPOSITION: Unpublished Opinion filed. Affirmed. Terminated on the merits after
                   submissions without oral hearing. Judges MICHAEL, PARKER and THURMAN (author). All parties
                   and bankruptcy court served. CASE CLOSED. Entry Date: 06/23/2023. [92430] [Entered: 06/23/2023
                   01:41 PM]
03/20/2023    18   APPENDIX: Appendix filed Appellant Kate Buffy Drakewyck. Attached certificate of service lists
                   parties as served on 03/20/2023. [92166] [Entered: 03/20/2023 08:18 AM]
03/15/2023    17   BRIEF: Opening Brief filed Appellant Kate Buffy Drakewyck. Attached certificate of service lists
                   parties as served on 03/16/2023 via CM/ECF. [92142] [Entered: 03/16/2023 11:09 AM]
03/03/2023    16   ORDER: Order filed GRANTING Motion for More Time to Complete Brief and Appendix. [14]
                   Appellant's brief and appendix due 03/24/2023 for Appellant Kate Buffy Drakewyck. All parties
                   served. Entry Date: 03/03/2023. [92109] [Entered: 03/03/2023 10:19 AM]
03/02/2023    14   MOTION: Motion to Extend Time to File Appellant Opening Brief and Appendix until 03/24/2023
                   filed by Appellant Kate Buffy Drakewyck. Attached Certificate of Service lists parties as served on
                   03/02/2023. [92107] [Entered: 03/03/2023 09:15 AM]
02/08/2023    12   DUE DATE: Appellant's brief and appendix due 03/10/2023 for Appellant Kate Buffy Drakewyck.
                   [92026] [Entered: 02/08/2023 03:23 PM]
02/08/2023    11   ORDER: Order Allowing Appeal to Proceed filed by Judges SOMERS, PARKER and THURMAN.
                   All parties served. Service Date: 02/08/2023. Entry Date: 02/08/2023. [92025] [Entered: 02/08/2023
                   03:21 PM]
02/06/2023    8    MOTION: Motion for Leave to Appeal pursuant to Fed. R. Bankr. P. 8004(a) filed by Appellant Kate
                   Buffy Drakewyck. [92020] [Entered: 02/06/2023 08:14 AM]
02/06/2023    7    DOCUMENT: One Document (Combined Statement of Admission or Pro Se Status, Statement of
                   Interested Parties, and Statement Regarding Oral Argument pursuant to 10th Cir. BAP L.R. 8003−2(d))
                   filed by Appellant Kate Buffy Drakewyck. Oral argument is not requested. [92019] [Entered:
                   02/06/2023 08:13 AM]
01/30/2023    5    DOCUMENT: One Document (Combined Statement of Admission or Pro Se Status, Statement of
                   Interested Parties, and Statement Regarding Oral Argument pursuant to 10th Cir. BAP L.R. 8003−2(d))
                   filed by Appellant Kate Buffy Drakewyck. Oral argument is not requested. Attached Certificate of
                   Service lists parties as served on 01/30/2023. [91984] [Entered: 01/30/2023 02:53 PM]
01/30/2023    4    ORDER: Order to Show Cause Why Appeal Should Not Be Dismissed as Interlocutory sent to
                   Appellant Kate Buffy Drakewyck. All parties served on 01/30/2023. [91983] Response due 02/13/2023


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23−4 Kate Drakewyck
      Appellate Case: 23-1236         Document: 010110908642 Date Filed: 08/25/2023 Page: 6
             BAP Appeal No. 23-4        Docket No. 31-2  Filed: 08/04/2023 Page: 5 of 245
                  by Appellant Kate Buffy Drakewyck. [Entered: 01/30/2023 02:47 PM]
01/30/2023    3   NOTICE: Notice that appeal has been docketed with appeal caption. Interlocutory appeal filed. All
                  parties served 01/30/2023. Entry Date: 01/30/2023. [91982] [Entered: 01/30/2023 02:42 PM]
01/30/2023    1   APPEAL: Bankruptcy appeal filed. BAP case number: CO−23−04. Appeal filed in the Bankruptcy
                  Court on 01/28/2023. Notification of appeal transmitted from the Bankruptcy Court by NEF. Record
                  received from the Bankruptcy Court docket 01/30/2023. [91980] [Entered: 01/30/2023 11:37 AM]




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  Untied States Bankruptcy Appellate Panel for the Tenth
  Circuit
  Byron White U.S. Courthouse
  1823 Stout St.
  Denver, CO 80257


  On Notice of ,\ppcal in Regards to Dismissal of
  Student Loans to the Court of~ \ppeals
  BAP Case Number: 23-4
  Bankruptcy Case Number: 22-01250-EEB




  Petitioner: Kate Drakewvck
  V.

  Rcspondcnt(s): US Department of Education
                                                            A l<'OR COURT USE A


  Filing Party:   k:, _f-L- Dv~_J<. L-l,v'-j c.kc____
  .Address: y>o     \3D~ t'-1.orfc./                        Case Number:
              LA.kv-uaod, co gtou</
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  E-~Iail:
                                         Notice of Appeal




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                                                   08/04/2023 Page:
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                                                                       of 19
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                                       Final Order to i \ppeal

        J\fERJTS DISPOSITION: Unpublished Opinion filed. ~\£firmed. Terminated

 on the merits after submissions without oral hearing. Judges J\HCHAEL, Pi\RKER

 and THURl\L\N (author). _All parties and bankruptcy court served. C.\SE CLOSED.

 Entry Date: 06/23/2023. [92430]

                                        Nature of the Case

 There are requirements, if met, allow a borrower to waive their student loans in a

 Chapter 7 bankruptcy, per the US Department of Education. I met all of those

 requirements and addressed them in my initial filing. In order to request this, an

 Adversary Proceeding must be filed, the US Department of Education served, and

 both the District Attorney and Attorney General provided copies via first class

 mail. They are then provided a period of time to respond or dispute the claim. All

 three of these were served per the Rule and given that length of time. No response

 was received and I requested it be ruled in my favor, but was denied, with the

 courts saying that they were not served correctly.

 In addition. 22-10977-EEB is the initial bankruptcy Case filing. I initially tried filing

 about student loans and appealed under Case 22-16 and was denied. Judge Brown

 issued an order that I pay the fee for the ,\ppeal and I've since discovered that the fee,

 when not approved to move forward with a fee is SS. I would like the balance that I




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 was ordered to pay , minus that fee, refunded. This was not addressed in above final

 order despite being listed in the Brief.

                                            1\rgument

 Rule 7004 (b)(4) states, "Upon the United States, by mailing a copy of the surrunons

 and complaint addressed to the civil process clerk at the office of the United States

 attorney for the district in which the action is brought and by mailing a copy of the

 summons and complaint to the 1\ttorney General of the United States at Washington,

 District of Columbia, and in any action attacking the validity of an order of an officer

 or an agency of the United States not made a party, by also mailing a copy of the

 summons and complaint to that officer or agency. The court shall allow a reasonable

 time for service pursuant to this subdivision for the purpose of curing the failure to

 mail a copy of the summons and complaint to multiple officers, agencies, or

 corporations of the United States if the plaintiff has mailed a copy of the summons

 and complaint either to the civil process clerk at the office of the United States

 attorney or to the Attorney General of the United States."



 Rule 7004 (a)(l) states, "Except as provided in Rule 7004(a)(2), Rule 4(a), 0)), (c)(l),

 (d)(S), (e)-G), (~, and (m) F.R.Civ.P. applies in adversary proceedings. Personal service




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 10
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 under Rule 4(e)-G) F.R.Civ.P. may be made by any person at least 18 years of age who

 is not a party, and the summons may be delivered by the clerk to any such person."




 Rule 7004 (e) states, "Summons: Time Limit for Service Within the United States.

 Service made under Rule 4(e), .(g)_, .(h)_(1.)_, .(i)_, or .(i)_(_2)_ F.R.Civ.P. shall be by delivery of

 the summons and complaint within 7 days after the summons is issued. If service is by

 any authorized form of mail, the summons and complaint shall be deposited in the

 mail within 7 days after the summons is issued. If a summons is not timely delivered

 or mailed, another summons shall be issued and served. 'fhis subdivision docs not

 apply to service in a foreign country."



 After the service of the US Department of Education was served, the judge ordered,

 with the exact verbiage of Rule 7004 (b) (4), that I make a correctior.. by providing

 copies, via first class mail to the District -1\ttorncy and J\ttorncy General. I completed

 that and provided proof within the deadline. In regards to service, Rule 7004 (a) (1 ), I

 met that rule in using a service company and gaining proof of service. Rule 7004 (c)

 also clearly states where reserving someone would be necessary, "If a summons is not

 timely delivered or mailed, another summons shall be issued and served." I provided

 proof of service, it was accepted. No where in Rule 7004, that Bancruptcy or B.\P




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  keeps trying to fall back on, docs it say anything about having to re serve a notice

  because it's gone stale. It isn't for the courts to make up a change or edit to a Rule to

  try to justify unlawfully dismissing a case. I served the party correctly, I provided

  additional documents per the Bankruptcy's order. In having met the court and Rule

  7004's requirement of service, it is unlaw to dismiss the case based on a lack on my

  part. Based on Rule 7004, which is the only reason listed for dismissal, legally, I have

  a right to proceed with the adversary proceeding.



  l\ccording to BAP, the fee for filing is $5, yet Judge Brown order payment of $295

 when I got paid, despite the fact that the case 22-16 which did not proceed. Per

 BAP's own fee schedule: https://www.baplO.uscourts.gov/fecs, she ordered $290

 over what the fee should have been. -'\s stated above, a court can't decide to add

 something, certainly not because the judge wanted to teach me a lesson. There is a

 fee schedule in place, so that each person is subject to the same cost of service. Judge

 Brown violated my right to be charged as the courts decided I would be subject to.




 I respectfully request this court to:




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  As I've shown, I submitted the l\dversary Proceeding, had it served to all three parties

  as required under Rule 7004. This Rule docs not state that a process of service can go

  stale, all three parties were given the full length of time to submit their responses and

  didn't move fo1ward with doing so. I meet all of the requirements as listed on the US

  Department of Education's website. The District of Colorado Bankruptcy Court

 made an error in its dismissal. I'm asking that the dismissal be overturned and the

 Proceeding be allowed to proceed.

 In addition, I would like it ordered that the court refund the over charge the Judgc

 Brown ordered, over the SS that was the actual fee.




                                           Respectfully submitted,




 Certificate of Service

 I certify that on Date _July 16_ _, 2023_ an original of this l\Iotion was filed with

 the Supreme Court. I sent a copy, along with any attachments, to the people listed




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 below: (Every party in the case should be sent a copy. If a party has a lawyer, send the

 copy to the lawyer.)



 Name of Party Served: US Department of Education_ _ _ _ __

 Sent by (Check One): IZ! U.S ..Mail; D In-Person Hand Delivery: ORD E-mail

 ~\ddrcss:_400 l\1aryland ,\vc, S\X', \Vashington, DC,
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                                  Signature: ____
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                                                                                   U.S. Bankruptcy Appellate Panel
                                                                                         of the Tenth Circuit

                                NOT FOR PUBLICATION 1                                   June 23, 2023
               UNITED STATES BANKRUPTCY APPELLATE PANEL                                Blaine F. Bates
                                                                                            Clerk
                                OF THE TENTH CIRCUIT



   IN RE KA TE BUFFY DRAKEWYCK,                             BAP No. CO-23-004

               Debtor.


                                                            Bankr. No. 22-10977
                                                            Adv. No. 22-01250
  KATE BUFFY DRAKEWYCK,                                          Chapter 7

               Plaintiff - Appellant.


                                                                 OPINION




                     Appeal from the United States Bankruptcy Court
                               for the District of Colorado


 Submitted on Appellant's brief. 2


 Before MICHAEL, PARKER, and THURMAN, Bankruptcy Judges.



        1
          This unpublished opinion may be cited for its persuasive value, but is not
 precedential, except under the doctrines oflaw of the case, claim preclusion, and issue
 preclusion. 10th Cir. BAP L.R. 8026-6.
       2
         The Appellant did not request oral argument, and after examining the
 Appellant's brief and appellate record, the Court has determined unanimously that oral
 argument would not materially assist in the determination of this appeal. See Fed. R.
 Bankr. P. 8019(b). The case is therefore ordered submitted without oral argument.



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 THURMAN, Bankruptcy Judge.



        Due process is fundamental to the legal system. Put simply, nothing happens in the

 dark. An affected party is entitled to proper notice before being deprived of its rights.

 Accordingly, there are rules promulgated by the Judicial Conference and approved by

 Congress to ensure parties receive the process due to them.

        Here, a chapter 7 debtor filed an adversary proceeding to discharge her student

 loan debt naming the United States Department of Education as the defendant (the

 "Defendant"). The Bankruptcy Court issued a summons to the Defendant and the debtor

 filed an affidavit of service asserting she served the Defendant. The Defendant never filed

 an answer. Several weeks later, the debtor filed a motion for entry of default judgment.

 The Bankruptcy Court denied the motion because the debtor failed to properly effectuate

 service. The order denying the motion set forth the steps the debtor needed to take to

 effectuate proper service. The debtor attempted to cure, but failed once again. Undaunted,

 the debtor filed a second motion for entry of default judgment. The Bankruptcy Court

 entered an order denying the second motion for failure to properly effectuate service and

 an order dismissing the adversary proceeding without prejudice, which the debtor appeals

 now. Finding no error, we affirm the order dismissing the adversary proceeding.

       I. Background

           a. The Bankruptcy and Prior Appeal

       Appellant Kate Buffy Drakewyck (herein "Drakewyck") filed a chapter 7 petition

 for bankruptcy relief on March 25, 2022. On August 27, 2022, Drakewyck filed a motion

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  in the bankruptcy case seeking to discharge her student loan debt. A few days later, the

  Bankruptcy Court entered an order denying the motion without prejudice (the "Order

  Denying Motion") concluding such relief must be sought in an adversary proceeding. 3 On

  September 18, 2022, Drakewyck filed a motion to reconsider the Order Denying Motion,

  which the Bankruptcy Court denied without prejudice to the filing of an adversary

  proceeding. Drakewyck appealed both orders to the BAP on September 21, 2022. The

  BAP determined the Order Denying Motion was final and summarily affinned the

  Bankruptcy Court concluding the relief sought required an adversary proceeding. 4

              b. The Adversa,y Proceeding

         On October 17, 2022, Drakewyck filed an adversary proceeding against the

  Defendant seeking to discharge her student loan debt (the "Complaint"). That same day,

  the clerk of the Bankruptcy Court issued a summons to the Defendant (the "Original

  Summons"). On October 29, 2022, Drakewyck filed an affidavit of service asserting a

  process server served Roland Stallings, Clerk, a person authorized to accept service on

  behalf of the Defendant. Drakewyck filed no other affidavits of service.

        On November 28, 2022, Drakewyck filed a Motion to Rule in Favor of the Debi tor

 [sic}: Dismissal of the Student Loan Balance (the "First Motion") requesting the

 Bankruptcy Court fully rule in her favor because the Defendant had not complied with




        3
            Order Denying Motion to Rule in Favor of the Debtor, in Appellant App. at 152-
 53.
        4
       Order Denying leave to Appeal as Unnecesswy and Affirming Order Appealed,
 BAP CO-22-16, ECF No. 26.

                                                 3


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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 17
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  the Original Summons and deadlines. On November 29, 2022, the Bankruptcy Court

  entered an Order Denying l\llotion to Rule in Favor of the Debtor (the "First Motion

  Order") 5 finding Drakewyck failed to properly serve the Defendant in accordance with

  Federal Rule of Bankruptcy Procedure 7004(b )( 4) and (5). 6 The Bankruptcy Court then

  ordered Drakewyck to file a motion for issuance of an alias summons 7 and serve the

  Defendant with the alias summons and a copy of the Complaint on or before December

  13, 2022, in accordance with Rule 7004(b)(4) and (5). 8

         Drakewyck never filed a motion for or obtained an alias summons-the only way

  to cure the stale Original Summons-but instead, on December 12, 2022, Drakewyck

  filed certificates of service with the Bankruptcy Court showing she mailed copies of the

  Complaint and Original Summons to the District Attorney of Washington, D.C., and the

  Office of the Attorney General in Washington, D.C., on December 10, 2022, the entities

  Drakewyck believed she should serve under Rule 7004(b)(4) and (5).

         On December 14, 2022, the Bankruptcy Court entered an order (the "Order to

  File") finding Drakewyck did not file a motion for, and serve the parties with, an alias

  summons and copy of the Complaint in accordance with Rule 7004(b)(4) and (5). The




        5
            First Motion Order at 2, in Appellant App. at 150.
        6
         All future references to Rule or Rules shall mean the Federal Rules of Civil
  Procedure when followed by one or two-digit numbers and Federal Rules of Bankruptcy
  Procedure when followed by four-digit numbers.
        7
           An alias summons is the tenn used to describe a reissued summons after the
  original summons has gone stale.
        8
            First Motion Order at 2, in Appellant App. at 150.

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 18
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  Order to File provided Drakewyck an extension of time to do so by December 28, 2022.

  The Bankruptcy Court warned Drakewyck that failure to do so would result in dismissal

  of the adversary proceeding. 9 .

         On January 16, 2022, Drakewyck again filed a Motion to Rule in Favor of the

  Debitor [sic}: Dismissal of the Student Loan Balance (the "Second Motion"). Drakewyck

  requested the Bankruptcy Court to rule in her favor and dismiss (discharge) the student

  loan balance because she properly served the Defendant and thirty-five days had passed.

         On January 18, 2022, the Bankruptcy Court entered an order denying the Second

  Motion 10 and the Order Dismissing Case (the "Final Order") dismissing the adversary

  proceeding without prejudice. 11 In the Final Order, the Bankruptcy Court concluded

  Drakewyck's failure to comply with the Order to File warranted dismissal. 12 The

  Bankruptcy Court further concluded that Rule 4(m) provided additional grounds for

  dismissal because more than ninety days elapsed since the commencement of the

  adversary proceeding, and Drakewyck still had not supplied proof of proper service. 13

  This appeal followed.




        9
             Order to File, in Appellant App. at 144.
        10
          Order Denying Plaint(ff's Second Motion to Rule in Favor of the Debtor, in
  Appellant App. at 137-38.
        11
             Final Order, in Appellant App. at 135-36.
        12
           Id., in Appellant App. at 135.
        13 Id.


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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 19
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         II. Jurisdiction

         This Court has jurisdiction to hear timely filed appeals from "final judgments,

  orders, and decrees" of bankruptcy courts within the Tenth Circuit, unless a party elects

  to have the district court hear the appeal. 14 Drakewyck timely filed her notice of appeal. 15

  A prior panel determined the Final Order was final as to whether the Bankruptcy Court

  erred in dismissing Drakewyck's adversary proceeding for failure to timely effectuate

  proper service. 16 Drakewyck did not elect to have the district court hear the appeal.

  Accordingly, this Court has jurisdiction to hear this appeal.

         III.      Issue on Appeal and Standard of Review

         There is one issue on appeal-whether the Bankruptcy Court erred by dismissing

  Drakewyck's adversary proceeding for failure to timely effectuate proper service on the

  Defendant, which we review for abuse of discretion. 17 Under the abuse of discretion



         14
              28 U.S.C. § 158(a)(1 ), (b)(l ), and (c)( 1); Fed. R. Bankr. P. 8003, 8005.
         15
           See In re Durability, Inc., 893 F.2d 264, 266 (10th Cir. 1990) (noting that "the
  appropriate 'judicial unit' for application of these finality requirements in bankruptcy is
  not the overall case, but rather the particular adversary proceeding or discrete controversy
  pursued within the broader framework cast by the petition").
         16
              Order Allowing Appeal to Proceed, BAP CO-23-4, ECF No. 11.
         17
            The Bankruptcy Court cites two grounds for its dismissal: (i) failure to comply
  with the Bankruptcy Court's Order and (ii) failure to effectuate timely service. A
  dismissal for failure to comply with a court's order is reviewed for abuse of discretion.
  See Gripe v. City of Enid, 312 F.3d 1184, 1188 (10th Cir. 2002) ("The Federal Rules of
  Civil Procedure authorize sanctions, including dismissal, ... for failing to comply with
  the court rules or any order of the court" which is reviewed for abuse of discretion)
  (citing Fed. R. Civ. P. 41 (b )). Similarly, a court's dismissal for failure to comply with
  Rule 4(m) is also reviewed for abuse of discretion. See Espinoza v. United States, 52 F.3d
  838, 840 (10th Cir. 1995) ("'We review the [lower] court's dismissal for untimely service
  for an abuse of discretion.") (citing Jones v. Frank, 973 F.2d 872, 872 (10th Cir. 1992)).

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  standard, this Court will not disturb a bankruptcy court's decision unless it "has a definite

  and firn1 conviction that the lower court made a clear error of judgment or exceeded the

  bounds of pennissible choice in the circumstances." 18 An abuse of discretion occurs

  when "the [trial] court's decision is 'arbitrary, capricious or whimsical,' or results in a

  'manifestly unreasonable judgment."' 19 "A clear example of an abuse of discretion exists

  where the trial court fails to consider the applicable legal standard or the facts upon

  which the exercise of its discretionary judgment is based." 20

         IV.      Analysis

         To satisfy due process, a party must effectuate proper service of process upon the

  party from whom it seeks relief. 21 Rule 7004 governs service of process in a bankruptcy

  case. 22 Unless otherwise stated by Rule 7004, service may be made within the United



         18
           In re Arenas, 535 B.R. 845, 849 (10th Cir. BAP 2015) (quoting Moothart v.
  Bell, 21 F.3d 1499, 1504 (10th Cir. 1994)).
         19
          Moothart, 21 F.3d at 1504-05 (quoting United States v. Wright, 826 F.2d 938,
 943 (10th Cir. 1987)).
        20
          Jackson v. Los Lunas Cmty. Program, 880 F.3d 1176, 1191 (10th Cir. 2018)
 (quoting Ohlander v. Larson, 114 F.3d 1531, 153 7 (10th Cir. 1997)).
        21
            See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) ("An
 elementary and fundamental requirement of due process in any proceeding which is to be
 accorded finality is notice reasonably calculated, under all the circumstances, to apprise
 interested parties of the pendency of the action and afford them an opportunity to present
 their objections."). Even though Drakewyck is proceeding pro se, she still needs to
 comply with the relevant rules. In re Onyeabor, BAP No. UT-14-047, 2015 WL
 1726692, at *6 (10th Cir. BAP Apr. I 5, 2015) (unpublished) ("[ P]ro se status does not
 excuse a party's obligation to know and comply with the same rules that govern other
 litigants.") (citing Garrett v. Selby Connor Maddux & Jane,-, 425 F.3d 836, 840 (10th
 Cir. 2005)).
        22
              Fed. R. Bankr. P. 7004.

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  States by first class mail or by a method authorized by Rule 4( e)-(j). 23 Rule 4(i) applies

  in bankruptcy adversary proceedings and governs serving the United States and its

  agencies and provides service may also be made by registered or certified mail. 24 Such

  service must occur, or be deposited in the mail, within seven days after the bankruptcy

  court issues the summons. 25 Should timely delivery not occur, the summons becomes

  stale and is no longer effective. 26 To remedy a stale summons, a party may file a motion

  for another summons-often called an alias summons-with the bankruptcy court, and

  only then may the party effectuate proper service. 27

         Under Rule 7004(b)(4) and (5), when serving a United States agency, a party must

  also serve the United States. 28 To properly serve the United States, the Rules require a




         23
              Id. at 7004(b ).
        24
           Fed. R. Civ. P. 4(i) made applicable to bankruptcy proceedings by Rule
  7004(a)(l ).
        25
              Fed. R. Bankr. P. 7004(e).
        26
           See id. ("If service is by any authorized form of mail, the summons and
 complaint shall be deposited in the mail within 7 days after the summons is issued."). See
 also Menges v. Menges (In re Menges), 337 B.R. 191, 193 (Bankr. N.D. Ill. 2006) ("If
 service is not made in that time, the summons is stale, and another summons must be
 issued."); Carter v. Hall (In re Hall), No. 07-11393-R, 2009 WL 1652202, at *1 (Bankr.
 N.D. Okla. June 10, 2009) (unpublished) (concluding a summons becomes "stale" when
 not delivered or mailed within the time prescribed by the Rule); Peter v. Hutchings (In re
 Hutchings), No. BAP MW 10-078, 2011 WL 4572017, at *3 (1st Cir. BAP May 25,
 2011) (unpublished) (failure to serve a summons within the time period prescribed by the
 rule renders the summons invalid, thus requiring a party to obtain a new summons)
 (citing cases).
        27
            See In re Hutchings, 2011 WL 4572017, at *3; Fed. R. Bankr. P. 7004(b)(4),
  (b)(5), (e) and (i).
        28
              Fed. R. Bankr. P. 7004(b)(5).

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  party must mail a copy of the summons and complaint to (i) the United States agency, 29

  (ii) the civil process clerk at the office of the United States Attorney fer the district in

  which the action is brought, 30 and (iii) the Attorney Genernl of the United States in

  Washington, D.C. 31 Should a party fail to properly serve a copy of the summons and

  complaint to any one of these entities, the court must provide reasonable time to cure the

  deficiency. 32 Failure to effectuate proper service within ninety days after a complaint is

  filed, without a showing of good cause for the failure, will result in case dismissal

  without prejudice. 33

         The Bankruptcy Court dismissed the adversary proceeding on two grounds. First,

  Drakewyck failed to comply with the Order to File requiring her to file a motion for an

  alias summons and then properly serve the alias summons on the Defendant and the

  United States. Second, Drakewyck failed to timely effectuate service on the Defendant

  and the United States within ninety days pursuant to Rule 4(m).




         29 Id.

         3
          °Fed. R. Bankr. P. 7004(b)(4) (emphasis added).
        31 Id.

        32
             Id. at 7004(b)(4) and (5).
        33
          Fed. R. Civ. P. 4(m), made applicable to bankruptcy cases by Fed. R. Bankr. P.
 7004, provides,
                  [i]f a defendant is not served within 90 days after the complaint is
                  filed, the court - on motion or on its own after notice to the plaintiff
                  - must dismiss the action without prejudice against that defendant or
                  order that service be made with a specified time. But if the plaintiff
                  shows good cause for the failure, the court must extend the time for
                  service for an appropriate period.

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         Drakewyck contends she effectuated proper service by (i) serving the Defendant,

  the US Attorney, and the Attorney General pursuant to Rule 7004(b)(4) and (5), (ii)

  complying with the First Motion Order and the Order to File (the "Orders"), and (iii)

  doing so in the time frame specified. Drakewyck also asserts Rule 7004 does not state a

  summons "can go stale," and thus the Bankrnptcy Court erred in dismissing the adversaiy

  proceeding on that ground.

         The Bankrnptcy Court did not abuse its discretion in dismissing the adversary

  proceeding for Drakewyck's failure to effectuate proper service and comply with the

  Orders for several reasons. First, Drakewyck failed to properly serve the Original

  Summons and Complaint addressed to the civil process clerk at the office of the United

  States Attorney for the District of Colorado, the district in ivhich the action was brought.

  Instead, Drakewyck mailed, via first class mail, a copy of the Original Summons and

  Complaint to the United States Attorney for the District of Washington, D.C. 34

         Second, Drakewyck did not send a copy of the Original Summons and Complaint

  to the United States Attorney for the District of Colorado or the Attorney General within

  seven days of the Bankruptcy Court issuing the Original Summons, thus rendering the

  summons stale. 35 Nor did Drakewyck file a motion for, and receive, an alias summons,

  which would allow her to effectuate proper service on the Defendant and the United

  States pursuant to the Order to File and Rule 7004.




        34
             December 12, 2022 Certificates of Service, in Appellant App. at 145-48.
        35
             Fed. R. Bankr. P. 7004(e).

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         Third, as of the date of the Final Order, more than ninety days had passed since the

  commencement of the adversary proceeding and Drakewyck still had not effectuated

  proper service. Notably, Rule 4(m) provides a court must extend time for service for an

  appropriate period if the party shows good cause for failure to timely effectuate service.

  Drakewyck does not, however, argue good cause existed. Moreover, even if Drakewyck

  raised such an argument on appeal, the record shows Drakewyck failed to comply with

  the Orders, both of which emphasized Drakewyck needed to obtain an alias summons-

  which was required to timely effectuate proper service-and serve the proper entities by

  a certain date. In effect, the Bankruptcy Court extended Drakewyck's time to serve the

  proper entities after she failed to meet the first deadline, and expressly noted failure to do

  so would result in a dismissal without prejudice. 36 Accordingly, under Rule 4(m), the

  dismissal was warranted.

         V.     Conclusion

         We find no abuse of discretion. The original summons went stale when

  Drakewyck did not comply with the Rules to effectuate proper service within the time

  provided. Additionally, Drakewyck did not comply with the Orders, nor did Drakewyck

  effectuate proper service within ninety days pursuant to Rule 4(m). The Bankruptcy

  Court applied the appropriate legal standard, the decision was not arbitrary, whimsical, or




        36
          See First Motion Order at 2, in Appellant App. at 150; Order to File at I, in
  Appellant App. at 143.

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  capricious, and it did not result in manifest injustice. Thus, the decision of the

  Bankruptcy Court is AFFIRMED.




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                                NOT FOR PUBLICATION 1
              UNITED STATES BANKRUPTCY APPELLATE PANEL
                               OF THE TENTH CIRCUIT
                         _________________________________

  IN RE KATE BUFFY DRAKEWYCK,                               BAP No. CO-23-004

              Debtor.

  __________________________________
                                                            Bankr. No. 22-10977
                                                             Adv. No. 22-01250
  KATE BUFFY DRAKEWYCK,                                          Chapter 7

               Plaintiff - Appellant.


                                                                  OPINION



                         _________________________________

                     Appeal from the United States Bankruptcy Court
                               for the District of Colorado
                        _________________________________

 Submitted on Appellant’s brief. 2
                          ______________________________

 Before MICHAEL, PARKER, and THURMAN, Bankruptcy Judges.
                    ______________________________


        1
         This unpublished opinion may be cited for its persuasive value, but is not
 precedential, except under the doctrines of law of the case, claim preclusion, and issue
 preclusion. 10th Cir. BAP L.R. 8026-6.
        2
         The Appellant did not request oral argument, and after examining the
 Appellant’s brief and appellate record, the Court has determined unanimously that oral
 argument would not materially assist in the determination of this appeal. See Fed. R.
 Bankr. P. 8019(b). The case is therefore ordered submitted without oral argument.




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 27
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 THURMAN, Bankruptcy Judge.

                             _________________________________

        Due process is fundamental to the legal system. Put simply, nothing happens in the

 dark. An affected party is entitled to proper notice before being deprived of its rights.

 Accordingly, there are rules promulgated by the Judicial Conference and approved by

 Congress to ensure parties receive the process due to them.

        Here, a chapter 7 debtor filed an adversary proceeding to discharge her student

 loan debt naming the United States Department of Education as the defendant (the

 “Defendant”). The Bankruptcy Court issued a summons to the Defendant and the debtor

 filed an affidavit of service asserting she served the Defendant. The Defendant never filed

 an answer. Several weeks later, the debtor filed a motion for entry of default judgment.

 The Bankruptcy Court denied the motion because the debtor failed to properly effectuate

 service. The order denying the motion set forth the steps the debtor needed to take to

 effectuate proper service. The debtor attempted to cure, but failed once again. Undaunted,

 the debtor filed a second motion for entry of default judgment. The Bankruptcy Court

 entered an order denying the second motion for failure to properly effectuate service and

 an order dismissing the adversary proceeding without prejudice, which the debtor appeals

 now. Finding no error, we affirm the order dismissing the adversary proceeding.

        I. Background

           a. The Bankruptcy and Prior Appeal

        Appellant Kate Buffy Drakewyck (herein “Drakewyck”) filed a chapter 7 petition

 for bankruptcy relief on March 25, 2022. On August 27, 2022, Drakewyck filed a motion

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 in the bankruptcy case seeking to discharge her student loan debt. A few days later, the

 Bankruptcy Court entered an order denying the motion without prejudice (the “Order

 Denying Motion”) concluding such relief must be sought in an adversary proceeding. 3 On

 September 18, 2022, Drakewyck filed a motion to reconsider the Order Denying Motion,

 which the Bankruptcy Court denied without prejudice to the filing of an adversary

 proceeding. Drakewyck appealed both orders to the BAP on September 21, 2022. The

 BAP determined the Order Denying Motion was final and summarily affirmed the

 Bankruptcy Court concluding the relief sought required an adversary proceeding. 4

             b. The Adversary Proceeding

        On October 17, 2022, Drakewyck filed an adversary proceeding against the

 Defendant seeking to discharge her student loan debt (the “Complaint”). That same day,

 the clerk of the Bankruptcy Court issued a summons to the Defendant (the “Original

 Summons”). On October 29, 2022, Drakewyck filed an affidavit of service asserting a

 process server served Roland Stallings, Clerk, a person authorized to accept service on

 behalf of the Defendant. Drakewyck filed no other affidavits of service.

        On November 28, 2022, Drakewyck filed a Motion to Rule in Favor of the Debitor

 [sic]: Dismissal of the Student Loan Balance (the “First Motion”) requesting the

 Bankruptcy Court fully rule in her favor because the Defendant had not complied with




        3
            Order Denying Motion to Rule in Favor of the Debtor, in Appellant App. at 152–
 53.
        4
       Order Denying Leave to Appeal as Unnecessary and Affirming Order Appealed,
 BAP CO-22-16, ECF No. 26.

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 29
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 the Original Summons and deadlines. On November 29, 2022, the Bankruptcy Court

 entered an Order Denying Motion to Rule in Favor of the Debtor (the “First Motion

 Order”) 5 finding Drakewyck failed to properly serve the Defendant in accordance with

 Federal Rule of Bankruptcy Procedure 7004(b)(4) and (5). 6 The Bankruptcy Court then

 ordered Drakewyck to file a motion for issuance of an alias summons 7 and serve the

 Defendant with the alias summons and a copy of the Complaint on or before December

 13, 2022, in accordance with Rule 7004(b)(4) and (5). 8

        Drakewyck never filed a motion for or obtained an alias summons—the only way

 to cure the stale Original Summons—but instead, on December 12, 2022, Drakewyck

 filed certificates of service with the Bankruptcy Court showing she mailed copies of the

 Complaint and Original Summons to the District Attorney of Washington, D.C., and the

 Office of the Attorney General in Washington, D.C., on December 10, 2022, the entities

 Drakewyck believed she should serve under Rule 7004(b)(4) and (5).

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        5
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        6

 Procedure when followed by one or two-digit numbers and Federal Rules of Bankruptcy
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        8
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 Motion 10 and the Order Dismissing Case (the “Final Order”) dismissing the adversary

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 Drakewyck’s failure to comply with the Order to File warranted dismissal. 12 The

 Bankruptcy Court further concluded that Rule 4(m) provided additional grounds for

 dismissal because more than ninety days elapsed since the commencement of the

 adversary proceeding, and Drakewyck still had not supplied proof of proper service. 13

 This appeal followed.




        9
            Order to File, in Appellant App. at 144.
        10
         Order Denying Plaintiff’s Second Motion to Rule in Favor of the Debtor, in
 Appellant App. at 137–38.
        11
             Final Order, in Appellant App. at 135–36.
        12
             Id., in Appellant App. at 135.
        13
             Id.

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        II. Jurisdiction

        This Court has jurisdiction to hear timely filed appeals from “final judgments,

 orders, and decrees” of bankruptcy courts within the Tenth Circuit, unless a party elects

 to have the district court hear the appeal. 14 Drakewyck timely filed her notice of appeal. 15

 A prior panel determined the Final Order was final as to whether the Bankruptcy Court

 erred in dismissing Drakewyck’s adversary proceeding for failure to timely effectuate

 proper service. 16 Drakewyck did not elect to have the district court hear the appeal.

 Accordingly, this Court has jurisdiction to hear this appeal.

        III.     Issue on Appeal and Standard of Review

        There is one issue on appeal—whether the Bankruptcy Court erred by dismissing

 Drakewyck’s adversary proceeding for failure to timely effectuate proper service on the

 Defendant, which we review for abuse of discretion. 17 Under the abuse of discretion


        14
             28 U.S.C. § 158(a)(1), (b)(1), and (c)(1); Fed. R. Bankr. P. 8003, 8005.
        15
          See In re Durability, Inc., 893 F.2d 264, 266 (10th Cir. 1990) (noting that “the
 appropriate ‘judicial unit’ for application of these finality requirements in bankruptcy is
 not the overall case, but rather the particular adversary proceeding or discrete controversy
 pursued within the broader framework cast by the petition”).
        16
             Order Allowing Appeal to Proceed, BAP CO-23-4, ECF No. 11.
        17
           The Bankruptcy Court cites two grounds for its dismissal: (i) failure to comply
 with the Bankruptcy Court’s Order and (ii) failure to effectuate timely service. A
 dismissal for failure to comply with a court’s order is reviewed for abuse of discretion.
 See Gripe v. City of Enid, 312 F.3d 1184, 1188 (10th Cir. 2002) (“The Federal Rules of
 Civil Procedure authorize sanctions, including dismissal, . . . for failing to comply with
 the court rules or any order of the court” which is reviewed for abuse of discretion)
 (citing Fed. R. Civ. P. 41(b)). Similarly, a court’s dismissal for failure to comply with
 Rule 4(m) is also reviewed for abuse of discretion. See Espinoza v. United States, 52 F.3d
 838, 840 (10th Cir. 1995) (“We review the [lower] court’s dismissal for untimely service
 for an abuse of discretion.”) (citing Jones v. Frank, 973 F.2d 872, 872 (10th Cir. 1992)).

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 standard, this Court will not disturb a bankruptcy court’s decision unless it “has a definite

 and firm conviction that the lower court made a clear error of judgment or exceeded the

 bounds of permissible choice in the circumstances.” 18 An abuse of discretion occurs

 when “the [trial] court’s decision is ‘arbitrary, capricious or whimsical,’ or results in a

 ‘manifestly unreasonable judgment.’” 19 “A clear example of an abuse of discretion exists

 where the trial court fails to consider the applicable legal standard or the facts upon

 which the exercise of its discretionary judgment is based.” 20

        IV.      Analysis

        To satisfy due process, a party must effectuate proper service of process upon the

 party from whom it seeks relief. 21 Rule 7004 governs service of process in a bankruptcy

 case. 22 Unless otherwise stated by Rule 7004, service may be made within the United



        18
           In re Arenas, 535 B.R. 845, 849 (10th Cir. BAP 2015) (quoting Moothart v.
 Bell, 21 F.3d 1499, 1504 (10th Cir. 1994)).
        19
          Moothart, 21 F.3d at 1504–05 (quoting United States v. Wright, 826 F.2d 938,
 943 (10th Cir. 1987)).
        20
          Jackson v. Los Lunas Cmty. Program, 880 F.3d 1176, 1191 (10th Cir. 2018)
 (quoting Ohlander v. Larson, 114 F.3d 1531, 1537 (10th Cir. 1997)).
        21
            See Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (“An
 elementary and fundamental requirement of due process in any proceeding which is to be
 accorded finality is notice reasonably calculated, under all the circumstances, to apprise
 interested parties of the pendency of the action and afford them an opportunity to present
 their objections.”). Even though Drakewyck is proceeding pro se, she still needs to
 comply with the relevant rules. In re Onyeabor, BAP No. UT-14-047, 2015 WL
 1726692, at *6 (10th Cir. BAP Apr. 15, 2015) (unpublished) (“[P]ro se status does not
 excuse a party’s obligation to know and comply with the same rules that govern other
 litigants.”) (citing Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 840 (10th
 Cir. 2005)).
        22
             Fed. R. Bankr. P. 7004.

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 States by first class mail or by a method authorized by Rule 4(e)–(j). 23 Rule 4(i) applies

 in bankruptcy adversary proceedings and governs serving the United States and its

 agencies and provides service may also be made by registered or certified mail. 24 Such

 service must occur, or be deposited in the mail, within seven days after the bankruptcy

 court issues the summons. 25 Should timely delivery not occur, the summons becomes

 stale and is no longer effective. 26 To remedy a stale summons, a party may file a motion

 for another summons—often called an alias summons—with the bankruptcy court, and

 only then may the party effectuate proper service. 27

        Under Rule 7004(b)(4) and (5), when serving a United States agency, a party must

 also serve the United States. 28 To properly serve the United States, the Rules require a




        23
             Id. at 7004(b).
        24
          Fed. R. Civ. P. 4(i) made applicable to bankruptcy proceedings by Rule
 7004(a)(1).
        25
             Fed. R. Bankr. P. 7004(e).
        26
           See id. (“If service is by any authorized form of mail, the summons and
 complaint shall be deposited in the mail within 7 days after the summons is issued.”). See
 also Menges v. Menges (In re Menges), 337 B.R. 191, 193 (Bankr. N.D. Ill. 2006) (“If
 service is not made in that time, the summons is stale, and another summons must be
 issued.”); Carter v. Hall (In re Hall), No. 07-11393-R, 2009 WL 1652202, at *1 (Bankr.
 N.D. Okla. June 10, 2009) (unpublished) (concluding a summons becomes “stale” when
 not delivered or mailed within the time prescribed by the Rule); Peter v. Hutchings (In re
 Hutchings), No. BAP MW 10-078, 2011 WL 4572017, at *3 (1st Cir. BAP May 25,
 2011) (unpublished) (failure to serve a summons within the time period prescribed by the
 rule renders the summons invalid, thus requiring a party to obtain a new summons)
 (citing cases).
        27
           See In re Hutchings, 2011 WL 4572017, at *3; Fed. R. Bankr. P. 7004(b)(4),
 (b)(5), (e) and (i).
        28
             Fed. R. Bankr. P. 7004(b)(5).

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 party must mail a copy of the summons and complaint to (i) the United States agency, 29

 (ii) the civil process clerk at the office of the United States Attorney for the district in

 which the action is brought, 30 and (iii) the Attorney General of the United States in

 Washington, D.C. 31 Should a party fail to properly serve a copy of the summons and

 complaint to any one of these entities, the court must provide reasonable time to cure the

 deficiency. 32 Failure to effectuate proper service within ninety days after a complaint is

 filed, without a showing of good cause for the failure, will result in case dismissal

 without prejudice. 33

        The Bankruptcy Court dismissed the adversary proceeding on two grounds. First,

 Drakewyck failed to comply with the Order to File requiring her to file a motion for an

 alias summons and then properly serve the alias summons on the Defendant and the

 United States. Second, Drakewyck failed to timely effectuate service on the Defendant

 and the United States within ninety days pursuant to Rule 4(m).




        29
             Id.
        30
             Fed. R. Bankr. P. 7004(b)(4) (emphasis added).
        31
             Id.
        32
             Id. at 7004(b)(4) and (5).
        33
          Fed. R. Civ. P. 4(m), made applicable to bankruptcy cases by Fed. R. Bankr. P.
 7004, provides,
                   [i]f a defendant is not served within 90 days after the complaint is
                   filed, the court — on motion or on its own after notice to the plaintiff
                   — must dismiss the action without prejudice against that defendant or
                   order that service be made with a specified time. But if the plaintiff
                   shows good cause for the failure, the court must extend the time for
                   service for an appropriate period.

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        Drakewyck contends she effectuated proper service by (i) serving the Defendant,

 the US Attorney, and the Attorney General pursuant to Rule 7004(b)(4) and (5), (ii)

 complying with the First Motion Order and the Order to File (the “Orders”), and (iii)

 doing so in the time frame specified. Drakewyck also asserts Rule 7004 does not state a

 summons “can go stale,” and thus the Bankruptcy Court erred in dismissing the adversary

 proceeding on that ground.

        The Bankruptcy Court did not abuse its discretion in dismissing the adversary

 proceeding for Drakewyck’s failure to effectuate proper service and comply with the

 Orders for several reasons. First, Drakewyck failed to properly serve the Original

 Summons and Complaint addressed to the civil process clerk at the office of the United

 States Attorney for the District of Colorado, the district in which the action was brought.

 Instead, Drakewyck mailed, via first class mail, a copy of the Original Summons and

 Complaint to the United States Attorney for the District of Washington, D.C. 34

        Second, Drakewyck did not send a copy of the Original Summons and Complaint

 to the United States Attorney for the District of Colorado or the Attorney General within

 seven days of the Bankruptcy Court issuing the Original Summons, thus rendering the

 summons stale. 35 Nor did Drakewyck file a motion for, and receive, an alias summons,

 which would allow her to effectuate proper service on the Defendant and the United

 States pursuant to the Order to File and Rule 7004.



        34
             December 12, 2022 Certificates of Service, in Appellant App. at 145–48.
        35
             Fed. R. Bankr. P. 7004(e).

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        Third, as of the date of the Final Order, more than ninety days had passed since the

 commencement of the adversary proceeding and Drakewyck still had not effectuated

 proper service. Notably, Rule 4(m) provides a court must extend time for service for an

 appropriate period if the party shows good cause for failure to timely effectuate service.

 Drakewyck does not, however, argue good cause existed. Moreover, even if Drakewyck

 raised such an argument on appeal, the record shows Drakewyck failed to comply with

 the Orders, both of which emphasized Drakewyck needed to obtain an alias summons—

 which was required to timely effectuate proper service—and serve the proper entities by

 a certain date. In effect, the Bankruptcy Court extended Drakewyck’s time to serve the

 proper entities after she failed to meet the first deadline, and expressly noted failure to do

 so would result in a dismissal without prejudice. 36 Accordingly, under Rule 4(m), the

 dismissal was warranted.

        V.     Conclusion

        We find no abuse of discretion. The original summons went stale when

 Drakewyck did not comply with the Rules to effectuate proper service within the time

 provided. Additionally, Drakewyck did not comply with the Orders, nor did Drakewyck

 effectuate proper service within ninety days pursuant to Rule 4(m). The Bankruptcy

 Court applied the appropriate legal standard, the decision was not arbitrary, whimsical, or




         See First Motion Order at 2, in Appellant App. at 150; Order to File at 1, in
        36

 Appellant App. at 143.

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 capricious, and it did not result in manifest injustice. Thus, the decision of the

 Bankruptcy Court is AFFIRMED.




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  United States Bankruptcy Appellate Panel for the
  Tenth Circuit
  Byron White U.S. Courthouse
  1823 Stout St.
  Denver, CO 80258

  Appeal from:
  District Court County: District of Colorado
  District Court Judge: The Hon. Elizabeth Brown
  District Court Case Number: 22-01250-EEB
  District Court Title: Adversaty Proceeding to Dismiss
  Student Loans

  Plaintiff/Petitioner: Kate Drakewyck
  X Appellant or D Appellee
                                                            A FOR COURT USE A
  &.
  Defendant/Respondent: US Department of Education
  D Appellant or X Appellee                               BAPs
                                                          Case Number: 23-4
  Filing Party Name: Kate Drakewyck (pro se)
  Address: PO Box 140114
             Lakewood, CO 80214
  Phone: 720-232-7287
  E-Mail: bdrakewyck@yahoo.com
                                      Appendix




  Appendix                                                                      1

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   # 16 ORDER: Order filed GRANTING Motion for More Time to Complete Brief
   and Appendix. [HJ Appellant's brief and appendix due 03/24/2023 for Appellant
      Kate Buffy Drakewyck. All parties served. Entry Date: 03/03/2023. [92109]
                         [Entered: 03/03/2023 10:19 AM]
                                    -Page 11-12

    #14 MOTION: Motion to Extend Time to File Appellant Opening Brief and
   Appendix until 03/24/2023 filed by Appellant Kate Buffy Drakewyck. Attached
    Certificate of Service lists parties as served on 03/02/2023. [92107] [Entered:
                                 03/03/2023 09:15 AM]
                                       -Page 13-14

    #12 DUE DATE: Appellant's brief and appendix due 03/10/2023 for Appellant
         Kate Buffy Drakewyck. [92026] [Entered: 02/08/2023 03:23 PM]
                                   -Page 15

    #11 ORDER: Order Allowing Appeal to Proceed filed by Judges SOMERS,
   PARKER and THURMAN. All parties served. Service Date: 02/08/2023. Entry
          Date: 02/08/2023. [92025] [Entered: 02/08/2023 03:21 PM]
                                 -Page 16-18

   #8 MOTION: Motion for Leave to Appeal pursuant to Fed. R. Bankr. P. 8004(a)
    filed by Appellant Kate Buffy Drakewyck. [92020] [Entered: 02/06/2023 08:14
                                       AM]
                                    -Page 19-24

   #7 DOCUMENT: One Document (Combined Statement of Admission or Pro Se
   Status, Statement of Interested Parties, and Statement Regarding Oral Argument
       pursuant to 10th Cir. BAP L.R. 8003-2(d)) filed by Appellant Kate Buffy
   Drakewyck. Oral argument is not requested. [92019] [Entered: 02/06/2023 08:13
                                          AM]
                                      -Page 25-32

   #5 DOCUMENT: One Document (Combined Statement of Admission or Pro Se
   Status, Statement of Interested Parties, and Statement Regarding Oral Argument
       pursuant to 10th Cir. BAP L.R. 8003-2(d)) filed by Appellant Kate Buffy

  Appendix                                                                            2

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   Drakewyck. Oral argument is not requested. Attached Certificate of Service lists
     parties as served on 01/30/2023. [91984] [Entered: 01/30/2023 02:53 PM]
                                    -Page 33-41

      #4 ORDER: Order to Show Cause Why Appeal Should Not Be Dismissed as
      Interlocutory sent to Appellant Kate Buffy Drakewyck. All parties served on
        01/30/2023. [91983] Response due 02/13/2023 by Appellant Kate Buffy
                      Drakewyck. [Entered: 01/30/2023 02:47 PM]
         #3 NOTICE: Notice that appeal has been docketed with appeal caption.
   Interlocutory appeal filed. All parties served 01/30/2023. Entry Date: 01/30/2023.
                        [91982] [Entered: 01/30/2023 02:42 PM]
                                        -Page 42-43

  #1 APPEAL: Bankruptcy appeal filed. BAP case number: CO-23-04. Appeal filed
    in the Bankruptcy Court on 01/28/2023. Notification of appeal transmitted from
  the Bankruptcy Court by NEF. Record received from the Bankruptcy Court docket
                01/30/2023. [91980] [Entered: 01/30/2023 11:37 AM]
                                    -Page 44-76

                   Adversary Proceeding Docket#: 22-01250-EEB
                                   -Page 77-80

        #27 Courts Notice or Order and BNC Certificate of Mailing (related
   document(s)25 Order on Motion For Leave to Appeal). No. ofNotices: 1. Notice
                 Date 02/23/2023. (Admin.) (Entered: 02/23/2023)
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         #26 Courts Notice or Order and BNC Certificate of Mailing (related
      document(s )24 Order to Vacate Document). No. of Notices: l. Notice Date
                    02/23/2023. (Admin.) (Entered: 02/23/2023)
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   #25 COPY of Order Allowing Motion Appeal to Proceed. Entered by the BAP in
   Appeal Case CO 23-04 on February 8, 2023. (related document(s):21 Motion for
                  Leave to Appeal). (mlr) (Entered: 02/21/2023)
                                  -Page 87-89

      #24 Order Vacating Order Denying Plaintiffs Motion For Leave To Appeal
   (related document( s)22 Order on Motion For Leave to Appeal). THIS MATTER
    comes before the court sua sponte. On February 13, 2023, this Court entered an
  Appendix                                                                            3

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   Order Denying Plaintiffs Motion For Leave to Appeal in error. Accordingly, it is
  ORDERED that the Order Denying Plaintiffs Motion For Leave to Appeal entered
    on Feb1uary 13, 2023 at Docket #22, IS HEREBY VACATED. (re) (Entered:
                                   02/21/2023)
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        #23 Courts Notice or Order and BNC Certificate of Mailing (related
   document(s)22 Order on Motion For Leave to Appeal). No. ofNotices: 1. Notice
                 Date 02/15/2023. (Admin.) (Entered: 02/15/2023)
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  #22 Order Denying Plaintiffs Motion For Leave to Appeal (related document(s):21.
              Motion for Leave to Appeal). (re) (Entered: 02/13/2023)
                                   -Page 94-95

  #21 Motion for Leave to Appeal. Pursuant to F.R.B.P. 8004(b)(2), Responses Are
  To Be Filed With The Appellate Court Within 14 Days. BAP Appeal Case No. is
   CO 23-04. Filed by Kate Drakewyck (related document(s)li Order Dismissing
    Adversary Proceeding, 17 Notice of Appeal and Statement of Election). (mlr)
      Added Appeal Case Number on 2/6/2023 (mlr). (Entered: 02/06/2023)
                                  -Page 96-102

    #20 Receipt of Appeal Filing Fee - $298.00 by MM. Receipt Number 310633.
                          (admin) (Entered: 01/30/2023)
                                   -Page 103-104

    #19 This Appeal Has Been Accepted by the Bankruptcy Appellate Panel and
   Assigned Case No. CO 23-04. Please Refer to That Court's Docket for the Most
   Complete Information Regarding This Appeal (related document(s)ll Notice of
          Appeal and Statement of Election). (mlr) (Entered: 01/30/2023)
                                 -Page 105-106

    #18 Appellant Designation of Record and Statement of Issues On Appeal. Case
     Number Not Yet Available. Filed by Kate Drakewyck (related document(s)ll
      Notice of Appeal and Statement of Election). (mlr) (Entered: 01/30/2023)
                                  -Pageml07-110

    # 17 Notice of Appeal and Statement of Election. Appellant is Pro Se. Filing fee
    paid online 1/28/2023. Filed by Kate Drakewyck (related document(s)li Order
    Dismissing Adversary Proceeding). (Attachments: # l Statement re Admission,

  Appendix                                                                             4

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  Interested Parties, Oral Argument) (mlr) Corrected docket text to show payment
               information on 1/30/2023 (mlr). (Entered: 01/30/2023)
                                   -Page 111-123

   #16 Letter From Kate Drakewyck Dated 1/22/2023 (related document(s)l2 Other
    Order, .Ll. Order Dismissing Adversary Proceeding). (re) (Entered: 01/23/2023)
                                    -Page 124-126

        #15 Courts Notice or Order and BNC Certificate of Mailing (related
  document(s ).Ll. Order Dismissing Adversary Proceeding). No. of Notices: 1. Notice
                    Date 01/20/2023. (Admin.) (Entered: 01/20/2023)
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       #14 Courts Notice or Order and BNC Certificate of Mailing (related
  document(s)l2 Other Order). No. of Notices: 1. Notice Date 01/20/2023. (Admin.)
                              (Entered: 01/20/2023)
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   (No Document#) Disposition of Adversary Proceeding Number 22-01250-EEB.
  Final Order or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg) (Entered:
                                   01/18/2023)
                                  -Page 133-134

   #13 Order Dismissing Adversary Proceeding. (related document(s)l Complaint).
                          (mmg) (Entered: 01/18/2023)
                                 -Page 135-136

     #12 Order Denying Plaintiff's Second Motion to Rule in Favor of the Debtor.
           (related document(s):11 Motion). (mmg) (Entered: 01/18/2023)
                                    -Page 137-138

  #11 Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan Balance
         Filed by Plaintiff Kate Drakewyck. (mmg) (Entered: 01/17/2023)
                                   -Page 139-141

  #10 Courts Notice or Order and BNC Certificate of Mailing (related document(s)2.
    Order to File). No. of Notices: 1. Notice Date 12/16/2022. (Admin.) (Entered:
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  Appendix                                                                         5

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   #9 Order To File (related document(s)l Complaint). IT IS ORDERED that on or
    before December 28, 2022, Plaintiff shall file a motion for alias summons and
   serve the Defendant with the alias summons along with a copy of the Complaint
    pursuant to Fed. R. Bankr. P. 7004(6)(4) and (5) or Fed. R, failing which this
          adversary proceeding may be dismissed. (re) (Entered: 12/14/2022)
                                       -Page 144

  #8 Certificate of Service On: Office of the Attorney General - Washington DC on
  12/10/2022 filed by Kate Drakewyck. (re) Modified on 12/12/2022 to reflect text
                             (re). (Entered: 12/12/2022)
                                    -Page 145-146

    #7 Certificate of Service on District Attorney - Washington DC on 12/10/2022
     filed by Kate Drakewyck. (re) Modified on 12/12/2022 to reflect text (re).
                                 (Entered: 12/12/2022)
                                    -Page 147-148

   #6 Courts Notice or Order and BNC Certificate of Mailing (related document(s)1
     Other Order). No. ofNotices: 1. Notice Date 12/01/2022. (Admin.) (Entered:
                                     12/01/2022)
                                   -Page 149-151

  #5 Order Denying Motion To Rule In Favor Of The Debtor (related document(s)::!.
   Motion). IT IS ORDERED that Plaintiffs Motion is DENIED. Nonetheless, the
    Court will provide Plaintiff another opportunity to properly effectuate service.
    Therefore, IT IS FURTHER ORDERED that on or before December 13, 2022,
   Plaintiff shall file a motion for alias summons and serve the Defendant with the
   alias summons along with a copy of the Complaint pursuant to Fed. R. Bankr. P.
  7004(b)( 4) and (5), failing which this adversary proceeding may be dismissed. (re)
                                  (Entered: 11/29/2022)
                                      -Page 152-153

   #4 Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan Balance.
     Filed by Plaintiff Kate Drakewyck (related document(s):l Complaint). (mmg)
                                 (Entered: 11/28/2022)
                                    -Page 154-156

   #3 Summons Service Executed On: Roland Stallings on 10/24/2022 filed by Kate
                     Drakewyck. (re) (Entered: 10/31/2022)
                                -Page 157-159

  Appendix                                                                           6

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 44
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                                                              Page: 743ofof170
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    #2 Summons Issued on US Department Of Education Answer Due 11/23/2022.
                          (tjv) (Entered: 10/17/2022)
                                 -Page 160-163

        #1 Adversary case 22-01250. Complaint by Kate Drakewyck against US
   Department Of Education . The Plaintiff in this adversary proceeding is either the
    debtor in an underlying chapter 7 or 13 case, or the United States other than the
     U.S. Trustee acting as a trustee in the underlying bankruptcy case. Pursuant to
  paragraph (6) of the Bankruptcy Court Miscellaneous Fee Schedule, there is no fee
  to file an adversary proceeding when the plaintiff is the United States, other than a
   U.S. Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13 case.
   Accordingly, this adversary proceeding shall be commenced without payment of
      the filing fee. Adversary Status Deadline 2/14/2023 (63 (Dischargeability -
                   523(a)(8), student loan)) (tjv) (Entered: 10/17/2022)
                                      -Page 164-168




  Appendix                                                                            7

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 45
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                                 Ce1tificate of Service
  I certify that on March 12, 2023, I filed this Appendix with the BAP. I sent a copy,

  along with any attachments, to the people listed below: (Every party in the case

  should get a copy. If a party has a lawyer, send their copy to the lawyer.)



  Name of Person Served: US Department of Education, District Attorney and

  Office of the Attorney General

  Sent by (Check One):       X U.S. Mail; ORD In-Person Hand Delivery

  Address:
  US Department of Education
  400 Maryland Avenue, SW
  Washington, D.C. 20202


  District Attorney
  555 4th St NW
  Washington, DC 20530


  Office of the Attorney General
  400 6th St NW,
  Washington, DC 20001




                                   Signature:  /ldi ~
                                             Appellant

  Appendix                                                                           8

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23-4 Docket                                                                                   https ://ecf.ca IO. uscourts.gov /bn/beam/servlet/TranspmiRoom
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                                                                     General Docket
                                                    U.S. Bankruptcy Appellate Panel of the Tenth Circuit

          Bankruptcy Appellate Panel Docket#: 23-4                                                                            Docketed: 01/30/2023
          Kate Drakewyck
          Appeal From: United States Bankruptcy Court for the District of Colorado
          Fee Status: Fee Paid

          Case Type Information:
            1) Bankruptcy Appeal
            2) Chapter 7 Non-Business-Adv
            3) Interlocutory

          Originating Court Information:
             District: 1082-1 : 22-10977                                                                          Adversary Proceeding: 22-01250
             Trial Judge: Elizabeth E. Brown, U.S. Bankruptcy Judge
             Date Filed: 10/17/2022
             Date Order/Judgment:               Date NOA Filed:                   Date Rec'd BAP:
             01/18/2023                         01/28/2023                        01/30/2023

          Prior Cases:
             22-16 Date Filed: 09/22/2022        Date Disposed: 10/11/2022           Disposition: Panel Order - Dismissed

         Current Cases:
           None

         IPanel Assig~~~~-t:_    Not available
                                                 - -----




          KATE BUFFY DRAKEWYCK                                                      Kate Buffy Drakewyck
                    Plaintiff - Appellant                                           Direct: 720-232-7287
                                                                                    Email: bdrakewyck@yahoo.com
                                                                                    [NTC Pro Se]
                                                                                    Po Box 140114
                                                                                    Lakewood, CO 80214
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         01/30/2023 Oj_     APPEAL: Bankruptcy appeal filed. BAP case number: CO-23-04. Appeal filed in the Bankruptcy Court on
                      29 pg, 1.41 MB    01/28/2023. Notification of appeal transmitted from the Bankruptcy Court by NEF. Record received from the
                                        Bankruptcy Court docket 01/30/2023. [91980] [Entered: 01/30/2023 11:37 AM]

         01/30/2023   D __:i_           NOTICE: Notice that appeal has been docketed with appeal caption. Interlocutory appeal filed. All parties
                      4 pg, 171.71 KB   served 01/30/2023. Entry Date: 01/30/2023. [91982] [Entered: 01/30/2023 02:42 PM]

                                        ORDER: Order to Show Cause Why Appeal Should Not Be Dismissed as Interlocutory sent to Appellant
         01/30/2023   □ 4               Kate Buffy Drakewyck. All parties served on 01/30/2023. [91983] Response due 02/13/2023 by Appellant
                      2 pg, 155.74 KB
                                        Kate Buffy Drakewyck. [Entered: 01/30/2023 02:47 PM]
                                        DOCUMENT: One Document (Combined Statement of Admission or Pro Se Status, Statement of Interested
         01/30/2023   □ 5               Parties, and Statement Regarding Oral Argument pursuant to 1oth Cir. BAP L.R. 8003-2(d)) filed by
                      9 pg, 538.32 KB
                                        Appellant Kate Buffy Drakewyck. Oral argument is not requested. Attached Certificate of Service lists parties
                                        as served on 01/30/2023. [91984] [Entered: 01/30/2023 02:53 PM]

                                      DOCUMENT: One Document (Combined Statement of Admission or Pro Se Status, Statement of Interested
         02/06/2023
                      □l
                      8 pg, 393.04 KB Parties, and Statement Regarding Oral Argument pursuant to 1oth Cir. BAP L.R. 8003-2(d)) filed by
                                      Appellant Kate Buffy Drakewyck. Oral argument is not requested. [92019] [Entered: 02/06/2023 08: 13 AM]

                                        MOTION: Motion for Leave to Appeal pursuant to Fed. R. Bankr. P. 8004(a) filed by Appellant Kate Buffy
         02/06/2023
                      □~                Drakewyck. [92020] [Entered: 02/06/2023 08:14 AM]
                      6 pg, 414.65 KB

                                        ORDER: Order Allowing Appeal to Proceed filed by Judges SOMERS, PARKER and THURMAN. All parties
         02/08/2023
                      □ J'1             served. Service Date: 02/08/2023. Entry Date: 02/08/2023. [92025] [Entered: 02/08/2023 03:21 PM]
                      3 pg, 152.56 KB

                                        DUE DATE: Appellant's brief and appendix due 03/10/2023 for Appellant Kate Buffy Drakewyck. [92026]
         02/08/2023
                      □ 12              [Entered: 02/08/2023 03:23 PM]
                                        MOTION: Motion to Extend Time to File Appellant Opening Brief and Appendix until 03/24/2023 filed by
         03/02/2023   D j_±_            Appellant Kate Buffy Drakewyck. Attached Certificate of Service lists parties as served on 03/02/2023.
                      2 pg, 131.41 KB
                                        [92107] [Entered: 03/03/2023 09:15 AM]

         03/03/2023   OJ§_            ORDER: Order filed GRANTING Motion for More Time to Complete Brief and Appendix. [14] Appellant's brief
                      2 pg, 190.51 KB and appendix due 03/24/2023 for Appellant Kate Buffy Drakewyck. All parties served. Entry Date:
                                      03/03/2023. [92109] [Entered: 03/03/2023 10:19 AM]
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       IN RE KATE BUFFY DRAKEWYCK,

                Debtor.




       KATE BUFFY DRAKEWYCK,

                Plaintiff - Appellant.




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                      UNITED STA TES BANKRUPTCY AP PELLA TE PANEL

                                         OF THE TENTH CIRCUIT




   IN RE KATE BUFFY DRAKEWYCK,                                             BAP No. CO-23-004

                 Debtor.


                                                                          Bankr. No. 22-10977
                                                                           Adv. No. 22-01250
   KATE BUFFY DRAKEWYCK,                                                       Chapter?

                  Plaintiff - Appellant.




                                                                   ORDER GRANTING MOTION
                                                                   FOR EXTENSION OF TIME TO
                                                                    FILE BRIEF AND APPENDIX




          The matter before the Court is the Motion For More Time to Complete Appellant's Brief

  and Appendix ("Motion"), filed by Kate Buffy Drakewyck ("Appellant"). Appellant's brief was

  due on March 10, 2023. The Appellant requests an extension until March 24, 2023. No previous

  motions for extension of time have been filed.

          The Court notes the Motion filed is not in a text-searchable PDF. 1 Although the Court

  accepts the Motion in its current form, all future filings must be filed as text-searchable PDF

  documents, or the Court will issue a Notice of Deficiency. 10th Cir. BAP L.R 8011-2(b).



  1 The document filed appears to be photographs of a hard copy converted to PDF.




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        BAP Appeal No. 23-4  Docl<et No. 16   Filed: 03/03/2023



        Pursuant to Tenth Circuit BAP Local Rule 8024-l(a)(l), it is HEREBY ORDERED that:

              (1)   The Motion is GRANTED.

              (2)   The Appellant's opening brief and appendix shall be filed and served on or

                     before March 24, 2023.

              (3)    Failure to file and serve an opening brief and appendix on or before March

                     24, 2023, will result in dismissal of this appeal. 10th Cir. BAP L.R. 8026-

                     4(c).

              (5)    All future filings shall be filed as text-searchable PDF documents.


                                                 For the Panel:




                                                 Blaine F. Bates
                                                 Clerk of Court




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         23-4 Kate Drakewyck "Set Deadline Public" (22-10977, Lead: 22-01250)

         From: ca1 0_bap_cmecf_notify@ca 10.uscou rts.gov

         To:    bdrakewyck@yahoo.com

         Date: Wednesday, February 8, 2023 at 03:23 PM MST




         *'*NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of
         record and parties in a case (including prose litigants) to receive one free electronic copy of all documents
         filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all other
         users. To avoid later charges, download a copy of each document during this first viewing.

                                       U.S. Bankruptcy Appellate Panel of the Tenth Circuit

         Notice of Docket Activity

         The following transaction was entered on 02/08/2023 at 3:23:00 PM Mountain Standard Time and filed on
         02/08/2023
         Case Name:           Kate Drakewyck
         Case Number: 23-4


         Docket Text:
         DUE DATE: Appellant's brief and appendix due 03/10/2023 for Appellant Kate Buffy Drakewyck. [92026]

         Notice will be electronically mailed to:

         Kate Buffy Drakewyck: bdrakewyck@yahoo.com




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                UNITED STATES BANKRUPTCY APPELLATE PANEL
                                 OF THE TENTH CIRCUIT



   IN RE KATE BUFFY DRAKEWYCK,                                 BAP No. CO-23-004

                Debtor.


                                                               Banla. No. 22-10977
                                                                Adv. No. 22-01250
   KA TE BUFFY DRAKEWYCK,                                           Chapter 7

                Plaintiff - Appellant.

                                                       ORDER ALLOWING APPEAL TO
                                                               PROCEED




  Before SOMERS, PARKER, and THURMAN, Bankruptcy Judges.


         On January 30, 2023, Appellant filed a notice of appeal, appealing the Bankruptcy

  Court's Order Dismissing Case (the "Order"), which dismissed the Appellant's adversary

  proceeding without prejudice. Subsequently, this Court issued its Order to Show Cause

  Why Appeal Should Not Be Dismissed As Interlocuto,y ("Show Cause Order"). Appellant

  responded, arguing the Order is final.

         This Court has jurisdiction to hear appeals from final orders, final collateral

  orders, and, with leave of court, interlocutory orders. 1 An order is considered final if it



         1 28 U.S.C. § 158; Personette v. Kennedy (In re Midgard Corp.), 204 B.R. 764,

  768 (10th Cir. BAP 1997).



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  "ends the litigation on the merits and leaves nothing for the court to do but execute the

  judgment. " 2

         We determine the Order is a final as to whether the Bankruptcy Court correctly

   dismissed the adversary proceeding for failure to properly effectuate service in

  accordance with the Federal Rules of Bankruptcy Procedure. 3 The Tenth Circuit has held

  that, while generally a dismissal without prejudice is not a final order, where the

  dismissal finally disposes of the case so that it is not subject to further proceedings in

  federal court, the dismissal is final. 4 Here, the clear intent of the Bankruptcy Court was to



         2
             Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 712 (1996) (quoting Catlin v.
   United States, 324 U.S. 229,233 (1945)).
           3
             See United States v. Wallace & Tiernan Co., 336 U.S. 793, 794 n.l (1949)
  ("That the dismissal was without prejudice to filing another suit does not make the cause
  unappealable, for denial of relief and dismissal of the case ended this suit so far as the
  district court was concerned."). See also In re Davis, 177 B.R. 907, 910 (9th Cir. BAP
  1995) ("Although the bankruptcy court dismissed the complaint without prejudice, the
  order was a final one, because it terminated the instant action. The bankruptcy court
  contemplated that Debtor could bring the action before that court again only by filing a
  new adversary proceeding if the dismissal of the underlying chapter 13 case was set aside
  on appeal."); In re Cook, 342 B.R. 384, 2006 WL 908600, at *l (6th Cir. BAP 2006)
  (unpublished) (determining order dismissing the adversary proceeding without prejudice
  is a final order without comment).
          4
             United States v. Wallace & Tiernan Co. Amazon Inc., v. Dirt Camp, Inc., 273
  F.3d 1271, 1275 (10th Cir. 2001); Moya v. Schollenbarger, 465 F.3d 444 (10th Cir.
  2006). See also Petty v. Manpower, Inc., 591 F.2d 615 (10th Cir. 1979) (order dismissing
  without prejudice for lack of prosecution and holding lower court's clear intent to dismiss
  entire action was demonstrated by its cite to Fed. R. Civ. P 41(b) involving dismissal of
  an action and statement that lack of prosecution was the reason for dismissal); Arrow v.
  Dow, 636 F.2d 287, 289 (10th Cir. 1980) (order dismissing complaint without prejudice
  is final; "The district court showed by its actions that it intended to make a final
  disposition of the case. This is enough."); Lasley v. Lansford, 76 F. App'x 240 (10th Cir.
  2003) (unpublished) (order dismissing action without prejudice for failure to properly
  serve reviewed as final without comment); Shepard v. United States Dep 't of Veterans
  Affairs, 819 F. App'x 622 (10th Cir. 2020) (unpublished) (same).
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  dismiss the entire action. In the Order, the Bankruptcy Court cites Federal Rule of Civil

  Procedure 4(m). In addition, the Bankruptcy Court recites Appellant's failure to

  effectuate proper service as the reason for dismissal. It would thus appear that what the

  Bankruptcy Court intended was a dismissal, albeit without prejudice, of Appellant's

  adversary proceeding for failure to effectuate service.

         Accordingly, it is HEREBY ORDERED that:

                (I)   The appeal shall proceed.

                (2)   Appellant's Opening Brief and Appendix shall be due on or before

                      thirty days from the date of this Order.

                (3)   The Show Cause Order is VACATED.

                                                        For the Panel:


                                                        (t-1.M
                                                       Blaine F. Bates
                                                       Clerk of Court




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       Questlon: A re111ew of the documents in U1is appeal i;uggesis t11a1 the order appeal!lll'i m.;y
       nol!)e a final order because !he order appealed was dfr.mf:.sed without prejudice. See··
       Callin v. United Stales, 324 U.S, 229, 233 (1946) (An order is fmal if It "ends the Utlgation
       on !he merits and ieaves nolhlng for lh,n:ourHo do IJutexeQUle the judgment"


      Reller: I asldhal. havlng served lhil! main party. Department of Education, and ttiose that
    . neecledfo be notified, Oislric! Attorney or Washington DC am:l Office of the Attorney
      General Washington DC, that the case be allowed to continue In order to move to have my
      sludentloan llalam::e dlsmissed, Because it's a false dlsmi1M1al and the .court has
     oonlinued to clo !his, I ask lhalall appeal fees. including the ene paid In 11/2.022, .be
     refunded at the end ofthis,


    Reasons: This case was fifed.under an Order by the courts, the Ol"der said that It was
    dismissed without prejudice. Per the requesHorCause, ll states that ''an orderls final jflt
    •~m:1s thelltlgatlon onthe merits and leaves nothingforlhe cqurt to do but execute the.
   judgment"' While Without pr,Judfce allows me to flle om::e again, that would be a new
 . case being flied 1.mder bankruptcy court, not continued action under the case thiatwas,
  inllially filed; While I could have done that I I should not have to create a new ~,e ami
  reserve those that have already been served, when I completed lho~e actlons ~r law and,
. later, per the order issued by that court. As that, this case has in fact r@athmi the ptS'm\
where there is nothing to do, but execute judgment, even lf the 0rdet \a based on ialse


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       served the District Attorney and Office of the General Attorney, but did not re seM/1 the •
       Department of Education !h11t they're part had gone "stale". That's incorrect, they.were
       served anci had !he full all0tmenl of lime to respond to that &el'll!OO, but they chose not   t,,.
       Till!! olher parties being sent 110111::e in no way impaclecl that time frame ln which they failed
       to respom:l am:! ! followed !he Order from the court exa;:;!ly,



       I respoctfully request the Court to:
       Conlinue on with the appeaL


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                              FOR THE DISTRICT OF COLORADO
                                 B,mkropley Jt!dg11 ilimooth E. Brl!Wll

                                                        l'>an!miptcy Casa No. 22· Hl!J77 EEB
         KATE BUFFY D!VIKEW(CK,
                                                        Cllapler 1 .
         Del:ltor.


        KATE SUFPf DRAKEWYCK,

        Plaln!iff,
        It


        IJ.S. DEPARTM!el\11 Of' 1',i:JLICAT!Oi,t · i·
       t)ef,;mdlilllt



                                    ORD&R DISMISSING CASE


          THIS MATTER oomes!)efore the Courlsua sponi1J. This Court issued an Order
   fof11e requiring Plaintiff Kale Buffy Drakewyck ('Plalnlifr) to1ile iunffllon forsllas
  summol'I$ and seive such alias summoos properly on the 01\lft'ln<lanl Unlied. States
  Department 9f l:ducat!Qn ,•oere~ant")by Deoomber 28, 2022, faillng y;hich'111e a ~
  captioned adversary p~ing may be dismissed, To date, Plalnliff bas not requested,
  norreceivet:I, an allae eummi;ms to effecluatli proper wl\lice,. AOOllrd!ngly;for Plaintiffs
  failure to CQ!tlply with till\\ <:ou1t's poorOrder to Flle, tll511ilssal is warranted,




  Bankr. R. 7004. For these reasoils, is

        ORDERED Iha! lhis adversary case Is hereby dismissed without pmjooice.

       FURTHER ORDERED lhat tl'le Cleik of the Court shall give notice of tlilt
dismissal. lo lhe Plarnllffi. Debt>ll, and Chapllr 7 Trustee In ihe underlying case and
,han C~OIE 1lff8 ADYMIARY CASE.                                                       .
      BATED: ffita 18th daydfJandal.y, 2023.




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                  Plaintiff,

                  V,


                  U,S, D!cf'ARTMEI\IT.OF EDUCATION,


               ORDER DENYING PLAINTIFF'$ SECOND MOTION TO RULE IN FAVOR 01' THE
                                                                                      DESTOR

             THIS MATTER comes before Ille Court on the Seroml Motion t(O R!ll!! in l"aVOl' of
      !he Deblor; OiSlT!issai or Sluaenl Loan Ballmce rMalltm"}, filed by Plaintiff Kale Buffy
    · Dral<ewycli: ('Plai11liff'i on Januaiy Hi, 2023, which Iha Court wlU construe as a Motion
        for Del',mll J111igment                                   ·

                       Before !h'e Court can enter a Clerk's i;ntry of De!aull, Plaln!ll! mustprovide proof
     of proper se!'YJ<:e oHhe summons eM oomplalfll demonslrallng that sel1iice has \:11,en
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     rPere!!dant"), in tl113 mann;;r CO!'lltmpialed by Fed.It eaokr. P. 7004(1:1)(4), (i);\ ..· •< <•
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   N.D. Ill. 2006)('Seivloo of a stale 1n1mmons Is no seNloo 8lQft"). As such, lne Court
   enfe~ its Order to Fite.din.cllf!g Plalnllffto request a new summons and w,penysenie
   it alo119 with. a copy of lhe cprnplalnl Ujl-Onlhe Defendant plaintiff failed 10 do SQ, a.-iti ·
   she inmead filed lbejmmJ!diate Motion. However, at !his Ume,fhere SIIIIJs110.l)roof of
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    ..          SH 11 U.S.C. § 101(9) for the definition of"corporaiion."

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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/28/2023 12:43:35 PM




User Information

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                    UNITED STATES BANKRUPTCY APPELLATE PANEL

                                      OF THE TENTH CIRCUIT




    IN RE KATE BUFFY DRAKEWYCK,                                   BAP No. CO-23-004

                Debtor.


                                                                  Bankr. No. 22-10977
                                                                   Adv. No. 22-01250
    KA TE BUFFY DRAKEWYCK,                                             Chapter 7


                 Plaintiff - Appellant.




                                                           ORDER TO SHOW CAUSE WHY
                                                             APPEAL SHOULD NOT BE
                                                           CONSIDERED FOR DISMISSAL
                                                              AS INTERLOCUTORY




          A review of the documents in this appeal suggests that the order appealed may not be a

   final order because the order appealed was dismissed without prejudice. See Catlin v. United

   States, 324 U.S. 229,233 (1945) (An order is final ifit "ends the litigation on the merits and

   leaves nothing for the court to do but execute the judgment."). Interlocutory orders may be

   appealed only with leave of the Court. 28 U.S.C. § 158(a)(3); Fed. R. Bankr. P. 8004(a);

   Personette v. Kennedy (In re Midgard Corp.), 204 B.R. 764, 768 (10th Cir. BAP 1997).

          Accordingly, it is HEREBY ORDERED that:




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               (1)   Within fourteen (14) days from the date of this Order, the Appellant shall

                     file with the Court a memorandum oflaw setting forth the Appellant's

                     position regarding whether the order appealed is final, or whether leave to

                     appeal an interlocutory order should be granted. If the Appellant seeks

                     leave to appeal the order, the motion for leave to appeal should comply

                     with Federal Rule of Bankruptcy Procedure 8004(b).

               (2)   Failure to respond to this Order will result in the dismissal of this appeal

                     for failure to prosecute. Fed. R. Bankr. P. 8003(a)(2); 10th Cir. BAP L.R.

                     8026-4(b), (c).




                                                  For the Panel:




                                                  Blaine F. Bates
                                                  Clerk of Court




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                            UNITED STATES BANKRUPTCY APPELLATE PANEL
                                                OF THE TENTH CIRCUIT
Blaine F. Bates                                 OFFICE OF THE CLERK                      Byron White U.S. Com1house
Clerk of Court                                                                        1823 Stout St., Denver, CO 80257
                                                                                                        (303) 335-2900

                                                 January 30, 2023


        TO:                                  All Parties
        RE:                                  Kate Drakewyck
        BAPNo.:                              CO-23-004
        Bk. No.:                             22-10977
        Adv. No.:                            22-01250

        Notice: This appeal was entered on the Bankruptcy Appellate Panel ("BAP") docket on January
        30, 2023 and assigned the above BAP number. Provided no timely election is filed, this appeal
        will proceed before the BAP. Because this appeal may be interlocutory for the reasons set
        out in the order to show cause, briefing is suspended to allow the parties to address
        jurisdiction. In the event that leave to appeal is granted, further scheduling information will be
        provided.

                                            Scheduling Information:

        Within 14 days after entry of an order granting leave to proceed, the appellant must file with
        the clerk of the bankruptcy court a designation of the items to be included in the record on appeal
        and a statement of the issues to be presented. Fed. R. Bankr. P. 8009(a)(l)(B)(ii). Within 14
        days after being served, the appellee may file with the clerk of the bankruptcy court a
        designation of additional items to be included in the record. Fed. R. Bankr. P. 8009(a)(2). An
        appellant's failure to file a designation and statement may result in dismissal of the case. Fed. R.
        Bankr. P. 8006; 10th Cir. BAP L.R. 8018-4(c).

         Attorneys filing documents with this Court must file all documents electronically using the
         Court's ECF system. 10th Cir. BAP L.R. 8001-l(a). Filings, excluding exhibits, appendices,
         addenda, and attachments, filed by ECF must be in text-searchable Portable Document Format
         ("PDF") format. 10th Cir. BAP L.R. 801 l-2(b). All documents presented for filing must contain
         proof of service. Fed. R. Bankr. P. 8011(d)(l)(B).

         Appeals before the BAP are governed by Part VIII of the Federal Rules of Bankruptcy Procedure
         and the BAP's local rules. These rules, as well as forms and samples of documents filed in a
         typical BAP appeal are available on the BAP's website, www.baplO.uscourts.gov, or upon
         request from the BAP Clerk's Office. Please contact the BAP Clerk's Office with any questions.




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                UNITED STATES BANKRUPTCY APPELLATE PANEL

                                  OF THE TENTH CIRCUIT




    IN RE KATE BUFFY DRAKEWYCK,                          BAP No. CO-23-004

             Debtor.


                                                         Bankr. No. 22-10977
                                                          Adv. No. 22-01250
    KATE BUFFY DRAKEWYCK,                                     Chapter 7


             Plaintiff - Appellant.




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                          Fed. R. Ba11kr. P. 8014, 8015, 8016; 10th Cir. BAP L.R. 8014-1, 8015-1.

A brief must be p1inted on 8½-by-11 in paper, using only one side of a page, with 1 inch margins and text no smaller than
12-point font, and contain the following information:

      • Cover page with the following information:
              ♦ Case caption provided by this Court
              ♦ Title "Brief'
              ♦ Filing party's name
              ♦ Counsel or pro se party's name, address, phone number, and e-mail address
      • Table of contents with page references (references to documents in an appendix must be to specific pages of the
        appendix (e.g., Appellant App. at 27))
      • Alphabetical table of authorities with page references
      • Jurisdictional statement
      • Statement of the issues presented and applicable standard of review
      • Statement of the case setting out the facts
      • Summary of argument
      • Argument
      • Conclusion
      • Statement of related cases, if any (must be on the last page of the brie1)
      • Any addenda (e.g., text of relevant statutes)

A principal brief must not exceed 30 pages unless it contains no more than 13,000 words or uses a monospaced face and
contains no more than 1,300 lines of text, and includes a certificate of compliance that conforms substantially to the official
form. A reply brief must not exceed 15 pages unless it contains no more than 6,500 words or uses a monospaced face and
contains no more than 650 lines of text, and includes a certificate of compliance that conforms substantially to the official
form. See Federal Rule of Bankruptcy Procedure 8016 for cross appeal briefrequirements.

Attorneys must file all documents electronically. I 0th Cir. BAP L.R. 8001- l(a). If a document is filed electronically, no
paper copy is required. Fed. R. Bankr. P. 8011(a)(2)(D). Electronic filings are limited to 50 megabytes per uploaded
file. However, more than one file may be uploaded to a particular docket entry. 10th Cir. BAP L.R. 801 l-2(a). The
description of each uploaded file should identify the page numbers within the document (e.g., Appellant's Appendix, pp. 51 -
100). Filings, excluding exhibits, appendices, addenda, and attachments, filed by ECF or e-mail must be in text-searchable
Portable Document Format ("PDF") format. 10th Cir. BAP L.R. 801 l-2(b).




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                            Fed. R. Bankr. P. 8015, 8018(b)(l), (c); 10th Cir. RAP L.R. 8018-1.

An appendix mnst be separate from the brief, consecutively paginated, and contain the following items:

      • Cover page with the following information:
             ♦ Case caption provided by this Court
             ♦ Title "Appendix"
             ♦ Filing party's name
             ♦ Counsel or prose pmty's name, address, phone number, and e-mail address
      • Table of Contents containing the following information for each document:
              ♦ Full name of each document
              ♦ Bankruptcy court docket number for each document
              ♦ Page number of each document (each page in the appendix must have its own, consecutive page number)
      • Relevant entries in the bankruptcy court docket (a copy of the bankruptcy court docket)
      • Complaint and answer, or other equivalent pleadings (i.e., motions)
      • Judgment or order from which the appeal is taken
      • Other orders, pleadings, findings, conclusions, or opinions relevant to the appeal
      • Notice of appeal
      • Any relevant transcript or portion of it that is necessary for this Court's review
      • Relevant exhibits that are part of the record on appeal and referred to in the brief

Attorneys must file all documents electronically. 10th Cir. BAP L.R. 8001- l(a). If a document is filed electronically, no
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United States Bankrnptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/28/2023 12:43:35 PM




User Information

Kate Drakewyck
6798 West Portland Avenue
Littleton
co
80128

bdrakewyck@yahoo.com
720-232-7287




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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown
    In re:
                                                 Bankruptcy Case No. 22-10977 EEB
    KATE BUFFY DRAKEWYCK,
                                                 Chapter 7
    Debtor.


    KATE BUFFY DRAKEWYCK,                        Adversary Proceeding No. 22-01250
                                                 EEB
    Plaintiff,

    V.

    U.S. DEPARTMENT OF EDUCATION,

    Defendant.


                                  ORDER DISMISSING CASE



          THIS MATTER comes before the Court sua sponte. This Court issued an Order
  to File requiring Plaintiff Kate Buffy Drakewyck ("Plaintiff') to file a motion for alias
  summons and serve such alias summons properly on the Defendant United States
  Department of Education ("Defendant") by December 28, 2022, failing which the above-
  captioned adversary proceeding may be dismissed. To date, Plaintiff has not requested,
  nor received, an alias summons to effectuate proper service. Accordingly, for Plaintiffs
  failure to comply with the Court's prior Order to File, dismissal is warranted.

         Furthermore, as of the date of this Order, more than 90 days have elapsed since
  the commencement of the above-captioned adversary proceeding. There still is no
  proof of proper service upon the Defendant, and, therefore, dismissal is warranted
  pursuant to Fed. R. Civ. P. 4(m), as made applicable to these proceedings by Fed. R.
  Bankr. R. 7004. For these reasons, it is

             ORDERED that this adversary case is hereby dismissed without prejudice.

          FURTHER ORDERED that the Clerk of the Court shall give notice of this
   dismissal to the Plaintiffs, Debtors, and Chapter 7 Trustee in the underlying case and
   shall CLOSE THIS ADVERSARY CASE.

             DATED: this 18th day of January, 2023.




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 Case:22-01250-EEB
Appellate Case: 23-1236Doc#:13  Filed:01/18/23
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                                                 BY THE COURT:


                                                  Elizabeth E. Brown, Bankruptcy Judge




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                                          U.S. Bankruptcy Court
                                       District of Colorado (Denver)
                                   Adversary Proceeding #: 22-01250-EEB

 Assigned to: Elizabeth E. Brown                                        Date Filed: 10/17/22
 Lead BK Case: 22-10977                                                 Date Dismissed: 01/18/23
 Lead BK Title: Kate Buffy Drakewyck
 Lead BK Chapter: 7
 Demand:
 Nature[s} of Suit: 63 Dischargeability- 523(a)(8), student loan


Plaintiff

Kate Drakewyck                                                     represented by Kate Drakewyck
PO Box 140114                                                                     PROSE
Lakewood, CO 80214
720-232-7287


V.

Defendant

US Department Of Education                                          represented by US Department Of Education
                                                                                   PROSE



     Filing Date              #                                               Docket Text


                             18.                Appellant Designation of Record and Statement of Issues On Appeal.
                             (4 pgs)            Case Number Not Yet Available. Filed by Kate Drakewyck (related
                                                document(s)l 7 Notice of Appeal and Statement of Election). (mlr)
 01/28/2023                                     (Entered: 01/30/2023)


                             11                 Notice of Appeal and Statement of Election. Appellant is Pro Se. Filing
                             (13 pgs; 2 docs)   fee not paid. Filed by Kate Drakewyck (related document(s).Ll. Order
                                                Dismissing Adversary Proceeding). (Attachments: # l Statement re
                                                Admission, Interested Parties, Oral Argument) (mlr) (Entered:
 01/28/2023                                     01/30/2023)

                             1§                 Letter From Kate Drakewyck Dated 1/22/2023 (related document(s) 12
                             (3 pgs)            Other Order, .Ll. Order Dismissing Adversary Proceeding). (re) (Entered:
 01/23/2023                                     01/23/2023)


                             li                 Courts Notice or Order and BNC Certificate of Mailing (related
                             (3 pgs)            document(s).Ll. Order Dismissing Adversary Proceeding). No. of Notices:
  01/20/2023                                    I. Notice Date 01/20/2023. (Admin.) (Entered: 01/20/2023)

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    Appellate Case: 23-1236          Document: 010110908642          Date Filed: 08/25/2023           Page: 93
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                                             Disposition of Adversary Proceeding Number 22-01250-EEB. Final Order
                                             or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg) (Entered:
01/18/2023                                   01/18/2023)

                          13                 Order Dismissing Adversary Proceeding. (related document(s)l
01/18/2023                (2 pgs)            Complaint). (mmg) (Entered: 01/18/2023)


                          .12.               Order Denying Plaintiffs Second Motion to Rule in Favor of the Debtor.
01/18/2023                (2 pgs)            (related document(s):ll Motion). (mmg) (Entered: 01/18/2023)


                          ll                 Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
01/16/2023                (3 pgs)            Balance Filed by Plaintiff Kate Drakewyck. (mmg) (Entered: 01/17/2023)


                          lQ                 Courts Notice or Order and BNC Certificate of Mailing (related
                          (2 pgs)            document(s)2. Order to File). No. of Notices: I. Notice Date 12/16/2022.
12/16/2022                                   (Admin.) (Entered: 12/16/2022)


                          2.                 Order To File (related document(s)l Complaint). IT IS ORDERED that on
                          (I pg)             or before December 28, 2022, Plaintiff shall file a motion for alias
                                             summons and serve the Defendant with the alias summons along with a
                                             copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5) or
                                             Fed. R, failing which this adversary proceeding may be dismissed. (re)
12/14/2022                                   (Entered: 12/14/2022)


                          E                  Ceitificate of Service On: Office of the Attorney General - Washington
                          (2 pgs)            DC on 12/10/2022 filed by Kate Drakewyck. (re) Modified on
12/12/2022                                   12/12/2022 to reflect text (re). (Entered: 12/12/2022)


                          1                  Certificate of Service on District Attorney - Washington DC on
                          (2 pgs)            12/10/2022 filed by Kate Drakewyck. (re) Modified on 12/12/2022 to
12/12/2022                                   reflect text (re). (Entered: 12/12/2022)


                          2                  Courts Notice or Order and BNC Certificate of Mailing (related
                          (3 pgs)            document(s)~ Other Order). No. of Notices: I. Notice Date 12/01/2022.
12/01/2022                                   (Admin.) (Entered: 12/01/2022)


                          ~                  Order Denying Motion To Rule In Favor Of The Debtor (related
                           (2 pgs)           document(s):,l Motion). IT IS ORDERED that Plaintiffs Motion is
                                             DENIED. Nonetheless, the Court will provide Plaintiff another
                                             opportunity to properly effectuate service. Therefore, IT IS FURTHER
                                             ORDERED that on or before December 13, 2022, Plaintiff shall file a
                                             motion for alias summons and serve the Defendant with the alias
                                             summons along with a copy of the Complaint pursuant to Fed. R. Bankr. P.
                                             7004(b)(4) and (5), failing which this adversary proceeding may be
11/29/2022                                   dismissed. (re) (Entered: 11/29/2022)


                           1                 Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
                           (3 pgs)           Balance. Filed by Plaintiff Kate Drakewyck (related document(s):l
11/28/2022                                   Complaint). (mmg) (Entered: 11/28/2022)

                           ;)_               Summons Service Executed On: Roland Stallings on 10/24/2022 filed by

                                                    92
10/29/2022                 (3 pgs)           Kate Drakewyck. (re) (Entered: 10/31/2022)
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                          (4 pgs)         11/23/2022. (tjv) (Entered: I 0/17/2022)

                         l               Adversary case 22-01250. Complaint by Kate Drakewyck against US
                         (5 pgs)         Department Of Education . The Plaintiff in this adversary proceeding is
                                         either the debtor in an underlying chapter 7 or 13 case, or the United
                                         States other than the U.S. Trnstee acting as a trnstee in the underlying
                                         bankruptcy case. Pursuant to paragraph (6) of the Bankruptcy Court
                                         Miscellaneous Fee Schedule, there is no fee to file an adversary
                                         proceeding when the plaintiff is the United States, other than a U.S.
                                         Trnstee acting as a trnstee in a case, or the debtor in a chapter 7 or 13 case.
                                         Accordingly, this adversary proceeding shall be commenced without
                                         payment of the filing fee . Adversary Status Deadline 2/14/2023 (63
10/17/2022                               (Dischargeability- 523(a)(8), student loan)) (tjv) (Entered: 10/17/2022)




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                                         U.S. Bankruptcy Court
                                      District of Colorado (Denver)
                                   Bankruptcy Petition#: 22-10977-EEB
                                                                                        Date filed: 03/25/2022
                                                              Deadline for objecting to discharge: 06/21/2022
Assigned to: Elizabeth E. Brown
                                                              Deadline for financial mgmt. course: 08/05/2022
Chapter 7
Voluntary
Asset




Debtor                                                          represented by Kate Buffy Drakewyck
Kate Buffy Drakewyck                                                           PROSE
PO Box 140114                                                                  bdrakewyck@yahoo.com
Lakewood, CO 80214
JEFFERSON-CO
720-232-7287
SSN / !TIN: xxx-xx-2362
aka Kate Drakewyck Bulmer
aka Buffy Alwyn Drakewyck

Trustee                                                         represented by Jonathan Dickey
David V. Wadsworth, Trustee                                                    Kutner Brinen Dickey Riley, P.C.
2580 West Main Street, Suite 200                                               1660 Lincoln Street
Littleton, CO 80120                                                            Suite 1720
303-296-1999                                                                   Denver, CO 80264
dwadsworth@wgwc-law.com                                                        303-832-3047
                                                                               Email: jmd@kutnerlaw.com

U.S. Trustee
US Trustee
Byron G. Rogers Federal Building
1961 Stout St.
Ste. 12-200
Denver, CO 80294
303-312-7230
USTPRegion 19 .DV.ECF@usdoj.gov


    Filing Date               #                                            Docket Text


                             202             Receipt of Amended Schedules Filing Fee - $32.00 by SA. Receipt
  01/24/2023                                 Number 310614. (admin) (Entered: 01/24/2023)

                             201              Order Regarding Debtor's Motion For Clarification (related
  01/23/2023                 (2 pgs)          document(s)200 Motion). Ge) (Entered: 01/23/2023)

                             200              Motion For Clarification (Request for Amount Owed To the Courts)
                             (7 pgs)          Filed by Kate Buffy Drakewyck (related document(s)l98 Notice of

                                                   94
  01/22/2023                                  Deficiency). Ge) (Entered: 01/23/2023)

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                                                   310560. (admin) (Entered: 01/19/2023)

                                198                Notice of Deficiency For Failure to Pay Filing Fee: Missing document(s)
                                (I pg)             due by 3/9/23. (related document(s)17 Schedule D And/Or Schedule E/F,
                                                   22 Order on Motion To Pay Filing Fees in Installments). Payment of Fees
    01/19/2023                                     due by 3/9/2023. (sd) (Entered: 01/19/2023)

                                                   Disposition of Adversary Proceeding Number 22-01250-EEB. Final
                                                   Order or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg)
    01/18/2023                                     (Entered: 01/18/2023)

                                197                Receipt of Chapter 7 Filing Fee - $338.00 by SA. Receipt Number
    01/17/2023                                     310537. (admin) (Entered: 01/17/2023)

                                196                Order Regarding Case Filing Fee (related docnment(s)2. Voluntary
                                (I pg)             Petition-Chapter 7). Filing Fee Dne by 3/9/2023 for 2., (sd) (Entered:
    01/12/2023                                     0 l/ 12/2023)

                                195                Order Granting Unopposed Motion To Vacate Evidentiaty Hearing on
                                (I pg)             Homestead Exemption Set for January 12, 2023 and To Hold All Related
                                                   Deadlines in Abeyance Pending Approval of Settlement Agreement
                                                   (related document(s):191 Motion to Vacate Hearing). Ge) (Entered:
    01/05/2023                                     01/05/2023)

                                194                Order Granting Motion To Approve Compromise and Settlement
                                (l pg)             Agreement (related document(s):189 Motion to Approve). Ge) (Entered:
    01/05/2023                                     01/05/2023)

                                193                Certificate of Non-Contested Matter Filed by Jonathan Dickey on behalf
                                (l pg)             of David V. Wadsworth, Trustee (related document(s): 189 Motion to
    01/04/2023                                     Approve). (Dickey, Jonathan) (Entered: 01/04/2023)

                                192                Order Holding Homestead Exemption Contested Matter Trial Deadlines
                                (1 pg)             in Abeyance (related document(s) 182 Minutes of Proceedings/Minute
    12/21/2022                                     Order). Ge) (Entered: 12/21/2022)

                                191                Unopposed Motion to Vacate Hearing Filed by Jonathan Dickey on
                                (4 pgs; 2 docs)    behalf of David V. Wadsworth, Trustee (related document(s) 182 Minutes
                                                   of Proceedings/Minute Order). (Attachments: # l Proposed/Unsigned
    12/13/2022                                     Order) (Dickey, Jonathan) (Entered: 12/13/2022)

                                190                9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                                (4 pgs; 2 docs)    Wadsworth, Trustee (related document(s):189 Motion to Approve) .. 9013
                                                   Objections due by 1/3/2023 for 189,. (Attachments:# l Other Creditor
    12/13/2022                                     Matrix) (Dickey, Jonathan) (Entered: 12/13/2022)

                                189                Motion to Approve Compromise and Settlement Agreement Filed by
                                (10 pgs; 3 docs)   Jonathan Dickey on behalf of David V. Wadsworth, Trustee.
                                                   (Attachments: #!Exhibit 1 # 2. Proposed/Unsigned Order) (Dickey,
    12/13/2022                                     Jonathan) (Entered: 12/13/2022)


    12/06/2022                  188                Order Granting Stipulation To Avoidance of Lien of Levi Min Yeong
                                (2 pgs)            Buehler Trust Against Proceeds from Sale of Real Property Located at
                                                   6798 W. Portland Ave., Littleton, Colorado (related document(s):179
                                                         95
                                                   Stipulation). Ge) (Entered: 12/06/2022)
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                                 187                  Minute Order. Non-Evidentiary Hearing on Stipulation Between David
                                 (1 pg)               V. Wadsworth, Trustee and the Levi Min Yeong Buehler Trust Re:
                                                      Avoidance of Lien of Levi Min Yeong Buehler Trust against Proceeds
                                                      from Sale of Real Property Located at 6798 West Portland Avenue,
                                                      Littleton, Colorado (the Stipulation), and Debtors Objection Thereto.
                                                      Orders: For the reasons stated on the record, the Stipulation is hereby
                                                      APPROVED. A separate order shall enter. (related document(s).112
12/06/2022                                            Stipulation, 181 Objection). Ge) (Entered: 12/06/2022)

                                 186                  Courts Notice or Order and BNC Certificate of Mailing (related
                                 (3 pgs)              document(s)l85 Order Setting Hearing). No. of Notices: 0. Notice Date
11/23/2022                                            11/23/2022. (Admin.) (Entered: 11/23/2022)

                                 185                  Order and Notice ofNon-Evidentiary Hearing. (related document(s) 179
                                 (I pg)               Stipulation, 181 Objection). Hearing to be held on 12/6/2022 at 09:30
11/21/2022                                            AM Courtroom F for 179 and for 181,. (mmg) (Entered: 11/21/2022)

                                 184                  Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                                 (2 pgs)              David V. Wadsworth, Trustee (related document(s): 179 Stipulation, 181
11/18/2022                                            Objection). (Dickey, Jonathan) (Entered: 11/18/2022)

                                 183                  Receipt of Appeal Filing Fee - $298.00 by 3J. Receipt Number 310291.
11/03/2022                                            (admin) (Entered: 11/03/2022)

                                 182                  Minute Order. Proceedings: (1) Non-Evidentiary Hearing on Debtor's
                                 (4 pgs)              Motion to Waive Appeal Filing Fee; (2) Oral Ruling on Debtor's and
                                                      Trustees Cross-Motions for Summary Judgment on Homestead
                                                      Exemption. Orders: For the reasons stated on the record, the Court
                                                      DENIED the Debtor's Motion to Waive Appeal Filing Fee. For the
                                                      reasons stated on the record, the Court GRANTED the Trustee's Motion
                                                      for Partial Summary Judgment as to the amount of the applicable
                                                      homestead exemption. For the reasons stated on the record, the Court
                                                      DENIED the Debtor's Dispositive Motion (Motion for Summary
                                                      Judgment). The Court will hold an in-person evidentiary hearing on the
                                                      Trustees Objection to the Debtor's Claim of Homestead Exemption on
                                                      Thursday, January 12, 2022, at 9:30 a.m., beforethe Honorable Elizabeth
                                                      E. Brown, in Courtroom F, United States Bankruptcy Cour~ 721 19th
                                                      Street, Denver, CO 80202. (related document(s)l66 Motion). Hearing to
                                                      be held on 1/12/2023 at 09:30 AM Courtroom F for 166,. List of
                                                      Witnesses andExhibits due by 12/29/2022 for 166, Written Objections
11/02/2022                                            due by 1/5/2023 for .llii, Ge) (Entered: 11/02/2022)

                                 181                  Debtor's Objection to: Stipulation To Avoidance of Lien of Levi Min
                                 (3 pgs)              Yeong Buehler Trust Against Proceeds from Sale of Real Prope1ty
                                                      Located at 6798 W. Portland Ave., Littleton, Colorado Filed by Kate
                                                      Buffy Drakewyck. (related document(s)l 79 Stipulation). Ge) (Entered:
10/30/2022                                            10/31/2022)

                                 180                  9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                                 (3 pgs; 2 docs)      Wadsworth, Trustee (related document(s): 179 Stipulation) .. 9013
                                                      Objections due by 11/17/2022 for 179,. (Attachments:# l Other Creditor
10/27/2022                                            Matrix) (Dickey, Jonathan) (Entered: 10/27/2022)

10/27/2022                       179                  Stipulation Between David V. Wadsworth, Trustee and the Levi in Yeong
                                 (5 pgs; 2 docs)      Buehler Trust Re: to Avoidance of Lien of Levi Min Yeong Buehler Trust

                                                            96
                                                      against Proceeds from Sale of Real Property located at 6798 West
                                                      Portland Avenue, Littleton, Colorado Filed by Jonathan Dickey on behalf
                                                                                                                                '5
    Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 98
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                        178                 Copy of MANDATE: BAP Mandate filed in 22-0 I 6 (related
                        (1 pg)              document(s)165 Notice of Appeal and Statement of Election). (1jr)
10/26/2022                                  (Entered: 10/26/2022)

                        177                 Adversary case 22-01250. Complaint by Kate Drakewyck against US
                        (5 pgs)             Department Of Education . The Plaintiff in this adversary proceeding is
                                            either the debtor in an underlying chapter 7 or 13 case, or the United
                                            States other than the U.S. Trustee acting as a trustee in the underlying
                                            bankruptcy case. Pursuant to paragraph (6) of the Bankruptcy Comt
                                            Miscellaneous Fee Schedule, there is no fee to file an adversary
                                            proceeding when the plaintiff is the United States, other than a U.S.
                                            Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13
                                            case. Accordingly, this adversary proceeding shall be commenced
                                            without payment of the filing fee. Adversary Status Deadline 2/14/2023
                                            (63 (Dischargeability- 523(a)(8), student loan)) (tjv) (Entered:
10/17/2022                                  10/17/2022)

                        176                 Order and Notice ofNon-Evidentiary Hearing (related document(s)166
                        (1 pg)              Motion). Hearing to be held on 11/2/2022 at 09:30 AM Courtroom F for
10/12/2022                                  166,. (jc) (Entered: 10/12/2022)

                        175                 COPY OF APPEAL ORDER and JUDGMENT: The request for leave to
                        (5 pgs; 2 docs)     appeal contained in the Response is DENIED as unnecessary; and The
                                            Order Denying Reconsideration is AFFIRMED. Entered on October 11,
                                            2022 inBAP Case CO 22-16 by Judges JACOBVITZ, LOYD, and
                                            PARKER. (related document(s)l65 Notice of Appeal and Statement of
10/11/2022                                  Election). (Attachments: # 1 Judgment) (mlr) (Entered: 10/11/2022)

                         174                Order. ORDERS that this matter shall proceed nnder the Discovery
                         (1 pg)             Dispute procedures in L.B.R. 7026-1 (d). If the parties are unable to
                                            resolve their disputes after an attempt to meaningfully confer, they
                                            should request a hearing by email as provided for in the procedures.
                                            (related document(s)l 73 Document/Support Document). (jc) (Entered:
10/11/2022                                  10/11/2022)

                         173                Complaint on Trustee's Refusal To Submit Complete Discovery Filed by
10/08/2022               (2 pgs)            Kate Buffy Drakewyck. (jc) (Entered: 10/11/2022)
                                                                                                           I
                                                                                                       I
                         172                Minute Order. Proceedings: Non-Evidentiary Hearing on Discovery
                         (1 pg)             Dispute between Debtor and Chapter 7 Trustee David V. Wadsworth.
                                            Orders: Trustee shall produce records within his possession, custody, or
                                            control that are responsive to theDebtor's discovery requests and relevant
                                            to the homestead exemption contested matter. (related document(s)l61
09/29/2022                                  Order Setting Hearing). (jc) (Entered: 09/29/2022)

                         171                Motion For Summary Judgment Filed by Jonathan Dickey on behalf of
                         (12 pgs; 3 docs)   David V. Wadsworth, Trustee. (Attachments: # 1 Exhibit I # 2c
09/29/2022                                  Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 09/29/2022)

                         170                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                         (IO pgs; 2 docs)   Trustee (related document(s):157 Motion for Summary Judgment).
09/29/2022                                  (Attachments:# 1 Exhibit I) (Dickey, Jonathan) (Entered: 09/29/2022)



                                                  97
09/26/2022               169                Trustee's Discovery Report Filed by Jonathan Dickey on behalf of David
    Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 99
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                          168                 This Appeal Has Been Accepted by the Bankruptcy Appellate Panel and
                                              Assigned Case No. CO 22-16. Please Refer to That Court's Docket for
                                              the Most Complete Information Regarding This Appeal (related
                                              document(s)l65 Notice of Appeal and Statement of Election). (mlr)
09/22/2022                                    (Entered: 09/22/2022)

                          164                 Income and Bank Records Filed by Kate Buffy Drakewyck. (jc)
09/22/2022                (16 pgs)            (Entered: 09/22/2022)

                          167                 Appellant's Designation of Record and Statement of Issues On Appeal
                          (4 pgs; 2 docs)     filed by Kate Buffy Drakewyck (related document(s)\65 Notice of
                                              Appeal and Statement of Election). (Attachments:# l Statement of
09/21/2022                                    Issues) (mlr) (Entered: 09/22/2022)

                          166                 Appellant's Motion to Waive Appeal Filing Fee filed by Kate Buffy
                          (3 pgs)             Drakewyck (related document(s)165 Notice of Appeal and Statement of
                                              Election) . (mlr) Modified docket text on 9/22/2022 (mlr). (Entered:
09/21/2022                                    09/22/2022)

                         165                  Notice of Appeal and Statement of Election. Appellant is Pro Se. Waiver
                         (16 pgs; 5 docs)     of filing fee requested. Filed by Kate Buffy Drakewyck (related
                                              document(s)ill Generic Order, 159 Order on Motion To Reconsider, 160
                                              Judgment for BK Case). (Attachments: # l Certificate of Service # 2.
                                              BAP Document# J Statement of Admission# 1 Statement re Oral
09/21/2022                                    Argument) (mlr) (Entered: 09/22/2022)

                         163                  Order Converting In-Person Hearing To Telephonic Attendance.
                         (1 pg)               ORDERS that the Debtor, the Chapter 7 Trustee, and any other interested
                                              parties shall appear telephonically using the Courts new telephone
                                              number (see below) at the Discovery Dispute hearing scheduled for
                                              Thursday, September 29, 2022, at 2:15 p.m., in Courtroom F, United
                                              States Bankruptcy Court, U. S. Custom House, 721 19th Street, Denver,
                                              Colorado 80202. Patties shall call the Court prior to the hearing at 1-833-
                                              568-8864 or 1-833-435-1820 immediately prior to the time of the
                                              scheduled hearing. Please enter the Meeting ID: 160 929 3959, followed
                                              by the# sign, then press# again if/when prompted to enter a pmticipant
                                              ID. (related document(s):162 Motion to Appear Telephonically). (jc)
09/20/2022                                    (Entered: 09/20/2022)

                         162                  Motion to Move September 29, 2022 Hearing from Courthouse to
                         (2 pgs)              Telephonic Proceeding Filed by Kate Buffy Drakewyck. (related
09/19/2022                                    document(s)l61 Order Setting Hearing). (jc) (Entered: 09/20/2022)

                         161                  Notice of Hearing on Discovery Dispute. Hearing to be held on
09/19/2022               (1 pg)               9/29/2022 at 02: I 5 PM Courtroom F. (jc) (Entered: 09/19/2022)

                         160                  Judgment. ORDERED that judgment is entered against Debtor Kate
                         (1 pg)               Buffy Drakewyck on her Motion to Reconsider Denial of Motion to
                                              Discharge Student Loan Balance inBankruptcy filed on September 18,
                                              2022. (related document(s)159 Order on Motion To Reconsider). (jc)
09/19/2022                                    (Entered: 09/19/2022)

                         159                  Order Denying Motion For Reconsideration (related document(s):158
09/19/2022               (2 pgs)              Motion to Reconsider). (jc) (Entered: 09/19/2022)
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   Appellate Case: 23-1236         Document: 010110908642         Date Filed: 08/25/2023          Page: 100
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                                          e or's Motion to 1sc arge u ent Loan m an ruptcy iled by Kate
                                        Buffy Drakewyck. (related document(s)l5 l Generic Order). Ge)
                                        (Entered: 09/19/2022)

                          157               Dispositive Motion (Motion For Summmy Judgment) Filed by Kate
09/18/2022                (6 pgs)           Buffy Drakewyck. Ge) (Entered: 09/19/2022)

                          156               Courts Notice or Order and BNC Certificate of Mailing (related
                          (3 pgs)           document(s)155 Order on Application to Employ). No. of Notices: 0.
09/11/2022                                  Notice Date 09/11/2022. (Admin.) (Entered: 09/11/2022)

                          155               Order To Appoint Kaplan & Associates, P.C. (related document(s): 154
09/09/2022                (1 pg)            Application to Employ). Ge) (Entered: 09/09/2022)

                          154               Application to Employ Kaplan & Associates, P.C. as Accountants Filed
                          (6 pgs; 3 docs)   by David V. Wadsworth, Trustee on behalf of David V. Wadsworth,
                                            Trustee. (Attachments: # l Affidavit# 2. Proposed/Unsigned Order)
09/08/2022                                  (Wadsworth, Trustee, David) (Entered: 09/08/2022)

                          153               Order For Compliance (related document(s)2. Voluntary Petition-Chapter
                          (1 pg)            7, 148 Document/Support Document, 152 Document/Support
                                            Document). ORDERED that Parties to the Contested Matter shall comply
                                            with L.B.R. 7026-l(c)(l)-(2) and refrain from filing Discovery Materials
                                            with the Court unless and until the Court orders otherwise. That is,
                                            Parties shall exchange Discovery Materials amongstthemselves without
09/06/2022                                  filing them with the Court. (re) (Entered: 09/06/2022)

                          152               Debtor's Discovery Requests to Levi Mir. Yeong Buehler Trust-Co
                          (6 pgs)           Owner of Property and Creditor Filed by Kate Buffy Drakewyck. Ge)
09/05/2022                                  (Entered: 09/06/2022)

                          151               Order Denying, Without Prejudice, Motion to Discharge Student Loan
                          (1 pg)            Balance in Bankruptcy (related document(s)149 Letter). Ge) (Entered:
08/30/2022                                  08/30/2022)

                          150               This entry entered in error. Disregard following entry per Chambers
                                            request. Order (related document(s)149 Letter). Ge) Modified on
08/29/2022                                  8/29/2022 Ge). (Entered: 08/29/2022)

                          149               Motion to Discharge Student Loan Balance in Bankruptcy Filed by Kate
                          (3 pgs)           Buffy Drakewyck. (related document(s)2. Voluntary Petition-Chapter 7).
08/27/2022                                  Ge) (Entered: 08/29/2022)

                          148
08/27/2022                (117pgs)          Discoveries Filed by Kate Buffy Drakewyck. Ge) (Entered: 08/29/2022)

                          147               Courts Notice or Order and BNC Certificate of Mailing (related
                          (3 pgs)           document(s)l43 Judgment for BK Case). No. of Notices: 6. Notice Date
08/11/2022                                  08/11/2022. (Admin.) (Entered: 08/11/2022)

                          146               Courts Notice or Order and BNC Certificate of Mailing (related
                          (3 pgs)           document(s)l42 Order on Motion For Relief From Stay). No. of Notices:
08/11/2022                                  6. Notice Date 08/11/2022. (Admin.) (Entered: 08/11/2022)



                                                  99
08/10/2022                145               Courts Notice or Order and BNC Certificate of Mailing (related
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                        144            Courts Notice or Order and BNC Certificate of Mailing (related
                        (3 pgs)        docurnent(s)l40 Order on Motion For Relief From Stay). No. of Notices:
08/10/2022                             6. Notice Date 08/10/2022. (Admin.) (Entered: 08/10/2022)

                       143             Judgment (related document(s)l42 Order on Motion For Relief From
08/09/2022             (I pg)          Stay). (sd) (Entered: 08/09/2022)

                       142             Order Granting Debtor's Motion For Relief From Stay on Jefferson
                       (I pg)          County District Court Case Number 19-PR-31223 and Colorado Court of
                                       Appeals Case 22-CA-418. (related document(s): I 05 Motion for Relief
08/09/2022                             From Stay and 4001-1.1 Notice). (sd) (Ent,red: 08/09/2022)

                       141             Judgment (related document(s)l40 Order on Motion For Relief From
08/08/2022             (I pg)          Stay). (sd) (Entered: 08/08/2022)

                       140             Order Granting Debtor's Motion For Relief From Stay On District Court
                       (1 pg)          Case Number 21-CV-33 and Colorado Court of Appeals Case Number
                                       21-CA-2035 (related document(s):107 Motion for Relief From Stay and
08/08/2022                             4001-1.1 Notice). (sd) (Entered: 08/08/2022)

                       139             Courts Notice or Order and BNC Certificate of Mailing (related
                       (3 pgs)         document(s)U4 Judgment for BK Case). No. of Notices: I. Notice Date
08/06/2022                             08/06/2022. (Admin.) (Entered: 08/06/2022)

                       138             Courts Notice or Order and BNC Certificate of Mailing (related
                       (3 pgs)         document(s)ill Order on Motion For Relief From Stay). No. of Notices:
08/06/2022                             I. Notice Date 08/06/2022. (Admin.) (Entered: 08/06/2022)

                       137             Courts Notice or Order and BNC Certificate of Mailing (related
                       (3 pgs)         document(s)ill Minutes of Proceedings/Minute Order). No. of Notices:
08/06/2022                             I. Notice Date 08/06/2022. (Admin.) (Entered: 08/06/2022)

                       136            Minute Order: For reasons stated on the record, the Motion for Relief is
                       (2 pgs)        GRANTED. Debtor may continue litigation in 21 CV 33 & 21 CA 2035,
                                      except to the extent that it involves property of the estate, namely the
                                      Debtor does not have standing to pursue any civil theft claims unless and
                                      until she schedules such assets in the bankruptcy case and obtains an
                                      order abandoning the same. Nor is the Debtor permitted to litigate her
                                      entitlement to a homestead exemption in the state court proceeding. A
                                      separate Order and Judgment will enter. On or before close of business
                                      on Monday, August 8, 2022, the Chapter 7 Trustee shall submit a new
                                      proposed form of order regarding Debtors Appeal of the State Court
                                      judgment and any civil theft claims. Please email the order in Microsoft
                                      WORD format to courtroomf@cob.uscourts.gov. (related
                                      document(s).lfil Motion for Relief From Stay and 4001-1.1 Notice).
08/04/2022                            Document due by 8/8/2022 for I 07, (sd) (Entered: 08/04/2022)

08/04/2022             135            Minute Order: For reasons stated on the record, the Motion for Relief is
                       (2 pgs)        GRANTED. Debtor may continue litigation in 19 PR 31223 & Colorado
                                      Comt of Appeals Case No. 22 CA 418. A separate Order and Judgment
                                      will enter. On or before close of business on Monday, August 8, 2022,
                                      the Levi Min Yeong Buehler Trust shall submit a new proposed form of
                                      order regarding Debtors Appeal of the State Court rulings. Please email

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                                      the order in Microsoft WORD format to courtroomf@cob.uscourts.gov.
   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 102
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                          134                  Judgment (related document(s)133 Order on Motion For Relief From
08/04/2022                (1 pg)               Stay). (sd) (Entered: 08/04/2022)


                          133                  Order Granting Motion For Relief From Stay (related document(s): l 06
                          (1 pg)               Motion for Relief From Stay and 4001-1.1 Notice). (sd) (Entered:
08/04/2022                                     08/04/2022)

                          132                  Minute Order: For reasons stated on the record, the Motion for Relief is
                          (l pg)               GRANTED. Debtor may continue litigation in the Colorado Court of
                                               Appeals Case No. 2022CA417: Plaintiff-Appellant: Kate Drakewyck, v.
                                               Defendant-Appellee: Heather Abreu. A separate Order and Judgment
                                               will enter. (related document(s)l06 Motion for Relief From Stay and
08/04/2022                                     4001-1.l Notice). (sd) (Entered: 08/04/2022)


                           131                 Further Information on Stalker Filed by Kate Buffy Drakewyck. Ge)
08/03/2022                 (15 pgs)            (Entered: 08/03/2022)


                           130                 List of Witnesses and Exhibits Filed by Jonathan Dickey on behalf of
                           (156 pgs; 9 docs)   David V. Wadsworth, Trustee (related document(s): 126 Order on Motion
                                               to Appear Telephonically). (Attachments: # l Exhibit A# 2. Exhibit B # ;l_
                                               Exhibit C # ± Exhibit D # :i Exhibit E # 2 Exhibit F # 1 Exhibit G # Jl
08/03/2022                                     Exhibit H) (Dickey, Jonathan) (Entered: 08/03/2022)


                           129                 List of Witnesses and Exhibits Filed by Jonathan Dickey on behalf of
                           (3 pgs)             David V. Wadsworth, Trustee (related document(s):126 Orderon Motion
08/03/2022                                     to Appear Telephonically). (Dickey, Jonathan) (Entered: 08/03/2022)


                           128                 Response Filed by Jennifer M. Osgood on behalf of Linda Chalupsky
                           (72 pgs; 8 docs)    (related document(s):99 Motion for Relief From Stay and 4001-1.1
                                               Notice, 105 Motion for Relief From Stay and 4001-1.1 Notice).
                                               (Attachments: # l Exhibit A# 2. Exhibit B # ::l. Exhibit C #±Exhibit D #
                                               :i Exhibit E # 2 Exhibit F # 1 Exhibit G) (Osgood, Jennifer) (Entered:
07/27/2022                                     07/27/2022)


                           127                 Response Filed by Jennifer M. Osgood on behalf of Linda Chalupsky
                           (159 pgs; 9 docs)   (related document(s):101 Motion for Relief From Stay and 4001-1.1
                                               Notice, 107 Motion for Relief From Stay and 4001-1.1 Notice).
                                               (Attachments: #!Exhibit A # 2. Exhibit B # ::l. Exhibit C # ± Exhibit D #
                                               ;i Exhibit E # 2 Exhibit F # 1 Exhibit G # Jl Exhibit H) (Osgood, Jennifer)
07/27/2022                                     (Entered: 07/27/2022)


                           126                 Order Converting In-Person Hearing To Telephonic Attendance.
                           (l pg)              ORDERS that the Debtor, Chapter 7 Trustee, any additional objectors (to
                                               Debtor's other Motions for Relief from Stay), and any other interested
                                               parties shall appear telephonically at the hearing(s) scheduled for
                                               Thursday, August 4, 2022, at 1:30 p.m., in Courtroom F, United States
                                               Bankruptcy Court, U. S. Custom House, 721 19th Street, Denver,
                                               Colorado 80202. Parties shall call the Court prior to the hearing at 1-888-
                                               684-8852. The meeting access code is 345 4024 followed by the # sign.
                                               (related docurnent(s): 125 Motion to Appear Telephonically). Ge)
07/27/2022                                     (Entered: 07/27/2022)


07/26/2022                 125                 Motion to Move August 4, 2022 Hearing from Comihouse to Telephonic
                           (3 pgs)
                                                   101
                                               Proceeding Filed by Kate Buffy Drakewyck (related docurnent(s)l05
                                                                                                                             t,t./
   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 103
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                                            4001-1.1 Notice). Uc) (Entered: 07/26/2022)

                          124               Order Granting Motion to Waive Filing Fee for Amended Motions for
                          (1 pg)            Release From Stay. IT IS FURTHER ORDERED that if sufficient assets
                                            are recovered in this case,the Chapter 7 trustee is directed to pay the
                                            filing fees from those assets in the total amount of $564.00 ($188.00 for
                                            each Motion for Relief from Stay). (related document(s):108 Motion, 122
07/25/2022                                  Motion). Uc) (Entered: 07/25/2022)

                         123                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                         (31 pgs; 2 docs)   Trustee (related document(s):107 Motion for Relief From Stay and 4001-
                                            1.1 Notice). (Attachments:# 1 Exhibit) (Dickey, Jonathan) (Entered:
07/25/2022                                  07/25/2022)

                         122                Second Motion to Waive Fees on Three Motions for Release From Stay
                         (2 pgs)            filed by Kate Buffy Drakewyck (related document(s)l08 Motion). (dg)
07/21/2022                                  (Entered: 07/22/2022)

                         121                Amended Disclosures filed by Kate Buff; Drakewyck (related
                         (7 pgs)            document(s):ill Document/Support Document). (dg) (Entered:
07/21/2022                                  07/22/2022)
                               -
                         120                Amended Schedule I: Current Income For Individual, Amended
                         (6 pgs)            Schedule J: Current Expenditures For Individual filed by Kate Buffy
                                            Drakewyck (related document(s):Z. Voluntary Petition-Chapter 7). (dg)
07/21/2022                                  (Entered: 07/22/2022)


                         ll2                Order Regarding Debtor's Motion to Waive Fees on Three Motions for
                         (! pg)             Release from Stay (related document(s)108 Motion). Amended
                                            Schedules I and J and suppotting documentation due by 8/2/2022. (mjb)
07/19/2022                                  (Entered: 07/19/2022)

                         118                Repmt of Sale Filed by David V. Wadswo1th, Trustee on behalf of David
                         (6 pgs)            V. Wadsworth, Trustee. (Wadsworth, Trustee, David) (Entered:
07/15/2022                                  07/15/2022)

                         117                Trustee's Fed. R. Civ. P. 26(a) Initial Disclosures Regarding Objection to
                         (4 pgs)            Homestead Exemption Filed by Jonathan Dickey on behalf of David V.
07/14/2022                                  Wadsworth, Trustee. (Dickey, Jonathan) (Entered: 07/14/2022)

                         114                Order Deeming Notice of Deficiencies Satisfied (related document(s)ill
07/12/2022               (I pg)             Response to Rules Compliance Order). (mjb) (Entered: 07/12/2022)

                         116                (Duplicate) Proof of Compliance filed by Kate Buffy Drakewyck (related
                         (18 pgs; 4 docs)   document(s):ill Response to Rules Compliance Order). (Attachments: #
07/11/2022                                  1 Exhibit# Z. Exhibit# J. Exhibit) (mjb) (Entered: 07/12/2022)

                         115                (Duplicate) Initial Disclosures filed by Kate Buffy Drakewyck (related
                         (5 pgs)            document(s):112 Document/Support Document). (mjb) (Entered:
07/11/2022                                  07/12/2022)

07/09/2022               113                Proof of Compliance filed by Kate Buffy Drakewyck (related
                         (22 pgs; 5 docs)   document(s)109 4001(a) Deficiency Notice, llQ 4001(a) Deficiency


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   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 104
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                           ill               Initial Disclosures filed by Kate Buffy Drakewyck (related
07/09/2022                 (5 pgs)           document(s):86 7016 Scheduling Order). (mjb) (Entered: 07/12/2022)

                           ill               Second Notice of Deficiency, Requirement to Cure, and
                           (2 pgs)           Recommendation For Dismissal of Motion for Relief from Stay for
                                             Service Only (related document(s)107 Motion for Relief From Stay and
                                             4001-1.1 Notice). Rules Compliance due by 7/12/2022. Ge) (Entered:
07/08/2022                                   07/08/2022)

                           llQ               Second Notice of Deficiency, Requirement to Cure, and
                           (2 pgs)           Recommendation For Dismissal of Motion for Relief from Stay for
                                             Service Only (related document(s)106 Motion for Relief From Stay and
                                             400 I - I.I Notice). Rules Compliance due by 7/12/2022. Ge) (Entered:
07/08/2022                                   07/08/2022)

                           109               Second Notice of Deficiency, Requirement to Cure, and
                           (2 pgs)           Recommendation For Dismissal of Motion for Relief from Stay for
                                             Service Only (related document(s)105 Motion for Relief From Stay and
                                             4001-1.1 Notice). Rules Compliance due by 7/12/2022. Ge) (Entered:
07/08/2022                                   07/08/2022)
        -                                           -
                           108               Motion to Waive Fees on Three Motions for Release from Stay Filed by
                           (2 pgs)           Kate Buffy Drakewyck. (related document(s)99 Motion for Relief From
                                             Stay and 4001-1.1 Notice, 100 Motion for Relief From Stay and 4001-1.1
                                             Notice, lQl Motion for Relief From Stay and 4001-1.1 Notice) . Ge)
07/07/2022                                   (Entered: 07/08/2022)

                           107               Amended Motion for Release Stay to pursue litigation in 21CV33 and
                           (5 pgs)           21 CA2035 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
07/07/2022                                   8/4/2022 at 01:30 PM at Comiroom F. Ge) (Entered: 07/08/2022)

                          106                Amended Motion for Release Stay to pursue litigation in 21 CV223 and
                          (5 pgs)            22CA417 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
07/07/2022                                   8/4/2022 at 01:30 PM at Courtroom F. Ge) (Entered: 07/08/2022)

                          105                Amended Motion for Release Stay to pursue litigation in 19PR31223 and
                          (9 pgs; 2 docs)    22CA418 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
                                             8/4/2022 at 01:30 PM at Courtroom F. (Attachments:# l Exhibit -
07/07/2022                                   Forthwith Petition for Removal) Ge) (Entered: 07/08/2022)

                          104                Notice of Deficiency, Requirement to Cure, and Recommendation For
                          (2 pgs)            Dismissal of Motion for Relief from Stay (related document(s)I0I
                                             Motion for Relief From Stay and 4001-1.1 Notice). Rules Compliance
07/05/2022                                   due by 7/12/2022. Ge) (Entered: 07/05/2022)

                          103               Notice of Deficiency, Requirement to Cure, and Recommendation For
                          (2 pgs)           Dismissal of Motion for Relief from Stay (related document(s)lO0 Motion
                                            for Relief From Stay and 4001-1.1 Notice). Rules Compliance due by
07/05/2022                                  7/12/2022. Ge) (Entered: 07/05/2022)

07/05/2022                102               Notice of Deficiency, Requirement to Cure, and Recommendation For
                          (2 pgs)           Dismissal of Motion for Relief from Stay (related document(s)99 Motion
                                            for Relief From Stay and 4001-1.1 Notice). Rules Compliance due by

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                                            7/12/2022. Ge) (Entered: 07/05/2022)
   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 105
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                        101               Motion for Release Stay to pursue litigation in 21CV33 and 21CA2035
07/04/2022              (4 pgs)           Filed by Kate Buffy Drakewyck. Ge) (Entered: 07/05/2022)

                        100               Motion for Release Stay to pursue litigation in 21CV223 and 22CA417
07/04/2022              (4 pgs)           Filed by Kate Buffy Drakewyck. Ge) (Entered: 07/05/2022)

                        99                Motion for Release Stay to pursue litigation in 19PR31223 and 22CA418
                        (7 pgs; 2 docs)   Filed by Kate Buffy Drakewyck. (Attachments:# l Exhibit - Forthwith
07/04/2022                                Petition for Removal) Ge) (Entered: 07/05/2022)

                        98                Comts Notice or Order and BNC Certificate of Mailing (related
                        (3 pgs)           document(s)95 Judgment for BK Case). No. of Notices: I. Notice Date
07/01/2022                                07/01/2022. {Admin.) (Entered: 07/01/2022)


                        97                Courts Notice or Order and BNC Certificate of Mailing (related
                        (3 pgs)           document(s)94 Order on Application to Employ). No. of Notices: I.
07/01/2022                                Notice Date 07/01/2022. (Admin.) (Entered: 07/01/2022)


                        96                Judgment (related document(s)92 Minutes of Proceedings/Minute Order).
06/29/2022              (I pg)            (sd) (Entered: 06/29/2022)

                        95                Judgment (related docUlllent(s)94 Order on Application to Employ). (sd)
06/29/2022              {I pg)            (Entered: 06/29/2022)

                        94                Order Approving Renewed Application to Employ Larry Simpson and
                        (I pg)            LIV Sotheby's International Realty As Realtor For The Chapter 7 Trustee.
                                          (related document(s):76 Application to Employ). (sd) (Entered:
06/29/2022                                06/29/2022)

                        93                Order Granting Motion to Sell Real Estate (6798 W. Portland Ave.)
                        (3 pgs)           Pursuant to 11 U.S.C. §§363(b)(f) And (h). (related docUlllent(s):fil
                                          Motion to Sell Property Free and Clear of Liens Under Section 363(f)).
06/29/2022                                (sd) (Entered: 06/29/2022)

                        92                Minute Order: For the reasons stated on the record, the Trustees Motion to
                        (2 pgs)           Sell Real Estate (6798 W. Portland Ave.) pursuant to 11 U.S.C. §§ 363(b),
                                          (f), and (h) is GRANTED. A separate order shall enter. For the reasons
                                          stated on the record, the Trustees Renewed Application to Employ Larry
                                          Simpson of LIV Sothebys International Realty as Realtor for the Chapter 7
                                          Trustee is GRANTED and Debtors objection thereto is OVERRULED. A
                                          separate order and judgment shall enter. For the reasons stated on the
                                          record, the Debtors Motion to Remove Creditors and Debtors Updated
                                          Motion to Remove Creditors are DENIED. A separate judgment shall
                                          enter. (related docUlllent(s)fil Motion to Sell Prope1ty Free and Clear of
                                          Liens Under Section 363(f), 76 Application to Employ, 87 Motion, 90
06/29/2022                                Motion). (sd) (Entered: 06/29/2022)

                        91                Order and Notice of Additional Matters to be Heard (related
06/27/2022              (I pg)            document(s)90 Motion). Ge) (Entered: 06/27/2022)

                        90                Updated Motion to Remove Creditors from Bankruptcy Filed by Kate
06/26/2022              (4 pgs)           Buffy Drakewyck. Ge) (Entered: 06/27/2022)
                                                  ..•

06/26/2022              89                Financial Management Course Certificate Filed by Kate Buffy

                                               104
                        (3 pgs)           Drakewyck. Ge) (Entered: 06/27/2022)

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06/26/2022                (1 pg)            Sage Personal Finance (fmt). (Entered: 06/26/2022)

                          87                Motion to Remove Creditors from Bankruptcy Filed by Kate Buffy
                          (8 pgs; 2 docs)   Drakewyck. (Attachments: /J l Exhibit - Forthwith Petition for Removal)
06/24/2022                                  (jc) (Entered: 06/24/2022)

                          86                Scheduling Order for Pre-Trial Deadlines Pursuant to Fed.R.Bankr.P.
                          (2 pgs)           7016(b) (Fed.R.Civ.P. 16(b)) (related document(s)34 Objection to
                                            Exemption). Discove1y due by 9/15/2022 for 34, Dispositive Motion due
                                            9/29/2022 for 34, Amendments due by 7/8/2022 for 34, (jc) (Entered:
06/24/2022                                  06/24/2022)

                          85                Order Granting Motion to Set Forthwith Hearing on June 29, 2022
                          (l pg)            Regarding the Trustee's Motion to Sell Real Estate (6798 W. Portland
                                            Ave.) Pursuant to II U.S.C. Subsection 363(b),(f) and (h) and the Trustee's
                                            Renewed Application to Employ Larry Simpson and Liv Sotheby's
                                            International Realty as Realtor for the Chapter 7 Trustee (related
                                            document(s):61 Motion to Sell Property Free and Clear of Liens Under
                                            Section 363(£), 76 Application to Employ). Telephonic Hearing to be held
06/23/2022                                  on 6/29/2022 at 10:00 AM Courtroom F . (dg) (Entered: 06/23/2022)

                          84                Judgment. ORDERED that judgment is entered against Debtor Kate Buffy
                          (1 pg)            Drakewyck on her Motion to Reconsider Denial of Debtor's Motion to
                                            Dismiss. (related document(s)83 Order on Motion To Reconsider). (jc)
06/23/2022                                  (Entered: 06/23/2022)

                          83                Order Denying Amended Motion For Reconsideration (related
06/23/2022                (2 pgs)           document(s):71 Motion to Reconsider). (jc) (Entered: 06/23/2022)

                          82                Objection Filed by Kate Buffy Drakewyck (related document(s)76
06/22/2022 .              (12 pgs)          Application to Employ). (jc) (Entered: 06/23/2022)


                          fil               Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                          (6 pgs)           Trustee (related document(s):71 Motion to Reconsider). (Dickey,
06/22/2022                                  Jonathan) (Entered: 06/22/2022)

                          80                Order Granting Motion to Shorten Time (related document(s):76
                          (1 pg)            Application to Employ, 78 Motion to Shorten Time). 9013 Objections due
06/22/2022                                  by 6/28/2022 for 76, (jc) (Entered: 06/22/2022)

                          79                Motion to Expedite Hearing Filed by Jonathan Dickey on behalf of David
                          (6 pgs; 2 docs)   V. Wadsworth, Trustee (related document(s)61 Motion to Sell Property
                                            Free and Clear of Liens Under Section 363(£), 75 Document/Support
                                            Document, 76 Application to Employ, 78 Motion to Shorten Time).
                                            (Attachments: # l Proposed/Unsigned Order) (Dickey, Jonathan) (Entered:
06/22/2022                                  06/22/2022)

                          78                Motion to Shorten Time Filed by Jonathan Dickey on behalf of David V.
                          (6 pgs; 2 docs)   Wadsworth, Trustee (related document(s)76 Application to Employ, 77
                                            9013-1.1 Notice). (Attachments: # l Proposed/Unsigned Order) (Dickey,
06/22/2022                                  Jonathan) (Entered: 06/22/2022)

06/22/2022                77                9013-1.1 Notice Filed by Jonathan Dickey on behalfofDavid V.

                                                 105
                          (4 pgs; 2 docs)   Wadsworth, Trustee (related document(s):76 Application to Employ) ..
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                        76                 Application to Employ Larry Simpson and LIV Sotheby's International
                        (19 pgs; 4 docs)   Realty as Realtor Filed by Jonathan Dickey on behalf of David V.
                                           Wadsworth, Trustee. (Attachments: # l Exhibit I # 2 Exhibit 2 # :l.
06/22/2022                                 Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 06/22/2022)


                        75                 Supplement to Motion to Sell Real Estate (6798 West Portland Avenue)
                        (6 pgs; 2 docs)    pursuant to 11 U.S.C. Sections 363(b), (f) and (h) Filed by Jonathan
                                           Dickey on behalf of David V. Wadsw01th, Trustee (related document(s):fil
                                           Motion to Sell Property Free and Clear of Liens Under Section 363(f)).
                                           (Attachments: # l Proposed/Unsigned Order) (Dickey, Jonathan) (Entered:
06/22/2022                                 06/22/2022)

                        74                 Proposed Joint Scheduling Order Filed by Jonathan Dickey on behalf of
                        (2 pgs)            David V. Wadsworth, Trustee (related document(s):65 Minutes of
06/22/2022                                 Proceedings/Minute Order). (Dickey, Jonathan) (Entered: 06/22/2022)


                        73                 Notice of Requirement to File a Statement of Completion of Course in
                        (I pg)             Personal Financial Management Official Fmm 423. If the case is closed
                                           because of failing to file Official Form 423, the case cannot be reopened
                                           without full payment of the reopening fee. If the debtor(s) want a
                                           discharge, they must first ask the Court to reopen the case by filing a
                                           Motion to Reopen the case accompanied by the payment of the filing fee
                                           which is 260.00 for motions to reopen filed on and after January I, 2007.
                                           After the case is reopened, the debtor(s) must then file Official Form 423
                                           evidencing completion of an instructional course concerning personal
                                           financial management in order to receive a discharge. If the debtor(s)
                                           fail(s) to file Official Form 23 within 30 days after the case is reopened,
                                           then the case will again be closed without the entry of a discharge.
                                           Financial Management Certificate Due by 08/05/2022 (adiclerk) (Entered:
06/21/2022                                 06/21/2022)

                        72                 This entry entered in error. Disregard following entry per CM
                        (4 pgs)            reqnest. Amended Motion to Remove Creditor Filed by Kate Buffy
                                           Drakewyck (related document(s)2 Voluntary Petition-Chapter 7). Ge)
06/20/2022                                 Modified on 6/23/2022 Ge). (Entered: 06/21/2022)


                        11                 Amended Motion to Reconsider Denial of Debtor's Motion to Dismiss
                        (12 pgs; 3 docs)   Filed by Kate Buffy Drakewyck (related document(s)65 Minutes of
                                           Proceedings/Minute Order) . (Attachments: # l Exhibit - Forthwith
06/20/2022                                 Petition for Removal# 2 Exhibit) Ge) (Entered: 06/21/2022)


                         70                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                         (6 pgs)           Trustee (related document(s):68 Motion to Reconsider). (Dickey,
06/14/2022                                 Jonathan) (Entered: 06/14/2022)

                         69                This entry entered in error. Disregard following entry per CM
                         (4 pgs)           request. Motion to Remove Creditor Filed by Kate Buffy Drakewyck
                                           (related document(s)2 Voluntary Petition-Chapter 7). Ge) Modified on
06/10/2022                                 6/23/2022 Ge). (Entered: 06/10/2022)

                         68                Motion to Reconsider Denial of Debtor's Motion to Dismiss Filed by Kate
                         (4 pgs)           Buffy Drakewyck (related document(s)65 Minutes of Proceedings/Minute
06/10/2022                                 Order) . Ge) (Entered: 06/10/2022)

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                                            Compensation of LarrySimpson of LIV Sotheby's International Realty as
                                            Broker for the Bankruptcy Estate. (related document(s)65 Minutes of
                                            Proceedings/Minute Order). Ge) (Entered: 06/09/2022)


                        66                  Judgment. ORDERED that judgment is entered against Debtor Kate Buffy
                        (1 pg)              Drakewyck on her Motion to End Bankruptcy Case Immediately. (related
                                            document(s)65 Minutes of Proceedings/Minute Order). Ge) (Entered:
06/09/2022                                  06/09/2022)

                        65                  Minute Order. Telephonic Non-Evidentiary Hearing on (1) the Trustee's
                        (2 pgs)             Objection to Debtor's Claim of Homestead Exemption and Debtors
                                            Objection thereto; (2) the Trustee's Motion to (A) Authorize Employment
                                            and Compensation of Larry Simpson of LIV Sotheby's International
                                            Realty as Broker for the Bankruptcy Estate and (B) Sell Real Estate ( 6798
                                            W. Portland Ave.) pursuant to 11 U.S.C. §§ 363(b), (f), and (h) filed on
                                            April 26, 2022, and supplemented by Supplement to Motion filed on May
                                            10, 2022 and Debtor's Objection thereto; and (3) Debtor's Motion to End
                                            Bankruptcy Case Immediately. Orders: For the reasons stated on the
                                            record, the Trustee's Motion to Authorize Employment and Compensation
                                            of Larry Simpson of LIV Sotheby's International Realty as Broker for the
                                            Bankruptcy Estate is DENIED. For the reasons stated on the record, the
                                            Debtor's Motion to End Bankruptcy Case Immediately is DENIED. The
                                            Trustee and the Debtor shall meet and confer in good faith and, on or
                                            before June 23, 2022, jointly file a proposed scheduling order setting forth
                                            pretrial deadlines to govern the contested matter of the Trustee's Objection
                                            to Debtor's Claim of Homestead Exemption and the Debtor's Objection
                                            thereto. Said proposed scheduling order shall incorporate initial disclosure
                                            obligations on the parties pursuant to Fed. R. Bankr. P. 9014(c) and Fed.
                                            R. Bankr. P. 7026, as made applicable to these proceedings by Fed. R. Civ.
                                            P. 26. (related document(s)30 Motion to Dismiss Case, 34 Objection to
                                            Exemption, 3 7 Application to Employ & Sell Property Free and Clear of
                                            Liens Under Section 363(f), 41 Motion to Dismiss Case, 48
                                            Document/Supp01t Document). Document due by 6/23/2022 for 34 and
06/09/2022                                  for 30 and for 37 and for 48 and for 41, Ge) (Entered: 06/09/2022)


                        64                  Entry of Appearance and Request for Notice Filed by Jennifer M. Osgood
06/08/2022              (2 pgs)             on behalf of Linda Chalupsky. (Osgood, Jennifer) (Entered: 06/08/2022)


                         63                 9013-1.1 Notice Filed by Jonathan Dickey on behalfofDavid V.
                         (5 pgs; 2 docs)    Wadsworth, Trustee (related docnrnent(s):61 Motion to Sell Property Free
                                            and Clear of Liens Under Section 363(£)) .. 9013 Objections due by
                                            6/28/2022 for 61,. (Attachments: # l Other Creditor Matrix) (Dickey,
06/07/2022                                  Jonathan) (Entered: 06/07/2022)


                         62                 Receipt of Motion to Sell Property Free and Clear of Liens Under Section
                                            363(f)( 22-10977-EEB) [motion,s363ftr] ( 188.00) Filing Fee. Receipt
                                            number A3 l 328095. Fee amount 188.00 (U.S. Treasury) (Entered:
06/07/2022                                  06/07/2022)


                         61                 Motion to Sell 6798 West Portland Avenue, Littleton, Colorado Free and
                         (33 pgs; 3 docs)   Clear of Liens Under Section 363(f) Filed by Jonathan Dickey on behalf
                                            of David V. Wadsworth, Trustee. (Attachments: # l Exhibit# 2
06/07/2022                                  Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 06/07/2022)


                         60                 Order and Notice of Telephonic Non-Evidentiary Hearing (related

                                                 107
05/31/2022
                         (I pg)             document(s)30 Motion to Dismiss Case, 34 Objection to Exemption, 37
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                                            Document). Telephonic Hearing to be held on 6/9/2022 at 10:00 AM
                                            Courtroom F for 34 and for 30 and for 37 and for 48 and for 41,. (jc)
                                            (Entered: 05/31/2022)


                         59                 Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                         (4 pgs)            Trustee (related document(s):57 Certificate of Non-Contested Matter).
05/31/2022                                  (Dickey, Jonathan) (Entered: 05/31/2022)


                         58                 Notice of Withdrawal of Document Filed by Jonathan Dickey on behalfof
                         (3 pgs)            David V. Wadsworth, Trustee (related document(s):.51 Motion to Sell
                                            Property Free and Clear of Liens Under Section 363(f))... (Dickey,
05/31/2022                                  Jonathan) (Entered: 05/31/2022)


                         57                 (Certificate of Non-Contested Matter) Debtor's Request for Judgment on
                         (4 pgs)            Motion to End Bankruptcy Case Filed by Kate Buffy Drakewyck (related
                                            document(s):30 Motion to Dismiss Case, 41 Motion to Dismiss Case). (jc)
05/20/2022                                  (Entered: 05/20/2022)


                         56                 Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                         (2 pgs)            David V. Wadsworth, Trustee (related document(s):37 Application to
                                            Employ & Sell Property Free and Clear of Liens Under Section 363(t), 47
05/18/2022                                  Objection). (Dickey, Jonathan) (Entered: 05/18/2022)
    -
                         55                 Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                         (2 pgs)            David V. Wadsworth, Trustee (related document(s):34 Objection to
05/18/2022                                  Exemption, 43 Objection). (Dickey, Jonathan) (Entered: 05/18/2022)


                         54                 Objection to Notice of Motion to Sell Real Estate Filed by Kate Buffy
                         (12 pgs)           Drakewyck (related document(s).51 Motion to Sell Propeity Free and
05/14/2022                                  Clear of Liens Under Section 363(t)). (jc) (Entered: 05/16/2022)


                         53                 9013-1.1 Notice Filed by Jonathan Dickey on behalfofDavid V.
                         (5 pgs; 2 docs)    Wadswmth, Trustee (related document(s):.51 Motion to Sell Prope1ty Free
                                            and Clear of Liens Under Section 363(t)) .. 9013 Objections due by
                                            6/3/2022 for .51,. (Attachments: # l Other Creditor Matrix) (Dickey,
05/13/2022                                  Jonathan) (Entered: 05/13/2022)


                          52                Receipt of Motion to Sell Property Free and Clear of Liens Under Section
                                            363(t)( 22-10977-EEB) [motion,s363ftr] ( 188.00) Filing Fee. Receipt
                                            number AXXXXXXXX. Fee amount 188.00 (U.S. Treasury) (Entered:
05/13/2022                                  05/13/2022)
             -
                         .51                Withdrawn Per Notice #58. Motion to Sell 6798 West Portland Avenue,
                         (32 pgs; 3 docs)   Littleton, Colorado Free and Clear of Liens Under Section 363(t) Filed by
                                            Jonathan Dickey on behalf of David V. Wadsworth, Trustee. (Attachments:
                                            # l Exhibit I # 2 Proposed/Unsigned Order) (Dickey, Jonathan) Modified
05/13/2022                                  on 5/3112022 (jc). (Entered: 05/13/2022)


                          50                Corrected Entry of Appearance and Request for Notice Filed by Daniel
                          (2 pgs)           Glasser on behalf of Linda Chalupsky... (Glasser, Daniel) (Entered:
05/1212022                                  05/12/2022)


                          49                Entry of Appearance and Request for Notice Filed by Daniel Glasser on
                                            behalf of Linda Chalupsky... (Glasser, Daniel) (Entered: 05/1212022)
                                                 108
05/12/2022                (2 pgs)
                          .


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                                                                     08/04/2023     Page:
                                                                                    Page: 73
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05/10/2022 BAF Appeal No'!ll23-4 Doc .ffi'IIW!'''l''-•IJ to J\iltl~:t(l) q i 3 ~ e E-@.et&l'II ~(lp1pensation
                            (3 pgs)             of Larry Simpson of LIV Sotheby's Intemational Realty as Broker for the
                                                Bankruptcy Estate; and (B) Sell Real Estate (6798 West Portland Avenue)
                                                pursuant to 11 U.S.C. Sections 363(b}, (!), AND (h) Filed by Jonathan
                                                Dickey on behalf of David V. Wadsworth, Trustee (related document(s):37
                                                Application to Employ & Sell Property Free and Clear of Liens Under
                                                Section 363(!)). (Dickey, Jonathan) (Entered: 05/10/2022)


                            47                  Objection to Application to Employ Larry Simpson Filed by Kate Buffy
                            (12 pgs; 2 docs)    Drakewyck (related document(s)37 Application to Employ & Sell
                                                Property Free and Clear of Liens Under Section 363(!)). (Attachments:# l
05/04/2022                                      Exhibit) (jc) (Entered: 05/05/2022)

                            46                  Response to Second Order For Compliance Filed by Kate Buffy
                            (5 pgs)             Drakewyck (related document(s)33 Order Regarding Compliance With
05/04/2022                                      Rules). (jc) (Entered: 05/05/2022)

                            45                  Response to Notice of Deficiency Filed by Kate Buffy Drakewyck (related
05/04/2022                  (6 pgs)             document(s)42 Notice of Deficiency (90ll(a))). (jc) (Entered: 05/05/2022)


                            44                  Response to Notice of Deficiency Filed by Kate Buffy Drakewyck (related
05/04/2022                  (3 pgs)             document(s)42 Notice of Deficiency (9011 (a))). (jc) (Entered: 05/05/2022)


05/04/2022                                      Meeting of Creditors Satisfied. (adiclerk) (Entered: 05/04/2022)


                            43                  Debtor's Objection to Trustee's Objection to Debtor's Claim of Homestead
                            (42 pgs; 2 docs)    Exemption. Including Objection for Refusal to Discharge all Debt Filed by
                                                Kate Buffy Drakewyck (related document(s)34 Objection to Exemption).
04/30/2022                                      (jc) (Entered: 05/02/2022)

                            42                  Notice of Deficiency, Requirement to Cure, and Reconnnendation To
                            (2 pgs; 2 docs)     Strike for Failure to Comply with Federal Rule of Bankruptcy Procedure
                                                90ll(a) (related document(s)41 Motion to Dismiss Case). 90ll(a)
                                                Compliance due by5/13/2022. (Attachments:# l Missing Signature) (jc)
04/29/2022                                      (Entered: 04/29/2022)

                            41                  Motion to End Bankruptcy Case Innnediatly After 21 Days With
04/28/2022                  (4 pgs)             Concessions Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/29/2022)


                            40                  Courts Notice and BNC Certificate of Mailing Re: Notice of Possible
                            (4 pgs)             Dividend (related document(s)36 Notice of Possible Dividends). No. of
04/28/2022                                      Notices: 5. Notice Date 04/28/2022. (Admin.) (Entered: 04/28/2022)


                            39                  9013-1.l Notice Filed by Jonathan Dickey on behalf of David V.
                            (6 pgs; 2 docs)     Wadsworth, Trustee (related document(s):37 Application to Employ &
                                                Sell Property Free and Clear of Liens Under Section 363(!)) .. 9013
                                                Objections due by 5/17/2022 for 37,. (Attachments:# l Other Creditor
04/26/2022                                      Matrix) (Dickey, Jonathan) (Entered: 04/26/2022)


                             38                 Receipt of Application to Employ & Sell Property Free and Clear of Liens
                                                Under Section 363(!)( 22-10977-EEB) [motion,es363ftr] ( 188.00) Filing
                                                Fee. Receipt number AXXXXXXXX. Fee amount 188.00 (U.S. Treasury)
04/26/2022                                      (Ente~ed: 04/26/2022)


04/26/2022                   37                 Application to Employ Larry Simpson of LIV Sotheby's International
                             (47 pgs; 5 docs)
                                                     109
                                                Realty as Real Estate Broker to Sell 6798 West Portland Avenue, Littleton,
                                                                                                                             1u
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                                                                    . a sworth, ru ee·. Attacl:iments: # l
                                      Exhibit I # 2. Exhibit 2 #;)_Exhibit 3 # :l Proposed/Unsigned Order)
                                               (Dickey, Jonathan) (Entered: 04/26/2022)


                            36                 Notice of Possible Dividends. It appearing to the Trustee that a dividend to
                            (2 pgs)            creditors is possible; Creditors are hereby notified that if they desire to
                                               participate in a distribution of assets, they must file a claim with the court
                                               no later than the date shown below. Pursuant to Federal Rule of
                                               Bankruptcy Procedure 3002(c)(l) and (5) a proofofclaim shall be filed
                                               BY A GOVERNMENTAL UNIT not later than 180 days after the date of
                                               the order for relief, or the date shown below, whichever is later. All
                                               claimants who are seeking an administrative claim must obtain a Court
                                               Order pursuant to the Bankruptcy Code. Proofs of Claim due by
04/26/2022                                     08/1/2022. (Wadsworth, Trustee, David) (Entered: 04/26/2022)


                            35                 9013-1.l Notice Filed by Jonathan Dickey on behalfofDavid V.
                            (3 pgs; 2 docs)    Wadsw01th, Trustee (related document(s):34 Objection to Exemption) ..
                                               9013 Objections due by 5/9/2022 for 34,. (Attachments:# l Other
04/25/2022                                     Creditor Matrix) (Dickey, Jonathan) (Entered: 04/25/2022)


                            34                 Objection to Exemption Filed by Jonathan Dickey on behalf of David V.
                            (18 pgs; 3 docs)   Wadsworth, Trustee. (Attachments: # l Exhibit# 2. Proposed/Unsigned
04/25/2022                                     Order) (Dickey, Jonathan) (Entered: 04/25/2022)


                            33                 Second Order For Compliance With Local Bankruptcy Rule 9013-1 Or
                            (2 pgs)            Other Applicable Rules of Procedure Regarding Service and Notice
                                               (related document(s)30 Motion to Dismiss Case). Rules Compliance due
04/25/2022                                     by 5/2/2022. (re) (Entered: 04/25/2022)


                            32                 9013-1.1 Notice and Certificate of Service filed by Kate Buffy Drakewyck
                            (7 pgs)            (related document(s):30 Motion to Dismiss Case. (re) (Entered:
04/24/2022                                     04/25/2022)


                            n                  Order For Compliance With Local Bankruptcy Rule 9013-1 Or Other
                            (I pg)             Applicable Rules Of Procedure Regarding Service And Notice (related
                                               document(s)30 Motion to Dismiss Case). Rules Compliance due by
04/22/2022                                     4/29/2022 for 30, (jc) (Entered: 04/22/2022)


                            30                 Motion to End Bankruptcy Case Immediatly with Concessions Filed by
04/21/2022                  (4 pgs)            Kate Buffy Drakewyck. (jc) (Entered: 04/22/2022)


                            29                 Order Denying Motion To Remove Trustee and Trustee's Attorney.
04/21/2022                  (I pg)             (related document(s):28 Motion). (sd) (Entered: 04/21/2022)


                            28                 Motion to Remove David Wasworth as Trustee and Lawyer he Contracted
04/20/2022                  (3 pgs)            Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/20/2022)


                            27                 Order Approving Application to Employ Kutner Brinen Dickey Riley, P.C.
                            (1 pg)             as Counsel for the Chapter 7 Trustee (related document(s):26 Application
04/19/2022                                     to Employ). (jc) (Entered: 04/19/2022)


                             26                Application to Employ Kutr.er Brinen Dickey Riley, P.C. as Attorney for
                             (7 pgs; 3 docs)   Trustee Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                                               Trustee. (Attachments: # l Proposed/Unsigned Order# 2. Exhibit A)

                                                     110
04/18/2022                                     (Dickey, Jonathan) (Entered: 04/18/2022)
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04/13/2022 BAF Appeal N~3-4      Doc efNd/"1'~n of fll~~le W~G'}l!(lf213 Kat~: ~J8l'(<jfV20< (related
                          (3 pgs)          document(s):il Schedule A/B, Schedule D An Or Schedule E/F, 14
                                           Order Directing Compliance With Rule l009 On Amendments, 11
                                           Schedule D And/Or Schedule E/F, lS. 1009-1.1 Notice of Amendment).
                                           (jc) (Entered: 04/14/2022)

                          24               1009-1.1 Notice of Amendment to Voluntary Petition, Lists, Schedules, or
                          (6 pgs)          Statements Filed by Kate Buffy Drakewyck (related document(s):20
04/13/2022                                 Schedule C). {ic) (Entered: 04/14/2022)

              .
                          23               Courts Notice or Order and BNC Certificate of Mailing (related
                          (2 pgs)          document(s)21 Order Directing Compliance With Rule 1009 On
                                           Amendments). No. ofNotices: 1. Notice Date 04/13/2022. (Admin.)
04/13/2022                                 (Entered: 04/13/2022)

                          22               Order on Motion to Pay Amended Form Fee (related document(s):12
                          (1 pg)           Application to Pay Filing Fee in Installments). First Installment Payment
                                           due by 4/27/2022. Second Installment Payment due by 5/16/2022. Final
04/11/2022                                 Installment Payment due by 6/17/2022. (jc) (Entered: 04/11/2022)

                          21               Order Directing Compliance with Federal Rule of Bankruptcy Procedure
                          (1 pg)           1009(a) and/or L.B.R. 1009-1. (related document(s)ll Schedule D And/Or
04/11/2022                                 Schedule E/F, 20 Schedule C). (jc) (Entered: 04/11/2022)

                          20              Amended Schedule C: Property Claimed as Exempt Filed by Kate Buffy
                          (2 pgs)         Drakewyck (related document(s):2, Voluntary Petition-Chapter 7). {jc)
04/08/2022                                (Entered: 04/11/2022)

                          19              Motion to Pay Amended Schedule E Form Fee With 1st Installment
04/08/2022                (2 pgs)         Payment Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/08/2022)


                          lS.              I 009-1.1 Notice of Amendment to Voluntary Petition, Lists, Schedules, or
                          (7 pgs)          Statements Filed by Kate Buffy Drakewyck (related document(s):il
                                           Schedule A/B, Schedule D And/Or Schedule E/F, 16 Schedule A/B, 17
04/08/2022                                 Schedule D And/Or Schedule E/F). (jc) (Entered: 04/08/2022)

                          17              Amended Schedule D: Creditors having Claims Secured by Property
                          (6 pgs)         And/Or Schedule E/F: Creditors Who Have Unsecured Claims For
                                          Individual. Total Number of Creditors Added or Uploaded: 1. Fee not
                                          paid. Filed by Kate Buffy Drakewyck (related document(s):2 Voluntary
                                          Petition-Chapter 7, il Schedule A/B, Schedule D And/Or Schedule E/F).
04/08/2022                                (jc) (Entered: 04/08/2022)

                          16              Amended Schedule A/B: Property for Individual Filed by Kate Buffy
                          (11 pgs)        Drakewyck (related document(s):2, Voluntary Petition-Chapter 7, 13
                                          Schedule A/B, Schedule D And/Or Schedule E/F). (jc) (Entered:
04/08/2022                                04/08/2022)


                          15.             Courts Notice or Order and BNC Ce1tificate of Mailing (related
                          (2 pgs)         document(s)14 Order Directing Compliance With Rule 1009 On
                                          Amendments). No. of Notices: I. Notice Date 04/06/2022. (Admin.)
04/06/2022                                (Entered: 04/06/2022)

                          14              Order Directing Compliance with Federal Rule of Bankruptcy Procedure
                          (1 pg)          1009(a) and/or L.B.R. 1009-1. (related document(s)U Schedule A/B,
04/04/2022
                                                111
                                          Schedule D And/Or Schedule E/F). (jc) (Entered: 04/04/2022)
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04/02/2022 BAf Appeal No1323-4      Doc eA~di!d4.chednl~Jl>,'~2'@- Indil.rl~:Ali9etial<fi'l0lchedule D:
                        (4 pgs)            Creditors having Claims Secured by Property And/Or Schedule E/F:
                                           Creditors Who Have Unsecured Claims For Individual. Total Number of
                                           Creditors Added or Uploaded: 3. Fee not paid. Filed by Kate Buffy
                                           Drakewyck (related document(s):Z Voluntary Petition-Chapter 7). (jc)
                                           (Entered: 04/04/2022)


                         li                Schedule G: Executory Contracts and Unexpired Leases For Individual
                         (2 pgs)           Filed by Kate Buffy Drakewyck (related document(s):Z Voluntary
04/02/2022                                 Petition-Chapter 7). (jc) (Entered: 04/04/2022)


                         11                Order on Motion to Modify Installment Payments. (related
                         (1 pg)            document(s): 10 Application to Pay Filing Fee in Installments). First
                                           Installment Payment due by 4/27/2022. Second Installment Payment due
                                           by 5/16/2022. Final Installment Payment due by 6/l 7/2022. (jc) (Entered:
04/01/2022                                 04/01/2022)

                         10                Motion to Modify Installment Payments Filed by Kate Buffy Drakewyck.
03/30/2022               (2 pgs)           (jc) (Entered: 03/31/2022)

                                                                   -
                         2                 Courts Notice and BNC Certificate of Mailing Re: Meeting of Creditors
                         (5 pgs)           (related document(s)l Meeting of Creditors-Chapter 7). No. of Notices: 3.
03/30/2022                                 Notice Date 03/30/2022. (Admin.) (Entered: 03/30/2022)


                         li                Order Denying Application For Waiver of the Chapter 7 Filitlg Fee First
                         (I pg)            Installment Payment due by 4/8/2022. Second Installment Payment due by
                                           5/6/2022. Final Installment Payment due by 6/3/2022. (jc) (Entered:
03/28/2022                                 03/28/2022)


                         1                 Notice of Deficiency For Omission oflnformation: Schedule G, Missing
                         (I pg)            document(s) due by 4/8/2022. (related document(s)Z Voluntary Petition-
03/28/2022                                 Chapter 7). (jc) (Entered: 03/28/2022)

                                           Set Notice of Financial Course Due Date. Notice of Financial
                                           Management Course Certificate Due by 06/18/2022 (adiclerk) (Entered:
03/26/2022                                 03/26/2022)

                         Q                 Application For Waiver of the Chapter 7 Filing Fee. Filed by Kate Buffy
03/25/2022               (5 pgs)           Drakewyck. (mmg) (Entered: 03/25/2022)
                                                                                                         -

                         2          Chapter 7 Means Test Calculation- Form 122A-2, Chapter 7 Statement of Current
                         (13 pgs)   Monthly Income - Form 122A-l. Filed by Kate Buffy Drakewyck. (related
03/25/2022                          document(s):Z Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)


                         1          Statement oflntent. Filed by Kate Buffy Drakewyck (related document(s):Z
03/25/2022               (3 pgs)    Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)

                         3          Statement of Social Security Number. Filed by Kate Buffy Drakewyck (related
03/25/2022                          document(s):Z Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)


                         2.         Chapter 7 Voluntary Petition for Individual, Certificate of Credit Counseling and
                         (48 pgs)   Employee Income Records. Filed by Kate Buffy Drakewyck. (mmg) (Entered:
03/25/2022                          03/25/2022)

03/25/2022               l
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                                    Meeting of Creditors & Notice of Appointment oflnterim Trustee Wadsworth,
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                                 enver apter 7 elep omc Fmancta anagemen ourse CertJ 1cate due by
                                  6/21/2022. Last day to oppose discharge or dischargeability is 6/21/2022.
                                  (Entered: 03/25/2022)

                                  New Bankruptcy Case Opened. Section 521 Incomplete Filings due by 5/9/2022.
03/25/2022                        (mmg) (Entered: 03/25/2022)




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                                                                                           APLBAP, DISMISSED


                                                       U.S. Bankruptcy Court
                                                    District of Colorado (Denver)
                                                Adversary Proceeding#: 22-01250-EEB

          Assigned to: Elizabeth E. Brown                                         Date Filed: 10/17/22
          Lead BK Case: 22-10977                                                  Date Dismissed: 01/18/23
          Lead BK Title: Kate Buffy Drakewyck
          Lead BK Chapter: 7
          Demand:
          Nature[s] of Suit: 63 Dischargeability - 523(a)(8), student loan


         Plaintiff

         Kate Drakewyck                                                      represented by Kate Drakewyck
         PO Box 140114                                                                      PROSE
         Lakewood, CO 80214
         720-232-7287



         V.

         Defendant

         US Department Of Education                                          represented by US Department Of Education
                                                                                            PROSE



              Filing Date                   #                                            Docket Text

                                       l                   Adversary case 22-01250. Complaint by Kate Drakewyck against US
                                       (5 pgs)             Department Of Education . The Plaintiff in this adversary proceeding is
                                                           either the debtor in an underlying chapter 7 or 13 case, or the United
                                                           States other than the U.S. Trustee acting as a trustee in the underlying
                                                           bankruptcy case. Pursuant to paragraph (6) of the Bankruptcy Court
                                                           Miscellaneous Fee Schedule, there is no fee to file an adversary
                                                           proceeding when the plaintiff is the United States, other than a U.S.
                                                           Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13
                                                           case. Accordingly, this adversary proceeding shall be commenced
                                                           without payment of the filing fee . Adversmy Status Deadline
                                                           2/14/2023 (63 (Dischargeability - 523(a)(8), student loan)) (tjv)
          10/17/2022                                       (Entered: l0/17/2022)


                                       2.                  Summons Issued on US Department Of Education Answer Due
          10/17/2022                   (4 pgs)             11/23/2022. (tjv) (Entered: l 0/17/2022)




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                                                   ;)_       Summons Service Executed On: Roland Stallings on 10/24/2022 filed
        10/29/2022                                 (3 pgs)   by Kate Drakewyck. (re) (Entered: 10/31/2022)


                                               ±             Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
                                                   (3 pgs)   Balance. Filed by Plaintiff Kate Drakewyck (related document(s):l
        11/28/2022                                           Complaint). (mmg) (Entered: 11/28/2022)

                                               ,2            Order Denying Motion To Rule In Favor Of The Debtor (related
                                               (2 pgs)       document(s):'[ Motion). IT IS ORDERED that Plaintiffs Motion is
                                                             DENIED. Nonetheless, the Comt will provide Plaintiff another
                                                             opportunity to properly effectuate service. Therefore, IT IS FURTHER
                                                             ORDERED that on or before December 13, 2022, Plaintiff shall file a
                                                             motion for alias summons and serve the Defendant with the alias
                                                             summons along with a copy of the Complaint pursuant to Fed. R.
                                                             Bankr. P. 7004(b)(4) and (5), failing which this adversary proceeding
        11/29/2022                                           may be dismissed. (re) (Entered: 11/29/2022)

                                               Q             Courts Notice or Order and BNC Certificate of Mailing (related
                                               (3 pgs)       document(s),2 Other Order). No. of Notices: l. Notice Date 12/01/2022.
        12/01/2022                                           (Admin.) (Entered: 12/01/2022)


                                               1             Cettificate of Service on District Attorney - Washington DC on
                                               (2 pgs)       12/10/2022 filed by Kate Drakewyck. (re) Modified on 12/12/2022 to
        12/12/2022                                           reflect text (re) .. (Entered: 12/12/2022)


                                               !l.           Certificate of Service On: Office of the Attorney General - Washington
                                               (2 pgs)       DC on 12/10/2022 filed by Kate Drakewyck . (re) Modified on
        12/12/2022                                           12/12/2022 to reflect text (re). (Entered: 12/12/2022)


                                               2.            Order To File (related document(s)l Complaint). IT IS ORDERED that
                                               (I pg)        on or before December 28, 2022, Plaintiff shall file a motion for alias
                                                             summons and serve the Defendant with the alias summons along with a
                                                             copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5)
                                                             or Fed. R, failing which this adversary proceeding may be dismissed.
        12/14/2022                                           (re) (Entered: 12/14/2022)

                                               10            Courts Notice or Order and BNC Certificate of Mailing (related
                                               (2 pgs)       document(s)2 Order to File). No. of Notices: I. Notice Date
        12/16/2022                                           12/16/2022. (Admin.) (Entered: 12/16/2022)


                                               11            Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
                                               (3 pgs)       Balance Filed by Plaintiff Kate Drakewyck . (mmg) (Entered:
        01/16/2023                                           01/17/2023)

                                               12            Order Denying Plaintiffs Second Motion to Rule in Favor of the
        01/18/2023                             (2 pgs)       Debtor. (related document(s):11 Motion). (mmg) (Entered: 01/18/2023)


                                              li             Order Dismissing Adversary Proceeding. (related document(s)l
        01/18/2023                             (2 pgs)       Complaint). (rnmg) (Entered: 01/18/2023)

                                                             Disposition of Adversaty Proceeding Number 22-01250-EEB. Final
                                                             Order or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg)
        01/18/2023                                           (Entered: 01/18/2023)
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CM/ECF Live DatabaseCase: 23-1236                      https://ecf.cob.uscomts.gov/cgi-bin/DktRpt.pl
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                                     14                 Courts Notice or Order and BNC Certificate of Mailing (related
                                     (3 pgs)            document(s)l2 Other Order). No. ofNotices: I. Notice Date
         01/20/2023                                     01/20/2023. (Admin.) (Entered: 01/20/2023)


                                     D.                 Courts Notice or Order and BNC Ce1tificate of Mailing (related
                                     (3 pgs)            document(s).11 Order Dismissing Adversary Proceeding). No. of
         01/20/2023                                     Notices: I. Notice Date 01/20/2023. (Admin.) (Entered: 01/20/2023)

                                    1§_                 Letter From Kate Drakewyck Dated 1/22/2023 (related document(s)_l1
                                     (3 pgs)            Other Order, .11 Order Dismissing Adversary Proceeding). (re)
         01/23/2023                                     (Entered: 01/23/2023)


                                    11                  Notice of Appeal and Statement of Election. Appellant is Pro Se. Filing
                                     (13 pgs; 2 docs)   fee paid online 1/28/2023. Filed by Kate Drakewyck (related
                                                        document(s).11 Order Dismissing Adversary Proceeding).
                                                        (Attachments: # l Statement re Admission, Interested Patties, Oral
                                                        Argument) (mlr) Corrected docket text to show payment
         01/28/2023                                     information on 1/30/2023 (mlr). (Entered: 01/30/2023)


                                    ll.                 Appellant Designation of Record and Statement of Issues On Appeal.
                                     (4 pgs)            Case Number Not Yet Available. Filed by Kate Drakewyck (related
                                                        document(s)l7 Notice of Appeal and Statement of Election). (mlr)
         01/28/2023                                     (Entered: 01/30/2023)

                                     19                 This Appeal Has Been Accepted by the Bankruptcy Appellate Panel
                                                        and Assigned Case No. CO 23-04. Please Refer to That Court's Docket
                                                        for the Most Complete Information Regarding This Appeal (related
                                                        document(s)ll Notice of Appeal and Statement of Election). (mlr)
         01/30/2023                                     (Entered: 01/30/2023)

                                     20                 Receipt of Appeal Filing Fee - $298.00 by MM. Receipt Number
         01/30/2023                                     310633. (admin) (Entered: 01/30/2023)


                                    21                  Motion for Leave to Appeal. Pursuant to F.R.B.P. 8004(b )(2),
                                    (7 pgs)             Responses Are To Be Filed With The Appellate Court Within 14 Days.
                                                        BAP Appeal Ca,;e No. is CO 23-04. Filed by Kate Drakewyck (related
                                                        document(s).11 Order Dismissing Adversary Proceeding, 17 Notice of
                                                        Appeal and Statement of Election) . (mlr) Added Appeal Case
         02/05/2023                                     Number on 2/6/2023 (mlr). (Entered: 02/06/2023)

                                    22                  Order Denying Plaintiffs Motion For Leave to Appeal (related
                                    (2 pgs)             document(s):21 Motion for Leave to Appeal). (re) (Entered:
         02/13/2023                                     02/13/2023)

                                    23                  Courts Notice or Order and BNC Certificate of Mailing (related
                                    (3 pgs)             document(s)22 Order on Motion For Leave to Appeal). No. of Notices:
         02/15/2023                                     I. Notice Date 02/15/2023. (Admin.) (Entered: 02/15/2023)

                                    24                  Order Vacating Order Denying Plaintiff's Motion For Leave To Appeal
                                    (1 pg)              (related document(s)22 Order on Motion For Leave to Appeal). THIS
                                                        MATTER comes before the court sua sponte. On February 13, 2023,
                                                        this Court entered an Order Denying Plaintiffs Motion For Leave to
                                                        Appeal in error. Accordingly, it is ORDERED that the Order Denying
         02/21/2023
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                                                        Plaintiff's Motion For Leave to Appeal entered on February 13, 2023 at
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CM/ECF Live DatabaseCase: 23-1236                          https://ecf.cob.uscourts.gov/cgi-bin/DktRpt.pl?445965
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                                                                                   Docket #22, IS HEREBY VACATED. (re) (Entered: 02/2 I /2023)


                                              25                                   COPY of Order Allowing Motion Appeal to Proceed. Entered by the
                                              (3 pgs)                              BAP in Appeal Case CO 23-04 on February 8, 2023. (related
                                                                                   document(s):il Motion for Leave to Appeal). (mlr) (Entered:
              02/21/2023                                                           02/21/2023)

                                              26                                   Courts Notice or Order and BNC Certificate of Mailing (related
                                              (2 pgs)                              document(s)24 Order to Vacate Document). No. of Notices: I. Notice
              02/23/2023                                                           Date 02/23/2023. (Admin.) (Entered: 02/23/2023)


                                              27                                   Courts Notice or Order and BNC Certificate of Mailing (related
                                              (4 pgs)                              document(s)25 Order on Motion For Leave to Appeal). No. of Notices:
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                                                               United States Bankruptcy Court
                                                                      District of Colorado
Drakewyck,
      Plaintiff                                                                                                       Adv. Proc. No. 22-01250-EEB
US Department Of Education,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                Page 1 of 1
Date Rcvd: Feb 21, 2023                                               Form ID: pdf904                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol           Definition
+                Addresses marked'+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.



Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 23, 2023:
Recip ID                 Recipient Name and Address
pla                    + Kate Drakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL: I

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and EmaiVPDF), and electronic data interchange (EDI).
NONE

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable addressi *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE

                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 23, 2023                                            Signature:          /s/Gustava Winters




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Appellate Case: 23-1236 Doc#:27
  Case:22-01250-EEB        Document: 010110908642
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          BAP Appeal No. 23-4        Docket No. 11       Filed: 02/08/2023     Page: 1 of 3


                  UNITED STATES BANKRUPTCY APPELLATE PANEL
                                   OF THE TENTH CIRCUIT



      IN RE KA TE BUFFY DRAKBWYCK,                               BAP No. CO-23-004

                  Debtor.


                                                                 Bankr. No. 22-10977
                                                                  Adv. No. 22-01250
      KA TE BUFFY DRAKBWYCK,                                          Chapter 7

                   Plaintiff - Appellant.

                                                          ORDER ALLOWING APPEAL TO
                                                                  PROCEED




     Before SOMERS, PARKER, and THURMAN, Bankrnptcy Judges.


            On January 30, 2023, Appellant filed a notice of appeal, appealing the Bankrnptcy

     Court's Order Dismissing Case (the "Order"), which dismissed the Appellant's adversary

     proceeding without prejudice. Subsequently, this Court issued its Order to Show Cause

     Why Appeal Should Not Be Dismissed As Interlocutory ("Show Cause Order"). Appellant

     responded, arguing the Order is final.

            This Court has jurisdiction to hear appeals from final orders, final collateral

     orders, and, with leave of com1, interlocutory orders. 1 An order is considered final if it




                             Personette v. Kennedy (In re Midgard Co1p.), 204 B.R. 764,
            1 28 U.S.C. § 158;

     768 (10th Cir. BAP 1997).




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   Case:22-01250-EEB
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     "ends the litigation on the merits and leaves nothing for the court to do but execute the

     judgment. "2

            We determine the Order is a final as to whether the Bankruptcy Court cotTectly

     dismissed the adversary proceeding for failure to properly effectuate service in

     accordance with the Federal Rules of Bankruptcy Procedure. 3 The Tenth Circuit has held

     that, while generally a dismissal without prejudice is not a final order, where the

     dismissal finally disposes of the case so that it is not subject to further proceedings in

     federal court, the dismissal is final. 4 Here, the clear intent of the Bankruptcy Court was to



            2
                Quackenbush v. Allstate Ins. Co., 517 U.S. 706,712 (1996) (quoting Catlin v.
      United States, 324 U.S. 229,233 (1945)).
              3
                See United States v. Wallace & Tiernan Co., 336 U.S. 793, 794 n.l (1949)
     ("That the dismissal was without prejudice to filing another suit does not make the cause
     unappealable, for denial of relief and dismissal of the case ended this suit so far as the
     district court was concerned."). See also In re Davis, 177 B.R. 907, 910 (9th Cir. BAP
      1995) ("Although the bankruptcy court dismissed the complaint without prejudice, the
     order was a final one, because it terminated the instant action. The bankruptcy court
     contemplated that Debtor could bring the action before that court again only by filing a
     new adversary proceeding if the dismissal of the underlying chapter 13 case was set aside
     on appeal."); In re Cook, 342 B.R. 384, 2006 WL 908600, at *I (6th Cir. BAP 2006)
     (unpublished) (determining order dismissing the adversary proceeding without prejudice
     is a final order without comment).
              4
                United States v. Wallace & Tiernan Co. Amazon Inc., v. Dirt Camp, Inc., 273
     FJd 1271, 1275 (10th Cir. 2001); Moya v. Schollenbarger, 465 FJd 444 (10th Cir.
     2006). See also Petty v. Manpower, Inc., 591 F.2d 615 (10th Cir. 1979) (order dismissing
     without prejudice for lack of prosecution and holding lower court's clear intent to dismiss
     entire action was demonstrated by its cite to Fed. R. Civ. P 4l(b) involving dismissal of
     an action and statement that lack of prosecution was the reason for dismissal); Arrow v.
     Dow, 636 F.2d 287,289 (10th Cir. 1980) (order dismissing complaint without prejudice
     is final; "The district court showed by its actions that it intended to make a final
     disposition of the case. This is enough."); Lasky v. Lansford, 76 F. App'x 240 (10th Cir.
     2003) (unpublished) (order dismissing action without prejudice for failure to properly
     serve reviewed as final without comment); Shepard v. United States Dep 't of Veterans
     Affairs, 819 F. App'x 622 (10th Cir. 2020) (unpublished) (same).
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     dismiss the entire action. In the Order, the Bankruptcy Court cites Federal Rule of Civil

     Procedure 4(m). In addition, the Bankruptcy Court recites Appellant's failure to

     effectuate proper service as the reason for dismissal. It would thus appear that what the

     Bankruptcy Court intended was a dismissal, albeit without prejudice, of Appellant's

     adversary proceeding for failure to effectuate service.

            Accordingly, it is HEREBY ORDERED that:

                   (1)   The appeal shall proceed.

                   (2)   Appellant's Opening Brief and Appendix shall be due on or before

                         thirty days from the date of this Order.

                   (3)   The Show Cause Order is VA CATED.

                                                            For the Panel:


                                                            ~1,f}i[-·
                                                           Blaine F. Bates
                                                           Clerk of Court




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                                                              United States Bankruptcy Court
                                                                      District of Colorado
Drakewyck,
      Plaintiff                                                                                                        Adv. Proc. No. 22-01250-EEB
US Department Of Education,
          Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page I of!
Date Rcvd: Feb 21, 2023                                               Form JD: pdf904                                                            Total Noticed: 1

The following symbols are used throughoul this certificate:
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Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 23, 2023:

Recip ID                  Recipient Name and Address
pla                    + Kate Drakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).

NONE

                                                       BYPASSED RECIPIENTS
The following addresses were not sent tllis bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or## out of date forwarding orders with USPS.
NONE

                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 23, 2023                                            Signature:           /s/Gustava Winters




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Appellate Case: 23-1236 Doc#:26
   Case:22-01250-EEB       Document: 010110908642
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown

       In re:
                                                 Bankruptcy Case No. 22-10977 EEB
       KATE BUFFY DRAKEWYCK,
                                                 Chapter 7
       Debtor.


       KATE BUFFY DRAKEWYCK,                     Adversary Proceeding No. 22-01250
                                                 EEB
       Plaintiff,

       V.

       U.S. DEPARTMENT OF EDUCATION,

       Defendant.


        ORDER VACATING ORDER DENYING PLAINTIFF'S MOTION FOR LEAVE TO
                                 APPEAL


           THIS MATTER comes before the court sua sponte. On February 13, 2023, this
     Court entered an Order Denying Plaintiffs Motion For Leave to Appeal in error.
     Accordingly, it is

           ORDERED that the Order Denying Plaintiffs Motion For Leave to Appeal
     entered on February 13, 2023 at Docket #22, IS HEREBY VACATED.


            DATED this 21st day of February, 2023.
                                                     BY THE COURT:

                                                     ~~r.~
                                                     ElizatJeth E. Brown, Bankruptcy Judge




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   Case:22-01250-EEB
Appellate Case: 23-1236 Doc#:25  Filed:02/21/23
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                 UNITED STATES BANKRUPTCY APPELLATE PANEL
                                   OF THE TENTH CIRCUIT



    IN RE KATE BUFFY DRAKEWYCK,                                  BAP No. CO-23-004

                 Debtor.


                                                                 Bankr. No. 22-10977
                                                                  Adv. No. 22-01250
    KA TE BUFFY DRAKEWYCK,                                            Chapter 7

                  Plaintiff - Appellant.

                                                         ORDER ALLOWING APPEAL TO
                                                                 PROCEED




   Before SOMERS, PARKER, and THURMAN, Bankruptcy Judges.


          On January 30, 2023, Appellant filed a notice of appeal, appealing the Bankruptcy

   Court's Order Dismissing Case (the "Order"), which dismissed the Appellant's adversary

   proceeding without prejudice. Subsequently, this Court issued its Order to Show Cause

   Why Appeal Should Not Be Dismissed As Interlocutory ("Show Cause Order"). Appellant

   responded, arguing the Order is final.

          This Court has jurisdiction to hear appeals from final orders, final collateral

   orders, and, with leave of court, interlocutory orders. 1 An order is considered final if it



          1
           28 U.S.C. § 158; Personette v. Kennedy (In re Midgard Corp.), 204 B.R. 764,
   768 (10th Cir. BAP 1997).


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          BAP Appeal No. 23-4   Docket No. 11      Filed: 02/08/2023    Page: 2 of 3


   "ends the litigation on the merits and leaves nothing for the court to do but execute the

   judgment. " 2

          We determine the Order is a final as to whether the Bankruptcy Court correctly

   dismissed the adversary proceeding for failure to properly effectuate service in

   accordance with the Federal Rules of Bankruptcy Procedure. 3 The Tenth Circuit has held

   that, while generally a dismissal without prejudice is not a final order, where the

   dismissal finally disposes of the case so that it is not subject to further proceedings in

   federal court, the dismissal is final. 4 Here, the clear intent of the Bankruptcy Court was to



          2 Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 712 (1996) (quoting Catlin v.

   United States, 324 U.S. 229,233 (1945)).
           3 See United States v. Wallace & Tiernan Co., 336 U.S. 793, 794 n.1 (1949)

   ("That the dismissal was without prejudice to filing another suit does not make the cause
   unappealable, for denial of relief and dismissal of the case ended this suit so far as the
   district court was concerned."). See also In re Davis, 177 B.R. 907, 910 (9th Cir. BAP
   1995) ("Although the bankruptcy court dismissed the complaint without prejudice, the
   order was a final one, because it terminated the instant action. The bankruptcy court
   contemplated that Debtor could bring the action before that court again only by filing a
   new adversary proceeding if the dismissal of the underlying chapter 13 case was set aside
   on appeal."); In re Cook, 342 B.R. 384, 2006 WL 908600, at *1 (6th Cir. BAP 2006)
   (unpublished) (determining order dismissing the adversary proceeding without prejudice
   is a final order without comment).
           4 United States v. Wallace & Tiernan Co. Amazon Inc., v. Dirt Camp, Inc., 273

   F.3d 1271, 1275 (10th Cir. 2001); Moya v. Schollenbarger, 465 F.3d 444 (10th Cir.
   2006). See also Petty v. Manpower, Inc., 591 F.2d 615 (10th Cir. 1979) (order dismissing
   without prejudice for lack of prosecution and holding lower court's clear intent to dismiss
   entire action was demonstrated by its cite to Fed. R. Civ. P 4l(b) involving dismissal of
   an action and statement that lack of prosecution was the reason for dismissal); Arrow v.
   Dow, 636 F.2d 287,289 (10th Cir. 1980) (order dismissing complaint without prejudice
   is final; "The district court showed by its actions that it intended to make a final
   disposition of the case. This is enough."); Lasley v. Lansford, 76 F. App'x 240 (10th Cir.
   2003) (unpublished) (order dismissing action without prejudice for failure to properly
   serve reviewed as final without comment); Shepard v. United States Dep 't of Veterans
   Affairs, 819 F. App'x 622 (10th Cir. 2020) (unpublished) (same).
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   dismiss the entire action. In the Order, the Bankruptcy Court cites Federal Rule of Civil

   Procedure 4(m). In addition, the Bankruptcy Court recites Appellant's failure to

   effectuate proper service as the reason for dismissal. It would thus appear that what the

   Bankruptcy Court intended was a dismissal, albeit without prejudice, of Appellant's

   adversary proceeding for failure to effectuate service.

          Accordingly, it is HEREBY ORDERED that:

                 ( 1)   The appeal shall proceed.

                 (2)    Appellant's Opening Brief and Appendix shall be due on or before

                        thirty days from the date of this Order.

                 (3)    The Show Cause Order is VACATED.

                                                         For the Panel:


                                                          ~:J.M
                                                         Blaine F. Bates
                                                         Clerk of Court




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   Case:22-01250-EEB Doc#:24 Filed:02/21/23 Entered:02/21/23 14:36:00 Pagel of 1
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Elizabeth E. Brown

     In re:
                                              Bankruptcy Case No. 22-10977 EEB
     KATE BUFFY DRAKEWYCK,
                                              Chapter 7
     Debtor.


    KATE BUFFY DRAKEWYCK,                     Adversary Proceeding No. 22-01250
                                              EEB
    Plaintiff,

    V.

    U.S. DEPARTMENT OF EDUCATION,

    Defendant.



     ORDER VACATING ORDER DENYING PLAINTIFF'S MOTION FOR LEAVE TO
                              APPEAL



        THIS MATTER comes before the court sua sponte. On February 13, 2023, this
  Court entered an Order Denying Plaintiff's Motion For Leave to Appeal in error.
  Accordingly, it is

        ORDERED that the Order Denying Plaintiff's Motion For Leave to Appeal
  entered on February 13, 2023 at Docket #22, IS HEREBY VACATED.


         DATED this 21st day of February, 2023.
                                                  BY THE COURT:

                                                  ~~f.~
                                                  Elizath E. Brown, Bankruptcy Judge




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 129
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                                                                      District of Colorado
Drakewyck,
         Plaintiff                                                                                                     Adv. Proc. No. 22-01250-EEB
US Department Of Education,
         Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: ad.min                                                                 Page 1 of 1
Date Rcvd: Feb 13, 2023                                               Form ID: pdf904                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol           Definition
+                Addresses marked'+' were corrected by inserting the ZIP, adding the last four digits to complete the 1,ip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.



Notice by first class mail was sent to the following persons/entities by the Hankruptcy Noticing Center on Feb 15, 2023:
Rcclp ID                  Recipient Name and Address
pla                    + Kate Drakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL: I

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE

                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE

                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pm·suant to Fed ,R. Bank. P.2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the dehtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 15, 2023                                            Signature:          /s/Gustava Winters




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                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown
       In re:
                                                Bankruptcy Case No. 22-10977 EEB
       KATE BUFFY DRAKEWYCK,
                                                Chapter 7
       Debtor.


        KATE BUFFY DRAKEWYCK,                         Adversary Proceeding No. 22-01250
                                                      EEB
        Plaintiff,

       V.

        U.S. DEPARTMENT OF EDUCATION,

       Defendant.

                ORDER DENYING PLAINTIFF'S MOTION FOR LEAVE TO APPEAL

            THIS MATTER comes before the Court on the Motion for Leave to Appeal
     ("Motion") filed by Plaintiff Kate Buffy Drakewyck ("Plaintiff''). Plaintiff has appealed from
     the Order of this Court dismissing the above-captioned adversary proceeding without
     prejudice for Plaintiff's failure to properly serve the Defendant. Plaintiff now seeks leave
     of the Court to pursue an appeal of the Order.

              Only final decisions of a court are appealable. Forney v. Apfel, 524 U.S. 266,
     269 (1998). Generally, a dismissal of a complaint without prejudice is neither final nor
     appealable because the deficiency may be corrected by the plaintiff without affecting the
     cause of action. Pascack Valley Hosp. v. Local 464A UFCW Welfare Reimbursement
     Plan, 388 F.3d 393,398 (3d. Cir. 2004). However, the order is appealable where the
     "plaintiff has been effectively excluded from federal court under the present
     circumstances." Facteau v. Sullivan, 843 F.2d 1318, 1319 (10th Cir. 1988); Korgich v.
     Regents of New Mexico Sch. Of Mines, 582 F.2d 549, 550 (10 1h Cir. 1978) (dismissal
     without prejudice based on Eleventh Amendment was "death knell" of litigation in
     federal court and therefore final and appealable.). Here, the dismissal of Plaintiff's
     complaint without prejudice does not bar Plaintiff from federal court. Rather, she is
     welcome to remedy the deficiency. Therefore, the Order is not final nor appealable,
     rather it is interlocutory.

             Appeals from interlocutory orders may only be pursued with leave of the Court.
     Personette v. Kennedy (In re Midgard Corp.), 204 B.R. 764, 768 (10th Cir. BAP 1997);
     28 U.S.C. § 158(a)(3); Fed. R. Bankr. P. 8004(a). Generally, "[l]eave to hear appeals
     from interlocutory orders should be granted with discrimination and reserved for cases
     of exceptional circumstances." Id. at 769. Here, the Court will not grant Plaintiff leave
     in that the dismissal resulted from her failure to follow proper procedure despite the
     Court's warnings. Furthermore, there is no merit in Plaintiff's appeal, it contains no
     novel issues of law, and it reflects no "exceptional circumstances." Accordingly, the
     Court hereby,



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           ORDERS that Plaintiff's Motion is DENIED.

            Dated: this 13th day of February, 2023.


                                                      BY THE COURT:



                                                      Elizabeth E. Brown, Bankruptcy Judge




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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Elizabeth E. Brown
     In re:
                                               Bankruptcy Case No. 22-10977 EEB
     KATE BUFFY DRAKEWYCK,
                                               Chapter 7
     Debtor.


     KATE BUFFY DRAKEWYCK,                         Adversary Proceeding No. 22-01250
                                                   EEB
     Plaintiff,

     V.

     U.S. DEPARTMENT OF EDUCATION,

     Defendant.

             ORDER DENYING PLAINTIFF'S MOTION FOR LEAVE TO APPEAL

          THIS MATTER comes before the Court on the Motion for Leave to Appeal
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   the Order of this Court dismissing the above-captioned adversary proceeding without
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   Court hereby,
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          ORDERS that Plaintiff's Motion is DENIED.

          Dated: this 13th day of February, 2023.


                                                    BY THE COURT:



                                                    Elizabeth E. Brown, Bankruptcy Judge




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          KATE BUFFY DRAKEWYCK.




         Plaintiff,


         u.s.·.or;PARme111,w·~rlut:iA'r-f~N;' lit.. > \:•: ,\,I1ifi~
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United States Bankruptcy Court - District of Colorado
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           - Pay.gov Payment               Document:
                             Confirmation: USBC Colorado010110908642
                                                         Payments          Date Filed: 08/25/2023 Page: 141
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         Pay.gov Payment Confirmation: USBC Colorado Payments

         From: notification@pay.gov (notification@pay.gov)

         To:    bdrakewyck@yahoo.com

         Date: Saturday, January 28, 2023 at 11 :54 AM MST




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                 Your payment has been submitted to Pay.gov and the details are below. If you have any
                 questions regarding this payment, please contact United States Bankruptcy Court, District of
                 Colorado, Finance Department at 720-904-7441 or Cob_Finance@cob.uscourts.gov.

                    Application Name: USBC Colorado Payments
                    Pay.gov Tracking ID: 273K87A0
                    Agency Tracking ID: 76357598108
                    PayPal Transaction ID: 2JJ07724KU6278834
                    Transaction Type: Sale
                    Transaction Amount: $298.00
                    Transaction Date: 01/28/2023 01:54:29 PM EST
                    Payment Method: PayPal

                    Case Number: 22-01250
                    Case Name: Kate Drakewyck
                    Document Number:
                    Requestor Name/Address: Kate B Drakewyck, 6798 West Portland Avenue, Littleton, CO
                    80128
                    Requestor Email/Phone: bdrakewyck@yahoo.com - (720) 232-7287
                    Payor Name/Address: Kate B Drakewyck, 6798 West Portland Avenue, Littleton, CO 80128
                    Payor Email/Phone: bdrakewyck@yahoo.com - (720) 232-7287
                    Delivery Options:
                    Quantities: Certification - 0, Copies - o, Recordings - 0
                    Selected Options: Appeal
                    Reopenings: Reopen Chapter 7 Case - $0.00, Reopen Chapter 13 Case - $0.00
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         23-4 Kate Drakewyck "Bankruptcy Appeal Filed (BAP)" (22-10977, Lead: 22-01250)

         From: ca1 0_bap_cmecf_notify@ca 1O.uscourts.gov

         To:    bdrakewyck@yahoo.com

         Date: Monday, January 30, 2023 at 11 :37 AM MST




         *'*NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of
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                                       U.S. Bankruptcy Appellate Panel of the Tenth Circuit

         Notice of Docket Activity

         The following transaction was entered on 01/30/2023 at 11 :37:05 AM Mountain Standard Time and filed on
         01/30/2023
          Case Name:          Kate Drakewyck
         Case Number: 23-4
          Document(s):        Document(s)


         Docket Text:
         APPEAL: Bankruptcy appeal filed. BAP case number: CO-23-04. Appeal filed in the Bankruptcy Court on
         01/28/2023. Notification of appeal transmitted from the Bankruptcy Court by NEF. Record received from the
         Bankruptcy Court docket 01/30/2023. [91980]

         Notice will be electronically mailed to:

         BK - CO: cobml_appeals@cob.uscourts.gov
         Kate Buffy Drakewyck: bdrakewyck@yahoo.com


         The following document(s) are associated with this transaction:
         Document Description: Bankruptcy Appeal Filed (BAP)
         Original Filename: Drakewyck - NOA. pdf
         Electronic Document Stamp:
         [STAMP acecfStamp_lD=1104938855 [Date=01/30/2023] [FileNumber=91980-0]
         [777a694b83e2cad8313632543ee25a0ce463a43a568897ce809bf6ee49c04ef31ba418a2fc466d392dc3e7615da656
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         Document Description: Order Appealed Dk!. 13
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         [STAMP acecfStamp_lD=1104938855 [Date=01/30/2023] [FileNumber=91980-1]
         [96ea922aabfb6afbd9ae23a9bf52d2a1b764aeb4820dd9a11722c77b998575254feac89c3d49ee239cb206c529738da
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         Document Description: Adv. Pro. Dk!.
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         [STAMP acecfStamp_lD=1104938855 [Date=01/30/2023] [FileNumber=91980-2]
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United States Bankruptcy Court - District of Colorado
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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/28/2023 12:43:35 PM




User Information

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6798 West Portland Avenue
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bdrakewyck@yahoo.com
720-232-7287




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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/22/2023 1:43:46 PM




User Information

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bdrakewyck@yahoo.com
720-232-7287




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Drakewyck,
        Plaintiff                                                                                                     Adv. Proc. No. 22-01250-EEB
US Department Of Education,
        Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                Page 1 of 1
Date Rcvd: Jan 18, 2023                                               Form ID: pdf904                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked'+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities hy the Bankruptcy Noticing Center on Jan 20, 2023:
Recip ID                  Recipient Name and Addmss
pla                    + Kate Drakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI),
NONE

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or## out of date forwarding orders with USPS.
NONE

                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed ,R. Bank, P,2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed, This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 20, 2023                                            Signature:          /s/Gustava Winters




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Elizabeth E. Brown
      In re:
                                                   Bankruptcy Case No. 22-10977 EEB
      KATE BUFFY DRAKEWYCK,
                                                   Chapter 7
      Debtor.


      KATE BUFFY DRAKEWYCK,                        Adversary Proceeding No. 22-01250
                                                   EEB
      Plaintiff,

      V.

      U.S. DEPARTMENT OF EDUCATION,

      Defendant.


                                  ORDER DISMISSING CASE


            THIS MATTER comes before the Court sua sponte. This Court issued an Order
    to File requiring Plaintiff Kate Buffy Drakewyck ("Plaintiff'') to file a motion for alias
    summons and serve such alias summons properly on the Defendant United States
    Department of Education ("Defendant") by December 28, 2022, failing which the above-
    captioned adversary proceeding may be dismissed. To date, Plaintiff has not requested,
    nor received, an alias summons to effectuate proper service. Accordingly, for Plaintiff's
    failure to comply with the Court's prior Order to File, dismissal is warranted.

           Furthermore, as of the date of this Order, more than 90 days have elapsed since
    the commencement of the above-captioned adversary proceeding. There still is no
    proof of proper service upon the Defendant, and, therefore, dismissal is warranted
    pursuant to Fed. R. Civ. P. 4(m), as made applicable to these proceedings by Fed. R.
    Bankr. R. 7004. For these reasons, it is

           ORDERED that this adversary case is hereby dismissed without prejudice.

           FURTHER ORDERED that the Clerk of the Court shall give notice of this
    dismissal to the Plaintiffs, Debtors, and Chapter 7 Trustee in the underlying case and
    shall CLOSE THIS ADVERSARY CASE.

           DATED: this 18th day of January, 2023.




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                                             BY THE COURT:

                                             ~Mr.~
                                             Elizabeth E. Brown, Bankruptcy Judge




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Drakewyck,
      Plaintiff                                                                                                       Adv. Proc. No. 22-01250-EEB
US Department Of Education,
         Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jan 18, 2023                                               Form ID: pdf904                                                            Total Noticed: 1
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Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 20, 2023:
Recip ID                  Recipient Name and Address
pla                    + KateDrakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL, l

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
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NONE


                                                     NOTICE CERTIFICATION
I, Gustavo Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank, P,2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 20, 2023                                            Signature:          /s/Gustava Winters




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                             FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown
       In re:
                                                Bankruptcy Case No. 22-10977 EEB
       KATE BUFFY DRAKEWYCK,
                                               Chapter 7
       Debtor.


      KATE BUFFY DRAKEWYCK,                         Adversary Proceeding No. 22-01250
                                                    EEB
      Plaintiff,

      V.

      U.S. DEPARTMENT OF EDUCATION,

      Defendant.

      ORDER DENYING PLAINTIFF'S SECOND MOTION TO RULE IN FAVOR OF THE
                                  DEBTOR

           THIS MATTER comes before the Court on the Second Motion to Rule in Favor of
    the Debtor: Dismissal of Student Loan Balance ("Motion"), filed by Plaintiff Kate Buffy
    Drakewyck ("Plaintiff') on January 16, 2023, which the Court will construe as a Motion
    for Default Judgment.

             Before the Court can enter a Clerk's Entry of Default, Plaintiff must provide proof
    of proper service of the summons and complaint demonstrating that service has been
    made in full compliance with Fed. R. Bankr. P. 7004 or Fed. R. Civ. P. 4. Here, Plaintiff
    failed to properly serve Defendant United States Department of Education
    ("Defendant"), in the manner contemplated by Fed. R. Bankr. P. 7004(b)(4), (5).
    Accordingly, the Court denied Plaintiff's first motion for default judgment. Plaintiff then
    filed two certificates of service reflecting her mailing of the complaint and the original
    summons to two other entities in an apparent attempt to satisfy Fed. R. Bankr. P.
    7004(b)(4), (5). However, the original summons was not served within seven days after
    its issuance, such that it became "stale" and incapable of effectuating service. Fed. R.
    Bankr. P. 7004(e); Menges v. Menges (In re Menges), 337 B.R. 191, 193-94 (Bankr.
    N.D. Ill. 2006) ("Service of a stale summons is no service at all."). As such, the Court
    entered its Order to File directing Plaintiff to request a new summons and properly serve
    it along with a copy of the complaint upon the Defendant. Plaintiff failed to do so, and
    she instead filed the immediate Motion. However, at this time, there still is no proof of
    proper service of process upon the Defendant, and, to the contrary, the docket reveals
    that Plaintiff has failed to properly serve Defendant with process as required by the
    Federal Rules of Bankruptcy Procedure. Under these circumstances, a Clerk's Entry of
    Default cannot enter. Accordingly, it is hereby,

           ORDERED Plaintiff's Motion is DENIED.

           Dated: this 18th day of January, 2023.



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Appellate Case: 23-1236 Doc#:14
  Case:22-01250-EEB       Document: 010110908642
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                                             BY THE COURT:

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                                             Elizabeth E. Brown, Bankruptcy Judge




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         22-01250-EEB D,isposition of Adversary

         From: cmecf-reply@cob.uscourts.gov

         To:    courtmail@cob.uscourts.gov

         Date: Wednesday, January 18, 2023 at 10:03 AM MST




         This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this
         email because the mail box is unattended.
         ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of
         record and parties in a case (including prose litigants) to receive one free electronic copy of all documents
         filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all other
         users. To avoid later charges, download a copy of each document during this first viewing. However, if the
         referenced document is a transcript, the free copy and 30-page limit do not apply.

                                                       U.S. Bankruptcy Court

                                                         District of Colorado

         Notice of Electronic Filing

         The following transaction was received from mmg entered on 1/18/2023 at 10:02 AM MST and filed on 1/18/2023
         Case Name:        Drakewyck v. US Department Of Education
         Case Number:      22-01250-EEB
         Document Number:
         Case Name:        Kate Buffy Drakewyck
         Case Number:      22-10977-EEB
         Docum·ent Number:

         Docket Text:
         Disposition of Adversary Proceeding Number 22-01250-EEB. Final Order o,· Judgment Has Entered. Tickle Due Date
         2/1/2023. (mmg)

         The following document(s) are associated with this transaction:


         22-01250-EEB Notice will be electronically mailed to:



         22-01250-EEB Notice will not be electronically mailed to:

         Kate Drakewyck
         PO Box 140114
         Lakewood, CO 80214

         US Department Of Education




         22-10977-EEB Notice will be electronically mailed to:

         Jonathan Dickey on behalf of Trustee David V Wadsworth, Trustee



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                                                                                                                      3/12/2023, 1:39 PM
Yahoo Mail - 22-01250-EEB Disposition of Adversary                   https://mail.yahoo.com/d/folders/32/messages/ANirRQQu2_yZY8 ...
         Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 172
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         jmd@kutnerlaw.com, vlm@kutnerlaw.com

         Kate Buffy Drakewyck
         bdrakewyck@yahoo.com

         Daniel Glasser on behalf of Creditor Linda Chalupsky
         DGlasser@chipmanglasser.com,
         eseid@chipmanglasser.com;Vroman@chipmanglasser.com;Mthomerson@chipmanglasser.com;Cberrier@chipmang
         lasser.com

         Jennifer M. Osgood on behalf of Creditor Linda Chalupsky
         josgood@chipmanglasser.com, Mthomerson@chipmanglasser.com

         US Trustee
         USTPRegion 19.DV. ECF@usdoj.gov

         David V. Wadsworth, Trustee
         dwadsworth@wgwc-law.com, C030@ecfcbis.com

         22-10977-EEB Notice will not be electronically mailed to:

         Kaplan & Associates, P.C.
         Attn: Damon Kaplan
         5500 Greenwood Plaza Blvd.
         Suite 100
         Greenwood Village, CO 80111

         Larry Simpson




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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Elizabeth E. Brown
    In re:
                                                Bankruptcy Case No. 22-10977 EEB
    KATE BUFFY DRAKEWYCK,
                                                Chapter 7
    Debtor.


    KATE BUFFY DRAKEWYCK,                       Adversary Proceeding No. 22-01250
                                                EEB
    Plaintiff,

    V.

    U.S. DEPARTMENT OF EDUCATION,

    Defendant.



                                ORDER DISMISSING CASE



          THIS MATTER comes before the Court sua sponte. This Court issued an Order
  to File requiring Plaintiff Kate Buffy Drakewyck ("Plaintiff') to file a motion for alias
  summons and serve such alias summons properly on the Defendant United States
  Department of Education ("Defendant") by December 28, 2022, failing which the above-
  captioned adversary proceeding may be dismissed. To dale, Plaintiff has not requested,
  nor received, an alias summons to effectuate proper service. Accordingly, for Plaintiffs
  failure to comply with the Court's prior Order to File, dismissal is warranted.

         Furthermore, as of the date of this Order, more than 90 days have elapsed since
  the commencement of the above-captioned adversary proceeding. There still is no
  proof of proper service upon the Defendant, and, therefore, dismissal is warranted
  pursuant to Fed. R. Civ. P. 4(m), as made applicable to these proceedings by Fed. R.
  Bankr. R. 7004. For these reasons, ii is

         ORDERED that this adversary case is hereby dismissed without prejudice.

         FURTHER ORDERED that the Clerk of the Court shall give notice of this
  dismissal to the Plaintiffs, Debtors, and Chapter 7 Trustee in the underlying case and
  shall CLOSE THIS ADVERSARY CASE.

         DATED: this 18th day of January, 2023.




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  Case:22-01250-EEB Doc#:13 Filed:01/18/23 Entered:01/18/23 10:01:31 Page2 of 2
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 174
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                                           BY THE COURT:


                                           Ettzabeth E. Brown, Bankruptcy Judge




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  Case:22-01250-EEB Doc#:12 Filed:01/18/23 Entered:01/18/23 09:59:34 Pagel of 2
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 175
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                           FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Elizabeth E. Brown1
    In re:
                                              Bankruptcy Case No. 22-10977 EEB
    KATE BUFFY DRAKEWYCK,
                                             Chapter 7
    Debtor.


    KATE BUFFY DRAKEWYCK,                         Adversary Proceeding No. 22-01250
                                                  EEB
    Plaintiff,

    V.

    U.S. DEPARTMENT OF EDUCATION,

    Defendant.

    ORDER DENYING PLAINTIFF'S SECOND MOTION TO RULE IN FAVOR OF THE
                                DEBTOR

         THIS MATTER comes before the Court on the Second Motion to Rule in Favor of
  the Debtor: Dismissal of Student Loan Balance ("Motion"), filed by Plaintiff Kate Buffy
  Drakewyck ("Plaintiff') on January 16, 2023, which the Court will construe as a Motion
  for Default Judgment.

          Before the Court can enter a Clerk's Entry of Default, Plaintiff must provide proof
  of proper service of the summons and complaint demonstrating that service has been
  made in full compliance with Fed. R. Bankr. P. 7004 or Fed. R. Civ. P. 4. Here, Plaintiff
  failed to properly serve Defendant United States Department of Education
  ("Defendant"), in the manner contemplated by Fed. R. Bankr. P. 7004(b)(4), (5).
  Accordingly, the Court denied Plaintiff's first motion for default judgment. Plaintiff then
  filed two certificates of service reflecting her mailing of the complaint and the original
  summons to two other entities in an apparent attempt to satisfy Fed. R. Bankr. P.
  7004(b)(4), (5). However, the original summons was not served within seven days after
  its issuance, such that it became "stale" and incapable of effectuating service. Fed. R.
  Bankr. P. 7004(e); Menges v. Menges (In re Menges), 337 B.R. 191, 193-94 (Bankr.
  N.D. Ill. 2006) ("Service of a stale summons is no service at all."). As such, the Court
  entered its Order to File directing Plaintiff to request a new summons and properly serve
  it along with a copy of the complaint upon the Defendant. Plaintiff failed to do so, and
  she instead filed the immediate Motion. However, at this time, there still is no proof of
  proper service of process upon the Defendant, and, to the contrary, the docket reveals
  that Plaintiff has failed to properly serve Defendant with process as required by the
  Federal Rules of Bankruptcy Procedure. Under these circumstances, a Clerk's Entry of
  Default cannot enter. Accordingly, it is hereby,

         ORDERED Plaintiff's Motion is DENIED.

         Dated: this 18th day of January, 2023.

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  Case:22-01250-EEB
Appellate Case: 23-1236 Doc#:12 Filed:01/18/23
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                                                 BY THE COURT:



                                                 Elizabeth E. Brown, Bankruptcy Judge




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 177
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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/16/2023 I 0:32: 18 AM




User Information

Kate Drakewyck
6798 West Portland Avenue
Littleton
co
80128

bdrakewyck@yahoo.com
720-232-7287




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 180
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                                                                     District of Colorado
Drakewyck,
         Plaintiff                                                                                                    Adv. Proc. No. 22-01250-EEB
US Department Of Education,
         Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 14, 2022                                               Form ID: pdf904                                                           Total Noticed: 1

The following symbols are used throughout this certificate:
Symbol           Definition
+                Addresses marked'+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.



Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 16, 2022:
Reci1,ID                 Recipient Name and Address
pla                    + KateDrakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL: I

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or## out of date forwarding orders with USPS.
NONE

                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shownt and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief,

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed ,R. Bank, P.2002(a)(l), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 16, 2022                                            Signature:           /s/Gustava Winters




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  Case:22-01250-EEB Doc#:10 Filed:12/16/22 Entered:12/16/22 22:42:34 Page2 of 2
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                               FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Elizabeth E. Brown
     In re:
                                                   Bankruptcy Case No. 22-10977 EEB
     KATE BUFFY DRAKEWYCK,
                                                   Chapter 7
     Debtor.


     KATE BUFFY DRAKEWYCK,                         Adversary Proceeding No. 22-01250 EEB

     Plaintiff,

     V.

     U.S. DEPARTMENT OF EDUCATION,

     Defendant.

                                         ORDER TO FILE

             THIS MATTER comes before the Court on the Certificates of Service filed by the
    Debtor on December 12, 2022. The Court entered an Order Denying Motion to Rule in
    Favor of the Debtor on November 29, 2022 at Docket No. 5. The Court Ordered Debtor
    to file a motion for alias summons and to properly serve the alias summons on
    Defendant. The Debtor provided two Certificates of Service with photographs of the first
    page of an adversary proceeding cover sheet and a Certificate of Service indicating that
    Debtor served a summons and complaint upon the Office of the Attorney General in
    Washington D.C. and the District Attorney in Washington D.C. The Court being advised
    in the premises, hereby

           FINDS that Plaintiff was ordered to file a motion requesting an alias summons
    and to serve the alias summons and the complaint on the Parties required pursuant to
    Fed.R.Bankr.P. 7004(b)(4) and (5). It appears Plaintiff did not serve the parties with an
    alias summons and a copy of the complaint. Accordingly,

            IT IS ORDERED that on or before December 28, 2022, Plaintiff shall file a
    motion for alias summons and serve the Defendant with the alias summons along with a
    copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5) or Fed. R,
    failing which this adversary proceeding may be dismissed.

              Dated: this 14th day of December, 2022.
                                                        BY THE COURT:



                                                        Elizabeth E. Brown, Bankruptcy Judge




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   Case:22-01250-EEB Doc#:9 Filed:12/14/22 Entered:12/14/22 16:16:20 Pagel of 1
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 182
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                           FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Elizabeth E. Brown
    In re:
                                             Bankruptcy Case No. 22-10977 EEB
    KATE BUFFY DRAKEWYCK,
                                             Chapter 7
    Debtor.


   KATE BUFFY DRAKEWYCK,                        Adversary Proceeding No. 22-01250 EEB

   Plaintiff,

   V.

   U.S. DEPARTMENT OF EDUCATION,

   Defendant.

                                      ORDER TO FILE

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         FINDS that Plaintiff was ordered to file a motion requesting an alias summons
  and to serve the alias summons and the complaint on the Parties required pursuant to
  Fed.R.Bankr.P. 7004(b)(4) and (5). It appears Plaintiff did not serve the parties with an
  alias summons and a copy of the complaint. Accordingly,

          IT IS ORDERED that on or before December 28, 2022, Plaintiff shall file a
  motion for alias summons and serve the Defendant with the alias summons along with a
  copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5) or Fed. R,
  failing which this adversary proceeding may be dismissed.

          Dated: this 14th day of December, 2022.
                                                    BY THE COURT:



                                                    Eliza'beth E. Brown, Bankruptcy Judge




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 183
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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 12/10/2022 10:57:04 AM




User Information

Kate Drakewyck
6798 West Portland Avenue
Littleton
co
80128

bdrakewyck@yahoo.com
720-232-7287




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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 185
    BAP
      BAPAppeal
           AppealNo.
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           Case:22-01250-EEB Doc#:7 Filed:12/12/22 Entered:12/12/22 08:40:14 Page2 of 2
        Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 186
            BAP
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   Case:22-01250-EEB Doc#:6 Filed:12/01/22 Entered:12/01/22 22:17:26 Page2 of 3
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 187
    BAP
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown
      In re:
                                                   Bankruptcy Case No. 22-10977 EEB
      KATE BUFFY DRAKEWYCK,
                                                   Chapter 7
      Debtor.


      KATE BUFFY DRAKEWYCK,                        Adversary Proceeding No. 22-01250
                                                   EEB
      Plaintiff,

      V.

      U.S. DEPARTMENT OF EDUCATION,

      Defendant.


               ORDER DENYING MOTION TO RULE IN FAVOR OF THE DEBTOR

           THIS MATTER comes before the Court on the Motion to Rule in Favor of the
    Debtor: Dismissal of Student Loan Balance (the "Motion"), filed by Plaintiff Kate Buffy
    Drakewyck ("Plaintiff') on November 28, 2022, which the Court will construe as a Motion
    for a Clerk's Entry of Default. The Court being advised in the premises, hereby

             FINDS that Plaintiff failed to properly serve the United States Department of
    Education ("Defendant") in the manner required by Fed. R. Bankr. P. 7004(b)(4) and (5).
    In an action against an agency of the United States, Bankruptcy Rule 7004(b )(5)
    requires the plaintiff to serve the summons and complaint not only upon said agency but
    also the United States in the manner prescribed by Bankruptcy Rule 7004(b)(4). To
    effectuate service upon the United States, Bankruptcy Rule 7004(b)(4) dictates that the
    plaintiff must "... mail a copy of the summons and complaint addressed to the civil
    process clerk at the office of the United States attorney for the district in which the
    action is brought and by mailing a copy of the summons and complaint to the Attorney
    General of the United States at Washington, District of Columbia .... " In review of the
    Plaintiff's Affidavit of Service (Doc. 3), Plaintiff failed to serve the summons and
    complaint upon the other entities enumerated within Bankruptcy Rule 7004(b)(4).
    Therefore, service has not been properly effectuated upon the Defendant in the above-
    captioned adversary proceeding.

           Before the Court can enter a Clerk's Entry of Default, Plaintiff must provide proof
    of proper service of the summons and complaint demonstrating that service has been
    made in full compliance with Fed. R. Bankr. P. 7004 or Fed. R. Civ. P. 4. Accordingly,




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           IT IS ORDERED that Plaintiff's Motion is DENIED.

           Nonetheless, the Court will provide Plaintiff another opportunity to properly
    effectuate service. Therefore,

            IT IS FURTHER ORDERED that on or before December 13, 2022, Plaintiff shall
    file a motion for alias summons and serve the Defendant with the alias summons along
    with a copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5), failing
    which this adversary proceeding may be dismissed.

          Dated: this 29th day of November, 2022.

                                                     BY THE COURT:



                                                     Elizabeth E. Brown, Bankruptcy Judge




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          Case:22-01250-EEB Doc#:6 Filed:12/01/22                                        Entered:12/01/22 22:17:26 Pagel of 3
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                                                                     District of Colorado
Drakewyck,
        Plaintiff                                                                                                     Adv. Proc. No. 22-01250-EEB
US Department Of Education,
        Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Nov 29, 2022                                               Form ID: pdf904                                                           Total Noticed: 1

The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked'+' were corrected by lnse,ting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.



Notice by first class mail was sent to the following persons/entities hy the Bankruptcy Noticing Center on Dec 01, 2022:
ReciplD                  Recipient Name and Address
pla                    + Kate Drakewyck, PO Box 140114, Lakewood, CO 80214-0114

TOTAL, I

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center,
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or## out of date forwarding orders with USPS.
NONE

                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief,

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(l), a notice containing the
complete Social Security Nnmber (SSN) of the debtor(s) was furnished to all parties listed, This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 01, 2022                                            Signature:           /s/Gustava Winters




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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Elizabeth E. Brown
     In re:
                                                  Bankruptcy Case No. 22-10977 EEB
     KATE BUFFY DRAKEWYCK,
                                                  Chapter 7
     Debtor.


     KATE BUFFY DRAKEWYCK,                        Adversary Proceeding No. 22-01250
                                                  EEB
     Plaintiff,

     V.

     U.S. DEPARTMENT OF EDUCATION,

     Defendant.


              ORDER DENYING MOTION TO RULE IN FAVOR OF THE DEBTOR

          THIS MATTER comes before the Court on the Motion to Rule in Favor of the
   Debtor: Dismissal of Student Loan Balance (the "Motion"), filed by Plaintiff Kate Buffy
   Drakewyck ("Plaintiff') on November 28, 2022, which the Court will construe as a Motion
   for a Clerk's Entry of Default. The Court being advised in the premises, hereby

           FINDS that Plaintiff failed to properly serve the United States Department of
   Education ("Defendant") in the manner required by Fed. R. Bankr. P. 7004(b)(4) and (5).
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   requires the plaintiff to serve the summons and complaint not only upon said agency but
   also the United States in the manner prescribed by Bankruptcy Rule 7004(b)(4). To
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   plaintiff must" ... mail a copy of the summons and complaint addressed to the civil
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   action is brought and by mailing a copy of the summons and complaint to the Attorney
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   complaint upon the other entities enumerated within Bankruptcy Rule 7004(b)(4).
   Therefore, service has not been properly effectuated upon the Defendant in the above-
   captioned adversary proceeding.

          Before the Court can enter a Clerk's Entry of Default, Plaintiff must provide proof
   of proper service of the summons and complaint demonstrating that service has been
   made in full compliance with Fed. R. Bankr. P. 7004 or Fed. R. Civ. P. 4. Accordingly,



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   Case:22-01250-EEB
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          IT IS ORDERED that Plaintiff's Motion is DENIED.

          Nonetheless, the Court will provide Plaintiff another opportunity to properly
   effectuate service. Therefore,

           IT IS FURTHER ORDERED that on or before December 13, 2022, Plaintiff shall
   file a motion for alias summons and serve the Defendant with the alias summons along
   with a copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5), failing
   which this adversary proceeding may be dismissed.

         Dated: this 29th day of November, 2022.

                                                    BY THE COURT:



                                                    Elizabeth E. Brown, Bankruptcy Judge




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          Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 192
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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: I 1/28/2022 5:15:22 AM




User Information

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 Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 195
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Kate Drakewyck


                                           Plaintiff
                                                                                Case No.: 22-10977-EEB
                                                                  vs.
US Department of Education


                                           Defendant
                                                 AFFIDAVIT OF SERVICE

I, Arnbiko Wallace, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons in an Adversary Proceeding, Notice to Litigants, Adversary
Proceeding Cover Sheet, and Complaint in an Adversary Proceeding in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 10/24/2022 at I :47 PM, l served US Department ofEducation at 400 Maryland Avenue, SW, Washington, DC 20202 with
the Summons in an Adversary Proceeding, Notice to Litigants, Adversary Proceeding Cover Sheet, and Complaint in an Adversary
Proceeding by serving Roland Stallings, Clerk, authorized to accept service.

Roland Stallings is described herein as:

Gender: Male Race/Skin: Black Age: 65 Weight: 215 Height: 5'10"                 Hair: Black/Gray Glasses: Yes



l declare under penalty of perjury that this information is true and correct.




 Executed On                                                                           Ambiko Wallace
                                                                                                                Client Ref Number:N/A
                                                                                                                    Job #: 1609753




               Capitol Process Services, Inc, I 182718th Street, NW, Washington, DC 20009 I(202) 667-0050



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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 10/29/2022 8:35:54AM




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           Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 198
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                 B2SOOA (Form 2500A)(l2/!S)            _
                 Notice to Litigants per GPO 2009-3 (1994•3)

                                                  United States Bankruptcy Court
                                                               District of Colorado

                 In re    Y<-··w✓,. v,1, ,, e:k- .                                 )    Case No.
                                 Debtor                                            )                     7
                                                                                   )   · Chapter _ _:__ _ __
                                                                                   )
                                                                                   )
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                                                                                   )                         22-01250 EEB
                                 v.                                                )    Adv. Proc. No.
                                                                                   )
                   lb M-J211&.wio0.f: £.Gfucdtt?"                                  )
                                Defendant           . ··.                     ·   .)

                                         SUMMONS IN AN ADVERSARYPROCEEDING

                YOU  ARE   SUm1O1'IBiland requited to file a motion or answer to the complairitwhich is attached to
               this summons    .with
                                   the clerk of the bankruptcy court within 30 days after the date of issuance of thi~
               summons, except that the United States and its offices and agencies shall file a motion or answer to the
             . con1plaint within 35 days.

                               Addresscifth¢clerk: Clerk,U.S. Bankruptcy Court
                                 ·                 U.S. Custom House
                                                            72119th Street
                                                            Denver, CO 80202

             At thi:l sametime,you 11111st ii.lso'~l'Ve a copy of the motion or answer upon the plaintiff's attorney;
                              N3!11ea»<Jk\opteysofPlainµff'sAttorney:                  Yv-o Se. · .· . • . .·
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    B2500A (Fonn 2500A) (12/15)
  . Notice to Litigants per GPO 2009-3 (1994-3)

                                           CERTIFICATE OF SERVICE

          · l"--------C.--~--•(1iame), certify that service of this summons and a copy of
    the complaint was made         ·    (date) by:
              □      Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
                     to:


            □       Perso11al Service: By leaving the process with the defendant or with an officer or agent
                    of defendant at:



           □       Residence Service: By leaving the process with the following adult at:



          0        Certified f\.1ailService on an Insured Depository Institution: By sending the process by
                   c~rtifiedmail addressed to the f91lowing officer of the defendant at:



          □       Publication: Thee.defendant was served as follows: [Describe briefly]



                                                    ~rved pursuant to the laws of the State of._ _-'--' as




                                                                                 pursuant to state law,
                                                                           not less than 18 years of age ari<l




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    Case:22-01250-EEB
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     B2500A(Fonn 2500A) (12/15)
     Notice to Litigants per GPO 2009-3 ( 1994-3)


                A copy of this Notice to Litigants and the attached income information should be
                    served along with the Summons and Complaint. GPO 2009-3 (1994-3).


                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF COLORADO

                                                                     NOTICE TO LITIGANTS
          You have been named as a defendant in an adversary proceeding, tlw
    outcome of which may affect your bankruptcy discharge. Even if you have
    already received a discharge, this is a serious matter that you should not
    ignore.

          Individual litigants are entitled to appear without an attorney and represent
    themselves in the Bankruptcy Court. However, the rules can be quite technical and
   failure to comply with the rules can have severe consequences. Before deciding to
 , appear on your own, you should consider consulting an attorney. If you cannot
   afford ah attorney,You may contact:


                                                           l'Jie Faculty of Federal Advocates
                                                             13ankruptcy Pro Bono Program

                                                                 Kimberly Means, Administrator
                                                                 Baj:tl(ruptcy Pro Bono Pl'Qgtiµn
                                                                  l200.l1th Street, Suite3000
                                                                               Denver, CO 80202
                                                                             f'p9~e: 303.628.9664
                                                                   ......·. · Fax:303.623.9222, ..
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   B2SOOA (Form 2500A) (12115)
   Notic~ to Litigants per GPO 2009-3 (1994-3)
                          FACULTY OF FEDERAL ADVOC:A TES
                          BANKRUPTCY PRO BONO PROGRAM


                          2017 MAXIMUM INCOME LEVELS

  Bankruptcy Schedule 1 - Current Income of Individual Debtor(s) will be .
  reviewed to determine the Debtor's income level.

                                                          Pro•Bono Program
                               Size of                        Guidelines
                             FamilyUnit                     (200%ofHHS
                                                         Poverty Guidelines)

                                      1                        $24,120
                                     2                        $32,480
                                     3                         $40,840
                                                               $49,200
                                                               $57,560
                                                               $65,920
                                                               $74;280
                                                               $82,640

                                                               $8,360



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              clue to job hardships and standing up for myself through legalities. Over the long term, v,,ith
              costs, I will not be able to make a high enough payment to ever pay this off.
          •   There is evidence that this hardship will continue for a significant portion of the loan repayment
              period.
              - I can't see being able to afford payments for the foreseeable future due to job hardships and
              standing up for myself through legalities. When a repayment plan was previously figured against
              what. I was making, I wiH not be able to afford rent, bills, and payment causing the interest to be
              higher than I will be able to afford over the course of my life.
         •    You made good faith efforts to repay the loan before filing bankruptcy.
              -When I had money and was able to make paymentsJ did so. My student loans that were for my
              medical information degrees were paid off in good faith.


      I respectfully request the Court to:


     0e.·.J~rmihe lhaf there is a~ontinuihg
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                                            hardship present and discharge my student loans,
     Which werelis~ attpe initial bankruptcy. filing.




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          o Creditor  o Other                                                                   )'!'Creditor   o Other
          □ Trustee                                                                              o Trustee
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                        B1040 (FORM 1040) (12/1S)




                                                                                                                                                                   DIVISION OFFICE              NAME OF JUDGE
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                                                                                                                                                                   DIVISION OFFICE              NAME OF JUDGE
                      DISTRICT IN WHICH ADVERSARY IS PENDING

                      SIGNATURE OF ATTORNEY OR P ~ F )



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                                                                                                                                        INSTRUCTIONS

                                 The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
                      all 9f the property of the debtor, wherever that property is located.. Because the bankruptcy estate is so extensive and the
                     Jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
                     lawsuits concerninjl the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
                     proceeding,                       ·

                                 Aparty filing an a<!versary proceeding must also must complete and file Form I040,the Adversary Proceeding
                 Cover~h~ '1\llessthj> party                                   files
                                                    the adversary proceeding electronically through the court's Case Management/Electronic
                 Case Fifing system (CM/ECF), (CM/ECF captures the information on F.orm 1040 as part of the /iUng process.) When
                completed, the cover sheet summari~es basic information on the adversary proceeding .. The clerk of court needs the
                infonnat/on to process the a<!versary proceeding and prepare required statistical reports on court activity.

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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 10/17/2022 9:13:17 AM




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   United States Bankruptcy Appellate Panel for the
  Tenth Circuit
  Byron White U.S. Courthouse
   1823 Stout St.
  Denver, CO 80258

  Appeal from:
  District Court County: District of Colorado
  District Court Judge: The Hon. Elizabeth Brown
  District Court Case Number: 22-01250-EEB
  District Court Title: Adversary Proceeding to Dismiss
   Student Loans

  Plaintiff/Petitioner: Kate Drakewyck
  X Appellant or D Appellee
  &.                                                        A FORCOURTUSE A

  Defendant/Respondent: US Department of Education
   D Appellant or X Appellee                              BAPs
                                                          Case Number: 23-4
  Filing Party Name: Kate Drakewyck (pro se)
  Address: PO Box 140114
            Lakewood, CO 80214
  Phone: 720-232-7287
  E-Mail: bdrakewyck@yahoo.com

                                         Brief




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                                          Certificate of Compliance


            I certify that this brief complies with the requirements of Colorado Appellate Rules 8014,

   8015, 8016. Including:



      Word Limits: My brief has 1,738 words, which is not more than the 13,000 word limit.



      Included Sections: In the arguments section, before arguing each issue on appeal, I have the

            following separately titled sub-sections:



                   The Standard of Review: I discuss which Standard of Review should be used to

                   evaluate that issue.

                   Preservation: I discuss if that issue was preserved for appeal. I cite to the page in

                   the Record on Appeal where I raised this issue before the District Court and I cite

                   to where the District Court decided that issue.



            I understand that my brief may be rejected if I fail to comply with these rules.




                                                          Signature of the Appellant




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                                    Other Authorities



                                        Statutes

                               Jurisdictional_Statement

                       US District of Colorado Bankruptcy Court

                               The Hon. Elizabeth Brown

                      Final Judgment Issued on January 18, 2023

   The Adversary Proceeding occurred within the District of Colorado's Bankruptcy
     Court and having reached the final judgment was filed with the 10th Circuit
    Appeal's Court which has jurisdiction on January 28, 2023, within the 14 day
   deadline. I was approved to move forward with the appeal on February 6, 2023.

                                  Issues on Appeal
             Issue 1: Documents in the Adversary Proceeding were Served

                             Standard of Review: De Novo

                                 Statement of the Case

  There are requirements, if met, allow a borrower to waive their student loans in a

  Chapter 7 bankruptcy, per the US Depaitment of Education. I met all of those

  requirements and addressed them in my initial filing. In order to request this, an

  Adversary Proceeding must be filed, the US Department of Education served, and

  both the District Attorney and Attorney General provided copies via first class

  mail. They are then provided a period of time to respond or dispute the claim. All

  three of these were served per the Rule and given that length of time. No response


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  was received and I requested it be ruled in my favor, but was denied, with the

  courts saying that they were not served correctly.

                                  Argument Summary

  There is one issue in this case. It was filed under an Order by the courts, the Order

  said that it was dismissed without prejudice. Per the request for Cause, it states

  that "an order is final ifit "ends the litigation on the merits and leaves nothing for

  the court to do but execute the judgment."" 'Nhile without prejudice allows me to

  file once again, that would be a new case being filed under bankruptcy court, not

  continued action under the case that was initially filed. While I could have done

  that, I should not have to create a new case and reserve those that have already

  been served, when I completed those actions per law and, later, per the order issued

  by that court. As that, this case has in fact reached the point where there is nothing

  to do, but execute judgment, even if the order is based on false reasoning. It was

  also stated that since I served the Department of Education and later served the

  District Attorney and Office of the Attorney General, but did not re serve the

  Department of Education that they're part had gone "stale". That's incorrect, they

  were served and had the full allotment of time to respond to that service, but they

  chose not to. The other parties being sent notice in no way impacted that time

  frame in which they failed to respond and I followed the Order from the court

   exactly


    Brief                                                                                  5

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                                            Argument

            Issue 1: Documents in the Adversary Proceeding were Served

      A. Standard of Review: De Novo

      B. Preservation on Appeal: This issue was preserved for appeal. This issue is

            raised in Adversary Proceeding dated 10/2022, Service to US Department of

            Education dated 10/24/2022, Rule in Favor of the Debtor dated 11/28/2022,

            Order Denying Motion to Rule In Favor dated 12/2022, Service via 1st

            Class Mail dated December 12, 2022, Rule in Favor of the Debtor dated

            January 17, 2023, and Disposition ofAdversary Proceeding dated January

            18, 2022.

     C. In October 2022, I filed the Adversary Proceeding in regards to dismissing

            my student loan debt and stated, " Per US Department of Education, student
                  loans can be dismissed if three parts are met: "-If you're forced to
                  repay the loan, you would not be able to maintain a minimal standard
                  of living.-Colorado's cost of living keeps going up, while pay of a
                  teacher doesn't support that growth. Due to unemployment and the
                  bankruptcy, I was unable to move, but that it is becoming harder to
                  find an apartment that can be afforded on a single teachers salary.
                  This is further complicated when many teaching salaries are just over
                  the low income housing, but don't meet the minimum amount needed
                  for the 3x the salary minimum. Due to the bankruptcy, I may have to
                  stay in the current apartment as it raises it's rent or seek private rentals
                  which may run for more. I will also need to be able to afford to move,
                  which I can't see being able to do for the foreseeable future due to job
                  hardships and standing up for myself through legalities.
                  There is evidence that this hardship will continue for a significant
                  portion of the loan repayment period.
                  - I can't see being able to afford payments for the foreseeable future
                  due to job hardships and standing up for myself through legalities.
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                                               Filed:08/04/2023
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                                                                  Page:213
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               When a repayment plan was previously figured against what I was
               making, I will not be able to afford rent, bills, and payment causing
               the interest to be higher than I will be able to afford over the course of
               my life.
               You made good faith effmis to repay the loan before filing
               bankruptcy.
               -When I had money and was able to make payments I did so. My
               student loans that were for my medical information degrees were paid
               off in good faith. Per the filing of the Adversary Proceeding, US
               Department of Education haci 35 days after the service of the
               documents, served on October 24, 2022, and a copy of that service
               was upload to this court. November 27th, 2022 was the 35th day and
               no response has been tendered."

  On October 24th, 2022, the service of the Proceedings was served to the US

  Department of Education and the Documents were uploaded to the courts. This

  provided the Department of Education un1il November 27, 2022 to submit a

  response which they did not. I submitted a request to Bankruptcy to Rule in Favor

  of the Debtor on November 28, 2022. It was denied by the courts due to not

  providing service to the District Attorney and Office of the Attorney General, per

  Rule 7004. I followed the exact order and :3ent copies of the documents to both via

   1st Class Mail and uploaded proof of that on December 12, 2022. Their time

  elapsed on January 16, 2023 and I resubmitted the Motion to Rule in Favor of the

  Debtor on January 17, 2023. The final orders dismissing the case came on January

   18, 2023, stating that I should have re served the US Department of Education,

  causing it to grow "stale", and, as such, had failed to follow Rule 7004. In the

  Order asking me to serve District Attorney and Office of the Att0111ey General,


    Brief                                                                               7

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 215
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                                                                  Page:214
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  under those subsections and under Rule 7004, there is no mention of a Service of

  Documents going "stale", I provided service as the Rule required and provided the

  full amount of time for all parties to respond before submitting my Motions to Rule

  in Favor. Therefore, the court has clearly made in error in dismissing this case.



                                       Conchrniion

  As I've shown, I submitted the Adversary Proceeding, had it served to all three

  parties as required under Rule 7004. This Rule does not state that a process of

  service can go stale, all three parties were given the full length of time to submit

  their responses and didn't move forward with doing so. I meet all of the

  requirements as listed on the US Department of Education's website. The District

  of Colorado Bankruptcy Court made an error in its dismissal. I'm asking that the

  dismissal be overturned and the Proceedinr; be allowed to proceed.

                              Statement of Rel;1tecl Cases

  22-10977-EEB is the initial bankruptcy Case filing. I initially tried filing about

  student loans and appealed under Case 22- i 6 and was denied. Judge Brown issued

  an order that I pay the fee for the Appeal and I've since discovered that the fee,

  when not approved to move forward with a foe is $5. I would like the balance that

  I was ordered to pay, minus that fee, refund<:d.




    Brief                                                                                8

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Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 216
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  Dated:    71-z,r_p/z,3
                   I
                                Respectfully submitted,




                                Signaturc:_U_.
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    Brief                                                                      9

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                                  Ce1iificate of Service
  I certify that on February 26, 2023, I filed this Brief with the BAP. I sent a copy,

  along with any attachments, to the people listed below: (Every party in the case

  should get a copy. If a party has a lawyer, send their copy to the lawyer.)



  Name of Person Served: US Department of Education, District Attorney and

  Office of the Attorney General

  Sent by (Check One):       X U.S. Mail; OR[] In-Person Hand Delivery

  Address:
  US Department of Education
  400 Maryland Avenue, SW
  Washington, D.C. 20202


  District Attorney
  555 4th St NW
  Washington, DC 20530


  Office of the Attorney General
  400 6th St NW,
  Washington, DC 20001




                                   Signature: __£~ l~ /
                                             Appellant              ~

   Brief                                                                                 10

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   Case:22-01250-EEB Doc#:17 Filed:01/28/23 Entered:01/30/23 08:59:42 Page1 of 4
 Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 218
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   Part 5: Sign below



   Signature ofii           or uppcllani(s) (Qr appcllani(s)
   if nor repl'CSC!llcd by an auomey)


  Name, address. nnd telephone number of attorney (or
  appellnnt(s) if not represented by an attorney):




 Fee wnivcr notice: If appellant is a child ~uppon creditor Qr its represen1a1ivc and appcllnnt has
 filed 1he fonn SJ><.'Ciffod in § 304(g) of the Bankruptcy Rcfonn Act of 1994. no fee is required.




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Official Form 417A               Notice of Appeal and Statement of Election
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United States Bankruptcy Court - District of Colorado
Online Filing Tool Submission

Submitted: 1/28/2023 12:43:35 PM




User Information

Kate Drakewyck
6798 West Portland Avenue
Littleton
CO
80128

bdrakewyck@yahoo.com
720-232-7287




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  Case:22-01250-EEB Doc#:13 Filed:01/18/23 Entered:01/18/23 10:01:31 Page1 of 2
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 222
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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Elizabeth E. Brown
    In re:
                                                Bankruptcy Case No. 22-10977 EEB
    KATE BUFFY DRAKEWYCK,
                                                Chapter 7
    Debtor.


    KATE BUFFY DRAKEWYCK,                       Adversary Proceeding No. 22-01250
                                                EEB
    Plaintiff,

    v.

    U.S. DEPARTMENT OF EDUCATION,

    Defendant.


                               ORDER DISMISSING CASE


          THIS MATTER comes before the Court sua sponte. This Court issued an Order
  to File requiring Plaintiff Kate Buffy Drakewyck (“Plaintiff”) to file a motion for alias
  summons and serve such alias summons properly on the Defendant United States
  Department of Education (“Defendant”) by December 28, 2022, failing which the above-
  captioned adversary proceeding may be dismissed. To date, Plaintiff has not requested,
  nor received, an alias summons to effectuate proper service. Accordingly, for Plaintiff’s
  failure to comply with the Court’s prior Order to File, dismissal is warranted.

         Furthermore, as of the date of this Order, more than 90 days have elapsed since
  the commencement of the above-captioned adversary proceeding. There still is no
  proof of proper service upon the Defendant, and, therefore, dismissal is warranted
  pursuant to Fed. R. Civ. P. 4(m), as made applicable to these proceedings by Fed. R.
  Bankr. R. 7004. For these reasons, it is

         ORDERED that this adversary case is hereby dismissed without prejudice.

         FURTHER ORDERED that the Clerk of the Court shall give notice of this
  dismissal to the Plaintiffs, Debtors, and Chapter 7 Trustee in the underlying case and
  shall CLOSE THIS ADVERSARY CASE.

         DATED: this 18th day of January, 2023.




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  Case:22-01250-EEB Doc#:13 Filed:01/18/23 Entered:01/18/23 10:01:31 Page2 of 2
Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 223
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                                            BY THE COURT:


                                            Elizabeth E. Brown, Bankruptcy Judge




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      Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 224
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                                          U.S. Bankruptcy Court
                                       District of Colorado (Denver)
                                   Adversary Proceeding #: 22-01250-EEB

 Assigned to: Elizabeth E. Brown                                        Date Filed: 10/17/22
 Lead BK Case: 22-10977                                                 Date Dismissed: 01/18/23
 Lead BK Title: Kate Buffy Drakewyck
 Lead BK Chapter: 7
 Demand:
 Nature[s] of Suit: 63 Dischargeability - 523(a)(8), student loan


Plaintiff
-----------------------
Kate Drakewyck                                                      represented by Kate Drakewyck
PO Box 140114                                                                      PRO SE
Lakewood, CO 80214
720-232-7287


V.

Defendant
-----------------------
US Department Of Education                                          represented by US Department Of Education
                                                                                   PRO SE



     Filing Date               #                                              Docket Text

                             18                 Appellant Designation of Record and Statement of Issues On Appeal.
                             (4 pgs)            Case Number Not Yet Available. Filed by Kate Drakewyck (related
                                                document(s)17 Notice of Appeal and Statement of Election). (mlr)
 01/28/2023                                     (Entered: 01/30/2023)

                             17                 Notice of Appeal and Statement of Election. Appellant is Pro Se. Filing
                             (13 pgs; 2 docs)   fee not paid. Filed by Kate Drakewyck (related document(s)13 Order
                                                Dismissing Adversary Proceeding). (Attachments: # 1 Statement re
                                                Admission, Interested Parties, Oral Argument) (mlr) (Entered:
 01/28/2023                                     01/30/2023)

                             16                 Letter From Kate Drakewyck Dated 1/22/2023 (related document(s)12
                             (3 pgs)            Other Order, 13 Order Dismissing Adversary Proceeding). (re) (Entered:
 01/23/2023                                     01/23/2023)

                             15                 Courts Notice or Order and BNC Certificate of Mailing (related
                             (3 pgs)            document(s)13 Order Dismissing Adversary Proceeding). No. of Notices:
 01/20/2023                                     1. Notice Date 01/20/2023. (Admin.) (Entered: 01/20/2023)


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    Appellate Case: 23-1236
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                                         document(s)12 Other Order). No. of Notices: 1. Notice Date 01/20/2023.
                                         (Admin.) (Entered: 01/20/2023)

                                              Disposition of Adversary Proceeding Number 22-01250-EEB. Final Order
                                              or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg) (Entered:
01/18/2023                                    01/18/2023)

                            13                Order Dismissing Adversary Proceeding. (related document(s)1
01/18/2023                  (2 pgs)           Complaint). (mmg) (Entered: 01/18/2023)

                            12                Order Denying Plaintiff's Second Motion to Rule in Favor of the Debtor.
01/18/2023                  (2 pgs)           (related document(s):11 Motion). (mmg) (Entered: 01/18/2023)

                            11                Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
01/16/2023                  (3 pgs)           Balance Filed by Plaintiff Kate Drakewyck . (mmg) (Entered: 01/17/2023)

                            10                Courts Notice or Order and BNC Certificate of Mailing (related
                            (2 pgs)           document(s)9 Order to File). No. of Notices: 1. Notice Date 12/16/2022.
12/16/2022                                    (Admin.) (Entered: 12/16/2022)

                            9                 Order To File (related document(s)1 Complaint). IT IS ORDERED that on
                            (1 pg)            or before December 28, 2022, Plaintiff shall file a motion for alias
                                              summons and serve the Defendant with the alias summons along with a
                                              copy of the Complaint pursuant to Fed. R. Bankr. P. 7004(b)(4) and (5) or
                                              Fed. R, failing which this adversary proceeding may be dismissed. (re)
12/14/2022                                    (Entered: 12/14/2022)

                            8                 Certificate of Service On: Office of the Attorney General - Washington
                            (2 pgs)           DC on 12/10/2022 filed by Kate Drakewyck . (re) Modified on
12/12/2022                                    12/12/2022 to reflect text (re). (Entered: 12/12/2022)

                            7                 Certificate of Service on District Attorney - Washington DC on
                            (2 pgs)           12/10/2022 filed by Kate Drakewyck . (re) Modified on 12/12/2022 to
12/12/2022                                    reflect text (re). (Entered: 12/12/2022)

                            6                 Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)5 Other Order). No. of Notices: 1. Notice Date 12/01/2022.
12/01/2022                                    (Admin.) (Entered: 12/01/2022)

                            5                 Order Denying Motion To Rule In Favor Of The Debtor (related
                            (2 pgs)           document(s):4 Motion). IT IS ORDERED that Plaintiffs Motion is
                                              DENIED. Nonetheless, the Court will provide Plaintiff another
                                              opportunity to properly effectuate service. Therefore, IT IS FURTHER
                                              ORDERED that on or before December 13, 2022, Plaintiff shall file a
                                              motion for alias summons and serve the Defendant with the alias
                                              summons along with a copy of the Complaint pursuant to Fed. R. Bankr. P.
                                              7004(b)(4) and (5), failing which this adversary proceeding may be
11/29/2022                                    dismissed. (re) (Entered: 11/29/2022)

                            4                 Motion to Rule in Favor of the Debtor: Dismissal of the Student Loan
                            (3 pgs)           Balance. Filed by Plaintiff Kate Drakewyck (related document(s):1
11/28/2022                                    Complaint). (mmg) (Entered: 11/28/2022)

                            3                 Summons Service Executed On: Roland Stallings on 10/24/2022 filed by
10/29/2022                  (3 pgs)           Kate Drakewyck . (re) (Entered: 10/31/2022)

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   Appellate Case: 23-1236       Document: 010110908642              Date Filed: 08/25/2023             Page: 226
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                                                                                         Answer Due
                         (4 pgs)       11/23/2022. (tjv) (Entered: 10/17/2022)

                           1                Adversary case 22-01250. Complaint by Kate Drakewyck against US
                           (5 pgs)          Department Of Education . The Plaintiff in this adversary proceeding is
                                            either the debtor in an underlying chapter 7 or 13 case, or the United
                                            States other than the U.S. Trustee acting as a trustee in the underlying
                                            bankruptcy case. Pursuant to paragraph (6) of the Bankruptcy Court
                                            Miscellaneous Fee Schedule, there is no fee to file an adversary
                                            proceeding when the plaintiff is the United States, other than a U.S.
                                            Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13 case.
                                            Accordingly, this adversary proceeding shall be commenced without
                                            payment of the filing fee . Adversary Status Deadline 2/14/2023 (63
10/17/2022                                  (Dischargeability - 523(a)(8), student loan)) (tjv) (Entered: 10/17/2022)




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     Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 227
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                                         U.S. Bankruptcy Court
                                      District of Colorado (Denver)
                                   Bankruptcy Petition #: 22-10977-EEB
                                                                                        Date filed: 03/25/2022
Assigned to: Elizabeth E. Brown                               Deadline for objecting to discharge: 06/21/2022
Chapter 7                                                     Deadline for financial mgmt. course: 08/05/2022
Voluntary
Asset



Debtor                                                         represented by Kate Buffy Drakewyck
Kate Buffy Drakewyck                                                          PRO SE
PO Box 140114                                                                 bdrakewyck@yahoo.com
Lakewood, CO 80214
JEFFERSON-CO
720-232-7287
SSN / ITIN: xxx-xx-2362
aka Kate Drakewyck Bulmer
aka Buffy Alwyn Drakewyck

Trustee                                                        represented by Jonathan Dickey
David V. Wadsworth, Trustee                                                   Kutner Brinen Dickey Riley, P.C.
2580 West Main Street, Suite 200                                              1660 Lincoln Street
Littleton, CO 80120                                                           Suite 1720
303-296-1999                                                                  Denver, CO 80264
dwadsworth@wgwc-law.com                                                       303-832-3047
                                                                              Email: jmd@kutnerlaw.com

U.S. Trustee
US Trustee
Byron G. Rogers Federal Building
1961 Stout St.
Ste. 12-200
Denver, CO 80294
303-312-7230
USTPRegion19.DV.ECF@usdoj.gov


   Filing Date                #                                           Docket Text

                            202              Receipt of Amended Schedules Filing Fee - $32.00 by SA. Receipt
 01/24/2023                                  Number 310614. (admin) (Entered: 01/24/2023)

                            201              Order Regarding Debtor's Motion For Clarification (related
 01/23/2023                 (2 pgs)          document(s)200 Motion). (jc) (Entered: 01/23/2023)

                            200              Motion For Clarification (Request for Amount Owed To the Courts)
                            (7 pgs)          Filed by Kate Buffy Drakewyck (related document(s)198 Notice of
 01/22/2023                                  Deficiency) . (jc) (Entered: 01/23/2023)

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   Appellate Case: 23-1236           Document: 010110908642           Date Filed: 08/25/2023           Page: 228
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                                                                                                   245 Number
                                                                                                  Receipt
                                         310560. (admin) (Entered: 01/19/2023)

                            198                Notice of Deficiency For Failure to Pay Filing Fee: Missing document(s)
                            (1 pg)             due by 3/9/23. (related document(s)17 Schedule D And/Or Schedule E/F,
                                               22 Order on Motion To Pay Filing Fees in Installments). Payment of Fees
01/19/2023                                     due by 3/9/2023. (sd) (Entered: 01/19/2023)

                                               Disposition of Adversary Proceeding Number 22-01250-EEB. Final
                                               Order or Judgment Has Entered. Tickle Due Date 2/1/2023. (mmg)
01/18/2023                                     (Entered: 01/18/2023)

                            197                Receipt of Chapter 7 Filing Fee - $338.00 by SA. Receipt Number
01/17/2023                                     310537. (admin) (Entered: 01/17/2023)

                            196                Order Regarding Case Filing Fee (related document(s)2 Voluntary
                            (1 pg)             Petition-Chapter 7). Filing Fee Due by 3/9/2023 for 2, (sd) (Entered:
01/12/2023                                     01/12/2023)

                            195                Order Granting Unopposed Motion To Vacate Evidentiary Hearing on
                            (1 pg)             Homestead Exemption Set for January 12, 2023 and To Hold All Related
                                               Deadlines in Abeyance Pending Approval of Settlement Agreement
                                               (related document(s):191 Motion to Vacate Hearing). (jc) (Entered:
01/05/2023                                     01/05/2023)

                            194                Order Granting Motion To Approve Compromise and Settlement
                            (1 pg)             Agreement (related document(s):189 Motion to Approve). (jc) (Entered:
01/05/2023                                     01/05/2023)

                            193                Certificate of Non-Contested Matter Filed by Jonathan Dickey on behalf
                            (1 pg)             of David V. Wadsworth, Trustee (related document(s):189 Motion to
01/04/2023                                     Approve). (Dickey, Jonathan) (Entered: 01/04/2023)

                            192                Order Holding Homestead Exemption Contested Matter Trial Deadlines
                            (1 pg)             in Abeyance (related document(s)182 Minutes of Proceedings/Minute
12/21/2022                                     Order). (jc) (Entered: 12/21/2022)

                            191                Unopposed Motion to Vacate Hearing Filed by Jonathan Dickey on
                            (4 pgs; 2 docs)    behalf of David V. Wadsworth, Trustee (related document(s)182 Minutes
                                               of Proceedings/Minute Order). (Attachments: # 1 Proposed/Unsigned
12/13/2022                                     Order) (Dickey, Jonathan) (Entered: 12/13/2022)

                            190                9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                            (4 pgs; 2 docs)    Wadsworth, Trustee (related document(s):189 Motion to Approve).. 9013
                                               Objections due by 1/3/2023 for 189,. (Attachments: # 1 Other Creditor
12/13/2022                                     Matrix) (Dickey, Jonathan) (Entered: 12/13/2022)

                            189                Motion to Approve Compromise and Settlement Agreement Filed by
                            (10 pgs; 3 docs)   Jonathan Dickey on behalf of David V. Wadsworth, Trustee.
                                               (Attachments: # 1 Exhibit 1 # 2 Proposed/Unsigned Order) (Dickey,
12/13/2022                                     Jonathan) (Entered: 12/13/2022)

12/06/2022                  188                Order Granting Stipulation To Avoidance of Lien of Levi Min Yeong
                            (2 pgs)            Buehler Trust Against Proceeds from Sale of Real Property Located at
                                               6798 W. Portland Ave., Littleton, Colorado (related document(s):179
                                               Stipulation). (jc) (Entered: 12/06/2022)
                                                   227
   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 229
       BAPBAPAppeal
               Appeal
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                        23-4
                           23-4 Docket
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                                              1-4 Filed:
                                                   Filed:08/04/2023
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                                                                                   245
                      187               Minute Order. Non-Evidentiary Hearing on Stipulation Between David
                      (1 pg)            V. Wadsworth, Trustee and the Levi Min Yeong Buehler Trust Re:
                                        Avoidance of Lien of Levi Min Yeong Buehler Trust against Proceeds
                                        from Sale of Real Property Located at 6798 West Portland Avenue,
                                        Littleton, Colorado (the Stipulation), and Debtors Objection Thereto.
                                        Orders: For the reasons stated on the record, the Stipulation is hereby
                                        APPROVED. A separate order shall enter. (related document(s)179
12/06/2022                              Stipulation, 181 Objection). (jc) (Entered: 12/06/2022)

                      186               Courts Notice or Order and BNC Certificate of Mailing (related
                      (3 pgs)           document(s)185 Order Setting Hearing). No. of Notices: 0. Notice Date
11/23/2022                              11/23/2022. (Admin.) (Entered: 11/23/2022)

                      185               Order and Notice of Non-Evidentiary Hearing. (related document(s)179
                      (1 pg)            Stipulation, 181 Objection). Hearing to be held on 12/6/2022 at 09:30
11/21/2022                              AM Courtroom F for 179 and for 181, . (mmg) (Entered: 11/21/2022)

                      184               Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                      (2 pgs)           David V. Wadsworth, Trustee (related document(s):179 Stipulation, 181
11/18/2022                              Objection). (Dickey, Jonathan) (Entered: 11/18/2022)

                      183               Receipt of Appeal Filing Fee - $298.00 by 3J. Receipt Number 310291.
11/03/2022                              (admin) (Entered: 11/03/2022)

                      182               Minute Order. Proceedings: (1) Non-Evidentiary Hearing on Debtor's
                      (4 pgs)           Motion to Waive Appeal Filing Fee; (2) Oral Ruling on Debtor's and
                                        Trustees Cross-Motions for Summary Judgment on Homestead
                                        Exemption. Orders: For the reasons stated on the record, the Court
                                        DENIED the Debtor's Motion to Waive Appeal Filing Fee. For the
                                        reasons stated on the record, the Court GRANTED the Trustee's Motion
                                        for Partial Summary Judgment as to the amount of the applicable
                                        homestead exemption. For the reasons stated on the record, the Court
                                        DENIED the Debtor's Dispositive Motion (Motion for Summary
                                        Judgment). The Court will hold an in-person evidentiary hearing on the
                                        Trustees Objection to the Debtor's Claim of Homestead Exemption on
                                        Thursday, January 12, 2022, at 9:30 a.m., beforethe Honorable Elizabeth
                                        E. Brown, in Courtroom F, United States Bankruptcy Court, 721 19th
                                        Street, Denver, CO 80202. (related document(s)166 Motion). Hearing to
                                        be held on 1/12/2023 at 09:30 AM Courtroom F for 166, . List of
                                        Witnesses andExhibits due by 12/29/2022 for 166, Written Objections
11/02/2022                              due by 1/5/2023 for 166, (jc) (Entered: 11/02/2022)

                      181               Debtor's Objection to: Stipulation To Avoidance of Lien of Levi Min
                      (3 pgs)           Yeong Buehler Trust Against Proceeds from Sale of Real Property
                                        Located at 6798 W. Portland Ave., Littleton, Colorado Filed by Kate
                                        Buffy Drakewyck. (related document(s)179 Stipulation). (jc) (Entered:
10/30/2022                              10/31/2022)

                      180               9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                      (3 pgs; 2 docs)   Wadsworth, Trustee (related document(s):179 Stipulation).. 9013
                                        Objections due by 11/17/2022 for 179,. (Attachments: # 1 Other Creditor
10/27/2022                              Matrix) (Dickey, Jonathan) (Entered: 10/27/2022)

10/27/2022            179               Stipulation Between David V. Wadsworth, Trustee and the Levi in Yeong
                      (5 pgs; 2 docs)   Buehler Trust Re: to Avoidance of Lien of Levi Min Yeong Buehler Trust
                                        against Proceeds from Sale of Real Property located at 6798 West
                                        Portland Avenue, Littleton, Colorado Filed by Jonathan Dickey on behalf
                                            228
   Appellate Case: 23-1236 Document: of 010110908642
                                          David V. Wadsworth,Date    Filed:
                                                                Trustee.     08/25/2023
                                                                         (Attachments:         Page: 230
                                                                                       # 1 Proposed/Unsigned
       BAPBAPAppeal
               Appeal
                    No.No.
                        23-4
                           23-4 Docket
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                                         No.
                                           31-2
                                              1-4    Filed:
                                                       Filed:08/04/2023
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                                        Order) (Dickey, Jonathan) (Entered: 10/27/2022)
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                           178                Copy of MANDATE: BAP Mandate filed in 22-016 (related
                           (1 pg)             document(s)165 Notice of Appeal and Statement of Election). (rjr)
10/26/2022                                    (Entered: 10/26/2022)

                           177                Adversary case 22-01250. Complaint by Kate Drakewyck against US
                           (5 pgs)            Department Of Education . The Plaintiff in this adversary proceeding is
                                              either the debtor in an underlying chapter 7 or 13 case, or the United
                                              States other than the U.S. Trustee acting as a trustee in the underlying
                                              bankruptcy case. Pursuant to paragraph (6) of the Bankruptcy Court
                                              Miscellaneous Fee Schedule, there is no fee to file an adversary
                                              proceeding when the plaintiff is the United States, other than a U.S.
                                              Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13
                                              case. Accordingly, this adversary proceeding shall be commenced
                                              without payment of the filing fee . Adversary Status Deadline 2/14/2023
                                              (63 (Dischargeability - 523(a)(8), student loan)) (tjv) (Entered:
10/17/2022                                    10/17/2022)

                           176                Order and Notice of Non-Evidentiary Hearing (related document(s)166
                           (1 pg)             Motion). Hearing to be held on 11/2/2022 at 09:30 AM Courtroom F for
10/12/2022                                    166,. (jc) (Entered: 10/12/2022)

                           175                COPY OF APPEAL ORDER and JUDGMENT: The request for leave to
                           (5 pgs; 2 docs)    appeal contained in the Response is DENIED as unnecessary; and The
                                              Order Denying Reconsideration is AFFIRMED. Entered on October 11,
                                              2022 in BAP Case CO 22-16 by Judges JACOBVITZ, LOYD, and
                                              PARKER. (related document(s)165 Notice of Appeal and Statement of
10/11/2022                                    Election). (Attachments: # 1 Judgment) (mlr) (Entered: 10/11/2022)

                           174                Order. ORDERS that this matter shall proceed under the Discovery
                           (1 pg)             Dispute procedures in L.B.R. 7026-1(d). If the parties are unable to
                                              resolve their disputes after an attempt to meaningfully confer, they
                                              should request a hearing by email as provided for in the procedures.
                                              (related document(s)173 Document/Support Document). (jc) (Entered:
10/11/2022                                    10/11/2022)

                           173                Complaint on Trustee's Refusal To Submit Complete Discovery Filed by
10/08/2022                 (2 pgs)            Kate Buffy Drakewyck. (jc) (Entered: 10/11/2022)

                           172                Minute Order. Proceedings: Non-Evidentiary Hearing on Discovery
                           (1 pg)             Dispute between Debtor and Chapter 7 Trustee David V. Wadsworth.
                                              Orders: Trustee shall produce records within his possession, custody, or
                                              control that are responsive to theDebtor's discovery requests and relevant
                                              to the homestead exemption contested matter. (related document(s)161
09/29/2022                                    Order Setting Hearing). (jc) (Entered: 09/29/2022)

                           171                Motion For Summary Judgment Filed by Jonathan Dickey on behalf of
                           (12 pgs; 3 docs)   David V. Wadsworth, Trustee. (Attachments: # 1 Exhibit 1 # 2
09/29/2022                                    Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 09/29/2022)

                           170                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                           (10 pgs; 2 docs)   Trustee (related document(s):157 Motion for Summary Judgment).
09/29/2022                                    (Attachments: # 1 Exhibit 1) (Dickey, Jonathan) (Entered: 09/29/2022)

09/26/2022                 169                Trustee's Discovery Report Filed by Jonathan Dickey on behalf of David

                                                  229
   Appellate Case: 23-1236
                        (3 pgs)Document: V.
                                         010110908642
                                            Wadsworth, Trustee.Date Filed:
                                                               (Dickey,     08/25/2023
                                                                        Jonathan)             Page: 231
                                                                                  (Entered: 09/26/2022)
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                          168                This Appeal Has Been Accepted by the Bankruptcy Appellate Panel and
                                             Assigned Case No. CO 22-16. Please Refer to That Court's Docket for
                                             the Most Complete Information Regarding This Appeal (related
                                             document(s)165 Notice of Appeal and Statement of Election). (mlr)
09/22/2022                                   (Entered: 09/22/2022)

                          164                Income and Bank Records Filed by Kate Buffy Drakewyck. (jc)
09/22/2022                (16 pgs)           (Entered: 09/22/2022)

                          167                Appellant's Designation of Record and Statement of Issues On Appeal
                          (4 pgs; 2 docs)    filed by Kate Buffy Drakewyck (related document(s)165 Notice of
                                             Appeal and Statement of Election). (Attachments: # 1 Statement of
09/21/2022                                   Issues) (mlr) (Entered: 09/22/2022)

                          166                Appellant's Motion to Waive Appeal Filing Fee filed by Kate Buffy
                          (3 pgs)            Drakewyck (related document(s)165 Notice of Appeal and Statement of
                                             Election) . (mlr) Modified docket text on 9/22/2022 (mlr). (Entered:
09/21/2022                                   09/22/2022)

                          165                Notice of Appeal and Statement of Election. Appellant is Pro Se. Waiver
                          (16 pgs; 5 docs)   of filing fee requested. Filed by Kate Buffy Drakewyck (related
                                             document(s)151 Generic Order, 159 Order on Motion To Reconsider, 160
                                             Judgment for BK Case). (Attachments: # 1 Certificate of Service # 2
                                             BAP Document # 3 Statement of Admission # 4 Statement re Oral
09/21/2022                                   Argument) (mlr) (Entered: 09/22/2022)

                          163                Order Converting In-Person Hearing To Telephonic Attendance.
                          (1 pg)             ORDERS that the Debtor, the Chapter 7 Trustee, and any other interested
                                             parties shall appear telephonically using the Courts new telephone
                                             number (see below) at the Discovery Dispute hearing scheduled for
                                             Thursday, September 29, 2022, at 2:15 p.m., in Courtroom F, United
                                             States Bankruptcy Court, U. S. Custom House, 721 19th Street, Denver,
                                             Colorado 80202. Parties shall call the Court prior to the hearing at 1-833-
                                             568-8864 or 1-833-435-1820 immediately prior to the time of the
                                             scheduled hearing. Please enter the Meeting ID: 160 929 3959, followed
                                             by the # sign, then press # again if/when prompted to enter a participant
                                             ID. (related document(s):162 Motion to Appear Telephonically). (jc)
09/20/2022                                   (Entered: 09/20/2022)

                          162                Motion to Move September 29, 2022 Hearing from Courthouse to
                          (2 pgs)            Telephonic Proceeding Filed by Kate Buffy Drakewyck. (related
09/19/2022                                   document(s)161 Order Setting Hearing) . (jc) (Entered: 09/20/2022)

                          161                Notice of Hearing on Discovery Dispute. Hearing to be held on
09/19/2022                (1 pg)             9/29/2022 at 02:15 PM Courtroom F. (jc) (Entered: 09/19/2022)

                          160                Judgment. ORDERED that judgment is entered against Debtor Kate
                          (1 pg)             Buffy Drakewyck on her Motion to Reconsider Denial of Motion to
                                             Discharge Student Loan Balance inBankruptcy filed on September 18,
                                             2022. (related document(s)159 Order on Motion To Reconsider). (jc)
09/19/2022                                   (Entered: 09/19/2022)

                          159                Order Denying Motion For Reconsideration (related document(s):158
09/19/2022                (2 pgs)            Motion to Reconsider). (jc) (Entered: 09/19/2022)


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    Appellate Case: 23-1236
09/18/2022               158 Document: Motion
                                         010110908642           Date
                                                 to Reconsider the    Filed:
                                                                   Court's    08/25/2023
                                                                           Order                Page:
                                                                                 Denying, without       232
                                                                                                  prejudice,
          BAP
            BAP
              Appeal
                Appeal
                     No.No.
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                         (3 pgs)
                                 Docket
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                                         Debtor's Motion to Discharge Student Loan in Bankruptcy Filed by Kate
                                         Buffy Drakewyck. (related document(s)151 Generic Order). (jc)
                                         (Entered: 09/19/2022)

                            157               Dispositive Motion (Motion For Summary Judgment) Filed by Kate
09/18/2022                  (6 pgs)           Buffy Drakewyck. (jc) (Entered: 09/19/2022)

                            156               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)155 Order on Application to Employ). No. of Notices: 0.
09/11/2022                                    Notice Date 09/11/2022. (Admin.) (Entered: 09/11/2022)

                            155               Order To Appoint Kaplan & Associates, P.C. (related document(s):154
09/09/2022                  (1 pg)            Application to Employ). (jc) (Entered: 09/09/2022)

                            154               Application to Employ Kaplan & Associates, P.C. as Accountants Filed
                            (6 pgs; 3 docs)   by David V. Wadsworth, Trustee on behalf of David V. Wadsworth,
                                              Trustee. (Attachments: # 1 Affidavit # 2 Proposed/Unsigned Order)
09/08/2022                                    (Wadsworth, Trustee, David) (Entered: 09/08/2022)

                            153               Order For Compliance (related document(s)2 Voluntary Petition-Chapter
                            (1 pg)            7, 148 Document/Support Document, 152 Document/Support
                                              Document). ORDERED that Parties to the Contested Matter shall comply
                                              with L.B.R. 7026-1(c)(1)-(2) and refrain from filing Discovery Materials
                                              with the Court unless and until the Court orders otherwise. That is,
                                              Parties shall exchange Discovery Materials amongstthemselves without
09/06/2022                                    filing them with the Court. (re) (Entered: 09/06/2022)

                            152               Debtor's Discovery Requests to Levi Min Yeong Buehler Trust-Co
                            (6 pgs)           Owner of Property and Creditor Filed by Kate Buffy Drakewyck. (jc)
09/05/2022                                    (Entered: 09/06/2022)

                            151               Order Denying, Without Prejudice, Motion to Discharge Student Loan
                            (1 pg)            Balance in Bankruptcy (related document(s)149 Letter). (jc) (Entered:
08/30/2022                                    08/30/2022)

                            150               This entry entered in error. Disregard following entry per Chambers
                                              request. Order (related document(s)149 Letter). (jc) Modified on
08/29/2022                                    8/29/2022 (jc). (Entered: 08/29/2022)

                            149               Motion to Discharge Student Loan Balance in Bankruptcy Filed by Kate
                            (3 pgs)           Buffy Drakewyck. (related document(s)2 Voluntary Petition-Chapter 7).
08/27/2022                                    (jc) (Entered: 08/29/2022)

                            148
08/27/2022                  (117 pgs)         Discoveries Filed by Kate Buffy Drakewyck. (jc) (Entered: 08/29/2022)

                            147               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)143 Judgment for BK Case). No. of Notices: 6. Notice Date
08/11/2022                                    08/11/2022. (Admin.) (Entered: 08/11/2022)

                            146               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)142 Order on Motion For Relief From Stay). No. of Notices:
08/11/2022                                    6. Notice Date 08/11/2022. (Admin.) (Entered: 08/11/2022)

08/10/2022                  145               Courts Notice or Order and BNC Certificate of Mailing (related
                                                   231
   Appellate Case: 23-1236
                        (3 pgs)Document: document(s)141
                                         010110908642          Date
                                                         Judgment forFiled:  08/25/2023
                                                                      BK Case). No. of Notices:Page:   233
                                                                                                6. Notice Date
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               Appeal
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                                         08/10/2022. (Admin.) (Entered: 08/10/2022)
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                            144               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)140 Order on Motion For Relief From Stay). No. of Notices:
08/10/2022                                    6. Notice Date 08/10/2022. (Admin.) (Entered: 08/10/2022)

                            143               Judgment (related document(s)142 Order on Motion For Relief From
08/09/2022                  (1 pg)            Stay). (sd) (Entered: 08/09/2022)

                            142               Order Granting Debtor's Motion For Relief From Stay on Jefferson
                            (1 pg)            County District Court Case Number 19-PR-31223 and Colorado Court of
                                              Appeals Case 22-CA-418. (related document(s):105 Motion for Relief
08/09/2022                                    From Stay and 4001-1.1 Notice). (sd) (Entered: 08/09/2022)

                            141               Judgment (related document(s)140 Order on Motion For Relief From
08/08/2022                  (1 pg)            Stay). (sd) (Entered: 08/08/2022)

                            140               Order Granting Debtor's Motion For Relief From Stay On District Court
                            (1 pg)            Case Number 21-CV-33 and Colorado Court of Appeals Case Number
                                              21-CA-2035 (related document(s):107 Motion for Relief From Stay and
08/08/2022                                    4001-1.1 Notice). (sd) (Entered: 08/08/2022)

                            139               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)134 Judgment for BK Case). No. of Notices: 1. Notice Date
08/06/2022                                    08/06/2022. (Admin.) (Entered: 08/06/2022)

                            138               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)133 Order on Motion For Relief From Stay). No. of Notices:
08/06/2022                                    1. Notice Date 08/06/2022. (Admin.) (Entered: 08/06/2022)

                            137               Courts Notice or Order and BNC Certificate of Mailing (related
                            (3 pgs)           document(s)132 Minutes of Proceedings/Minute Order). No. of Notices:
08/06/2022                                    1. Notice Date 08/06/2022. (Admin.) (Entered: 08/06/2022)

                            136               Minute Order: For reasons stated on the record, the Motion for Relief is
                            (2 pgs)           GRANTED. Debtor may continue litigation in 21 CV 33 & 21 CA 2035,
                                              except to the extent that it involves property of the estate, namely the
                                              Debtor does not have standing to pursue any civil theft claims unless and
                                              until she schedules such assets in the bankruptcy case and obtains an
                                              order abandoning the same. Nor is the Debtor permitted to litigate her
                                              entitlement to a homestead exemption in the state court proceeding. A
                                              separate Order and Judgment will enter. On or before close of business
                                              on Monday, August 8, 2022, the Chapter 7 Trustee shall submit a new
                                              proposed form of order regarding Debtors Appeal of the State Court
                                              judgment and any civil theft claims. Please email the order in Microsoft
                                              WORD format to courtroomf@cob.uscourts.gov. (related
                                              document(s)107 Motion for Relief From Stay and 4001-1.1 Notice).
08/04/2022                                    Document due by 8/8/2022 for 107, (sd) (Entered: 08/04/2022)

08/04/2022                  135               Minute Order: For reasons stated on the record, the Motion for Relief is
                            (2 pgs)           GRANTED. Debtor may continue litigation in 19 PR 31223 & Colorado
                                              Court of Appeals Case No. 22 CA 418. A separate Order and Judgment
                                              will enter. On or before close of business on Monday, August 8, 2022,
                                              the Levi Min Yeong Buehler Trust shall submit a new proposed form of
                                              order regarding Debtors Appeal of the State Court rulings. Please email
                                              the order in Microsoft WORD format to courtroomf@cob.uscourts.gov.

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   Appellate Case: 23-1236 Document: (related
                                        010110908642
                                                document(s)105Date  Filed:
                                                               Motion       08/25/2023
                                                                       for Relief             Page:
                                                                                  From Stay and       234
                                                                                                 4001-1.1
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               Appeal
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                                        Notice). Document due by 8/8/2022 for 105, (sd) (Entered: 08/04/2022)

                           134                 Judgment (related document(s)133 Order on Motion For Relief From
08/04/2022                 (1 pg)              Stay). (sd) (Entered: 08/04/2022)

                           133                 Order Granting Motion For Relief From Stay (related document(s):106
                           (1 pg)              Motion for Relief From Stay and 4001-1.1 Notice). (sd) (Entered:
08/04/2022                                     08/04/2022)

                           132                 Minute Order: For reasons stated on the record, the Motion for Relief is
                           (1 pg)              GRANTED. Debtor may continue litigation in the Colorado Court of
                                               Appeals Case No. 2022CA417: Plaintiff-Appellant: Kate Drakewyck, v.
                                               Defendant-Appellee: Heather Abreu. A separate Order and Judgment
                                               will enter. (related document(s)106 Motion for Relief From Stay and
08/04/2022                                     4001-1.1 Notice). (sd) (Entered: 08/04/2022)

                           131                 Further Information on Stalker Filed by Kate Buffy Drakewyck. (jc)
08/03/2022                 (15 pgs)            (Entered: 08/03/2022)

                           130                 List of Witnesses and Exhibits Filed by Jonathan Dickey on behalf of
                           (156 pgs; 9 docs)   David V. Wadsworth, Trustee (related document(s):126 Order on Motion
                                               to Appear Telephonically). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                                               Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
08/03/2022                                     Exhibit H) (Dickey, Jonathan) (Entered: 08/03/2022)

                           129                 List of Witnesses and Exhibits Filed by Jonathan Dickey on behalf of
                           (3 pgs)             David V. Wadsworth, Trustee (related document(s):126 Order on Motion
08/03/2022                                     to Appear Telephonically). (Dickey, Jonathan) (Entered: 08/03/2022)

                           128                 Response Filed by Jennifer M. Osgood on behalf of Linda Chalupsky
                           (72 pgs; 8 docs)    (related document(s):99 Motion for Relief From Stay and 4001-1.1
                                               Notice, 105 Motion for Relief From Stay and 4001-1.1 Notice).
                                               (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D #
                                               5 Exhibit E # 6 Exhibit F # 7 Exhibit G) (Osgood, Jennifer) (Entered:
07/27/2022                                     07/27/2022)

                           127                 Response Filed by Jennifer M. Osgood on behalf of Linda Chalupsky
                           (159 pgs; 9 docs)   (related document(s):101 Motion for Relief From Stay and 4001-1.1
                                               Notice, 107 Motion for Relief From Stay and 4001-1.1 Notice).
                                               (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D #
                                               5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (Osgood, Jennifer)
07/27/2022                                     (Entered: 07/27/2022)

                           126                 Order Converting In-Person Hearing To Telephonic Attendance.
                           (1 pg)              ORDERS that the Debtor, Chapter 7 Trustee, any additional objectors (to
                                               Debtor's other Motions for Relief from Stay), and any other interested
                                               parties shall appear telephonically at the hearing(s) scheduled for
                                               Thursday, August 4, 2022, at 1:30 p.m., in Courtroom F, United States
                                               Bankruptcy Court, U. S. Custom House, 721 19th Street, Denver,
                                               Colorado 80202. Parties shall call the Court prior to the hearing at 1-888-
                                               684-8852. The meeting access code is 345 4024 followed by the # sign.
                                               (related document(s):125 Motion to Appear Telephonically). (jc)
07/27/2022                                     (Entered: 07/27/2022)

07/26/2022                 125                 Motion to Move August 4, 2022 Hearing from Courthouse to Telephonic
                           (3 pgs)             Proceeding Filed by Kate Buffy Drakewyck (related document(s)105

                                                    233
   Appellate Case: 23-1236 Document: Motion
                                        010110908642
                                               for Relief FromDate   Filed:
                                                               Stay and     08/25/2023
                                                                        4001-1.1              Page:for
                                                                                 Notice, 106 Motion  235
                                                                                                       Relief
       BAPBAPAppeal
               Appeal
                    No.No.
                        23-4
                           23-4 Docket
                                  Docket
                                       No.
                                         No.
                                           31-2
                                              1-4    Filed:
                                                       Filed:08/04/2023
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                                        From Stay and 4001-1.1 Notice, 107 Motion for Relief From Stay and
                                              4001-1.1 Notice) . (jc) (Entered: 07/26/2022)

                           124                Order Granting Motion to Waive Filing Fee for Amended Motions for
                           (1 pg)             Release From Stay. IT IS FURTHER ORDERED that if sufficient assets
                                              are recovered in this case,the Chapter 7 trustee is directed to pay the
                                              filing fees from those assets in the total amount of $564.00 ($188.00 for
                                              each Motion for Relief from Stay). (related document(s):108 Motion, 122
07/25/2022                                    Motion). (jc) (Entered: 07/25/2022)

                           123                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                           (31 pgs; 2 docs)   Trustee (related document(s):107 Motion for Relief From Stay and 4001-
                                              1.1 Notice). (Attachments: # 1 Exhibit) (Dickey, Jonathan) (Entered:
07/25/2022                                    07/25/2022)

                           122                Second Motion to Waive Fees on Three Motions for Release From Stay
                           (2 pgs)            filed by Kate Buffy Drakewyck (related document(s)108 Motion) . (dg)
07/21/2022                                    (Entered: 07/22/2022)

                           121                Amended Disclosures filed by Kate Buffy Drakewyck (related
                           (7 pgs)            document(s):112 Document/Support Document). (dg) (Entered:
07/21/2022                                    07/22/2022)

                           120                Amended Schedule I: Current Income For Individual, Amended
                           (6 pgs)            Schedule J: Current Expenditures For Individual filed by Kate Buffy
                                              Drakewyck (related document(s):2 Voluntary Petition-Chapter 7). (dg)
07/21/2022                                    (Entered: 07/22/2022)

                           119                Order Regarding Debtor's Motion to Waive Fees on Three Motions for
                           (1 pg)             Release from Stay (related document(s)108 Motion). Amended
                                              Schedules I and J and supporting documentation due by 8/2/2022. (mjb)
07/19/2022                                    (Entered: 07/19/2022)

                           118                Report of Sale Filed by David V. Wadsworth, Trustee on behalf of David
                           (6 pgs)            V. Wadsworth, Trustee. (Wadsworth, Trustee, David) (Entered:
07/15/2022                                    07/15/2022)

                           117                Trustee's Fed. R. Civ. P. 26(a) Initial Disclosures Regarding Objection to
                           (4 pgs)            Homestead Exemption Filed by Jonathan Dickey on behalf of David V.
07/14/2022                                    Wadsworth, Trustee. (Dickey, Jonathan) (Entered: 07/14/2022)

                           114                Order Deeming Notice of Deficiencies Satisfied (related document(s)113
07/12/2022                 (1 pg)             Response to Rules Compliance Order). (mjb) (Entered: 07/12/2022)

                           116                (Duplicate) Proof of Compliance filed by Kate Buffy Drakewyck (related
                           (18 pgs; 4 docs)   document(s):113 Response to Rules Compliance Order). (Attachments: #
07/11/2022                                    1 Exhibit # 2 Exhibit # 3 Exhibit) (mjb) (Entered: 07/12/2022)

                           115                (Duplicate) Initial Disclosures filed by Kate Buffy Drakewyck (related
                           (5 pgs)            document(s):112 Document/Support Document). (mjb) (Entered:
07/11/2022                                    07/12/2022)

07/09/2022                 113                Proof of Compliance filed by Kate Buffy Drakewyck (related
                           (22 pgs; 5 docs)   document(s)109 4001(a) Deficiency Notice, 110 4001(a) Deficiency


                                                   234
   Appellate Case: 23-1236 Document: Notice,
                                       010110908642            Date Filed:
                                               111 4001(a) Deficiency        08/25/2023
                                                                        Notice). (Attachments: #Page:  236
                                                                                                 1 Exhibit #2
       BAPBAPAppeal
              AppealNo.
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                        23-4
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                                       No.31-2
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                                       Exhibit # 3 Exhibit # 4 Exhibit) (mjb) (Entered: 07/12/2022)

                            112                Initial Disclosures filed by Kate Buffy Drakewyck (related
07/09/2022                  (5 pgs)            document(s):86 7016 Scheduling Order). (mjb) (Entered: 07/12/2022)

                            111                Second Notice of Deficiency, Requirement to Cure, and
                            (2 pgs)            Recommendation For Dismissal of Motion for Relief from Stay for
                                               Service Only (related document(s)107 Motion for Relief From Stay and
                                               4001-1.1 Notice). Rules Compliance due by 7/12/2022. (jc) (Entered:
07/08/2022                                     07/08/2022)

                            110                Second Notice of Deficiency, Requirement to Cure, and
                            (2 pgs)            Recommendation For Dismissal of Motion for Relief from Stay for
                                               Service Only (related document(s)106 Motion for Relief From Stay and
                                               4001-1.1 Notice). Rules Compliance due by 7/12/2022. (jc) (Entered:
07/08/2022                                     07/08/2022)

                            109                Second Notice of Deficiency, Requirement to Cure, and
                            (2 pgs)            Recommendation For Dismissal of Motion for Relief from Stay for
                                               Service Only (related document(s)105 Motion for Relief From Stay and
                                               4001-1.1 Notice). Rules Compliance due by 7/12/2022. (jc) (Entered:
07/08/2022                                     07/08/2022)

                            108                Motion to Waive Fees on Three Motions for Release from Stay Filed by
                            (2 pgs)            Kate Buffy Drakewyck. (related document(s)99 Motion for Relief From
                                               Stay and 4001-1.1 Notice, 100 Motion for Relief From Stay and 4001-1.1
                                               Notice, 101 Motion for Relief From Stay and 4001-1.1 Notice) . (jc)
07/07/2022                                     (Entered: 07/08/2022)

                            107                Amended Motion for Release Stay to pursue litigation in 21CV33 and
                            (5 pgs)            21CA2035 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
07/07/2022                                     8/4/2022 at 01:30 PM at Courtroom F. (jc) (Entered: 07/08/2022)

                            106                Amended Motion for Release Stay to pursue litigation in 21CV223 and
                            (5 pgs)            22CA417 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
07/07/2022                                     8/4/2022 at 01:30 PM at Courtroom F. (jc) (Entered: 07/08/2022)

                            105                Amended Motion for Release Stay to pursue litigation in 19PR31223 and
                            (9 pgs; 2 docs)    22CA418 Filed by Kate Buffy Drakewyck. Stay Hearing to be held on
                                               8/4/2022 at 01:30 PM at Courtroom F. (Attachments: # 1 Exhibit -
07/07/2022                                     Forthwith Petition for Removal) (jc) (Entered: 07/08/2022)

                            104                Notice of Deficiency, Requirement to Cure, and Recommendation For
                            (2 pgs)            Dismissal of Motion for Relief from Stay (related document(s)101
                                               Motion for Relief From Stay and 4001-1.1 Notice). Rules Compliance
07/05/2022                                     due by 7/12/2022. (jc) (Entered: 07/05/2022)

                            103               Notice of Deficiency, Requirement to Cure, and Recommendation For
                            (2 pgs)           Dismissal of Motion for Relief from Stay (related document(s)100 Motion
                                              for Relief From Stay and 4001-1.1 Notice). Rules Compliance due by
07/05/2022                                    7/12/2022. (jc) (Entered: 07/05/2022)

07/05/2022                  102               Notice of Deficiency, Requirement to Cure, and Recommendation For
                            (2 pgs)           Dismissal of Motion for Relief from Stay (related document(s)99 Motion
                                              for Relief From Stay and 4001-1.1 Notice). Rules Compliance due by
                                              7/12/2022. (jc) (Entered: 07/05/2022)
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   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 237
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                                                Filed:08/04/2023
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                     101               Motion for Release Stay to pursue litigation in 21CV33 and 21CA2035
07/04/2022           (4 pgs)           Filed by Kate Buffy Drakewyck. (jc) (Entered: 07/05/2022)

                     100               Motion for Release Stay to pursue litigation in 21CV223 and 22CA417
07/04/2022           (4 pgs)           Filed by Kate Buffy Drakewyck. (jc) (Entered: 07/05/2022)

                     99                Motion for Release Stay to pursue litigation in 19PR31223 and 22CA418
                     (7 pgs; 2 docs)   Filed by Kate Buffy Drakewyck. (Attachments: # 1 Exhibit - Forthwith
07/04/2022                             Petition for Removal) (jc) (Entered: 07/05/2022)

                     98                Courts Notice or Order and BNC Certificate of Mailing (related
                     (3 pgs)           document(s)95 Judgment for BK Case). No. of Notices: 1. Notice Date
07/01/2022                             07/01/2022. (Admin.) (Entered: 07/01/2022)

                     97                Courts Notice or Order and BNC Certificate of Mailing (related
                     (3 pgs)           document(s)94 Order on Application to Employ). No. of Notices: 1.
07/01/2022                             Notice Date 07/01/2022. (Admin.) (Entered: 07/01/2022)

                     96                Judgment (related document(s)92 Minutes of Proceedings/Minute Order).
06/29/2022           (1 pg)            (sd) (Entered: 06/29/2022)

                     95                Judgment (related document(s)94 Order on Application to Employ). (sd)
06/29/2022           (1 pg)            (Entered: 06/29/2022)

                     94                Order Approving Renewed Application to Employ Larry Simpson and
                     (1 pg)            LIV Sotheby's International Realty As Realtor For The Chapter 7 Trustee.
                                       (related document(s):76 Application to Employ). (sd) (Entered:
06/29/2022                             06/29/2022)

                     93                Order Granting Motion to Sell Real Estate (6798 W. Portland Ave.)
                     (3 pgs)           Pursuant to 11 U.S.C. §§363(b)(f) And (h). (related document(s):61
                                       Motion to Sell Property Free and Clear of Liens Under Section 363(f)).
06/29/2022                             (sd) (Entered: 06/29/2022)

                     92                Minute Order: For the reasons stated on the record, the Trustees Motion to
                     (2 pgs)           Sell Real Estate (6798 W. Portland Ave.) pursuant to 11 U.S.C. §§ 363(b),
                                       (f), and (h) is GRANTED. A separate order shall enter. For the reasons
                                       stated on the record, the Trustees Renewed Application to Employ Larry
                                       Simpson of LIV Sothebys International Realty as Realtor for the Chapter 7
                                       Trustee is GRANTED and Debtors objection thereto is OVERRULED. A
                                       separate order and judgment shall enter. For the reasons stated on the
                                       record, the Debtors Motion to Remove Creditors and Debtors Updated
                                       Motion to Remove Creditors are DENIED. A separate judgment shall
                                       enter. (related document(s)61 Motion to Sell Property Free and Clear of
                                       Liens Under Section 363(f), 76 Application to Employ, 87 Motion, 90
06/29/2022                             Motion). (sd) (Entered: 06/29/2022)

                     91                Order and Notice of Additional Matters to be Heard (related
06/27/2022           (1 pg)            document(s)90 Motion). (jc) (Entered: 06/27/2022)

                     90                Updated Motion to Remove Creditors from Bankruptcy Filed by Kate
06/26/2022           (4 pgs)           Buffy Drakewyck. (jc) (Entered: 06/27/2022)

06/26/2022           89                Financial Management Course Certificate Filed by Kate Buffy
                     (3 pgs)           Drakewyck. (jc) (Entered: 06/27/2022)
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   Appellate Case: 23-1236 Document: 010110908642 Date Filed: 08/25/2023 Page: 238
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                                            1-4 Filed:
                                                     Filed:08/04/2023
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                                      Personal Financial Management Course Certificate For Debtor Filed by
06/26/2022                 (1 pg)            Sage Personal Finance (fmt). (Entered: 06/26/2022)

                           87                Motion to Remove Creditors from Bankruptcy Filed by Kate Buffy
                           (8 pgs; 2 docs)   Drakewyck. (Attachments: # 1 Exhibit - Forthwith Petition for Removal)
06/24/2022                                   (jc) (Entered: 06/24/2022)

                           86                Scheduling Order for Pre-Trial Deadlines Pursuant to Fed.R.Bankr.P.
                           (2 pgs)           7016(b) (Fed.R.Civ.P. 16(b)) (related document(s)34 Objection to
                                             Exemption). Discovery due by 9/15/2022 for 34, Dispositive Motion due
                                             9/29/2022 for 34, Amendments due by 7/8/2022 for 34, (jc) (Entered:
06/24/2022                                   06/24/2022)

                           85                Order Granting Motion to Set Forthwith Hearing on June 29, 2022
                           (1 pg)            Regarding the Trustee's Motion to Sell Real Estate (6798 W. Portland
                                             Ave.) Pursuant to 11 U.S.C. Subsection 363(b),(f) and (h) and the Trustee's
                                             Renewed Application to Employ Larry Simpson and Liv Sotheby's
                                             International Realty as Realtor for the Chapter 7 Trustee (related
                                             document(s):61 Motion to Sell Property Free and Clear of Liens Under
                                             Section 363(f), 76 Application to Employ). Telephonic Hearing to be held
06/23/2022                                   on 6/29/2022 at 10:00 AM Courtroom F . (dg) (Entered: 06/23/2022)

                           84                Judgment. ORDERED that judgment is entered against Debtor Kate Buffy
                           (1 pg)            Drakewyck on her Motion to Reconsider Denial of Debtor's Motion to
                                             Dismiss. (related document(s)83 Order on Motion To Reconsider). (jc)
06/23/2022                                   (Entered: 06/23/2022)

                           83                Order Denying Amended Motion For Reconsideration (related
06/23/2022                 (2 pgs)           document(s):71 Motion to Reconsider). (jc) (Entered: 06/23/2022)

                           82                Objection Filed by Kate Buffy Drakewyck (related document(s)76
06/22/2022                 (12 pgs)          Application to Employ). (jc) (Entered: 06/23/2022)

                           81                Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                           (6 pgs)           Trustee (related document(s):71 Motion to Reconsider). (Dickey,
06/22/2022                                   Jonathan) (Entered: 06/22/2022)

                           80                Order Granting Motion to Shorten Time (related document(s):76
                           (1 pg)            Application to Employ, 78 Motion to Shorten Time). 9013 Objections due
06/22/2022                                   by 6/28/2022 for 76, (jc) (Entered: 06/22/2022)

                           79                Motion to Expedite Hearing Filed by Jonathan Dickey on behalf of David
                           (6 pgs; 2 docs)   V. Wadsworth, Trustee (related document(s)61 Motion to Sell Property
                                             Free and Clear of Liens Under Section 363(f), 75 Document/Support
                                             Document, 76 Application to Employ, 78 Motion to Shorten Time).
                                             (Attachments: # 1 Proposed/Unsigned Order) (Dickey, Jonathan) (Entered:
06/22/2022                                   06/22/2022)

                           78                Motion to Shorten Time Filed by Jonathan Dickey on behalf of David V.
                           (6 pgs; 2 docs)   Wadsworth, Trustee (related document(s)76 Application to Employ, 77
                                             9013-1.1 Notice). (Attachments: # 1 Proposed/Unsigned Order) (Dickey,
06/22/2022                                   Jonathan) (Entered: 06/22/2022)

06/22/2022                 77                9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                           (4 pgs; 2 docs)   Wadsworth, Trustee (related document(s):76 Application to Employ)..

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   Appellate Case: 23-1236 Document:9013
                                       010110908642          Date Filed:
                                           Objections due by 6/28/2022      08/25/2023
                                                                        for 76,. (Attachments: Page:  239
                                                                                               # 1 Other
       BAPBAPAppeal
              AppealNo.
                      No.
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                                       No.31-2
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                                      Creditor Matrix) (Dickey, Jonathan) (Entered: 06/22/2022)
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                           76                 Application to Employ Larry Simpson and LIV Sotheby's International
                           (19 pgs; 4 docs)   Realty as Realtor Filed by Jonathan Dickey on behalf of David V.
                                              Wadsworth, Trustee. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
06/22/2022                                    Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 06/22/2022)

                           75                 Supplement to Motion to Sell Real Estate (6798 West Portland Avenue)
                           (6 pgs; 2 docs)    pursuant to 11 U.S.C. Sections 363(b), (f) and (h) Filed by Jonathan
                                              Dickey on behalf of David V. Wadsworth, Trustee (related document(s):61
                                              Motion to Sell Property Free and Clear of Liens Under Section 363(f)).
                                              (Attachments: # 1 Proposed/Unsigned Order) (Dickey, Jonathan) (Entered:
06/22/2022                                    06/22/2022)

                           74                 Proposed Joint Scheduling Order Filed by Jonathan Dickey on behalf of
                           (2 pgs)            David V. Wadsworth, Trustee (related document(s):65 Minutes of
06/22/2022                                    Proceedings/Minute Order). (Dickey, Jonathan) (Entered: 06/22/2022)

                           73                 Notice of Requirement to File a Statement of Completion of Course in
                           (1 pg)             Personal Financial Management Official Form 423. If the case is closed
                                              because of failing to file Official Form 423, the case cannot be reopened
                                              without full payment of the reopening fee. If the debtor(s) want a
                                              discharge, they must first ask the Court to reopen the case by filing a
                                              Motion to Reopen the case accompanied by the payment of the filing fee
                                              which is 260.00 for motions to reopen filed on and after January 1, 2007.
                                              After the case is reopened, the debtor(s) must then file Official Form 423
                                              evidencing completion of an instructional course concerning personal
                                              financial management in order to receive a discharge. If the debtor(s)
                                              fail(s) to file Official Form 23 within 30 days after the case is reopened,
                                              then the case will again be closed without the entry of a discharge.
                                              Financial Management Certificate Due by 08/05/2022 (adiclerk) (Entered:
06/21/2022                                    06/21/2022)

                           72                 This entry entered in error. Disregard following entry per CM
                           (4 pgs)            request. Amended Motion to Remove Creditor Filed by Kate Buffy
                                              Drakewyck (related document(s)2 Voluntary Petition-Chapter 7) . (jc)
06/20/2022                                    Modified on 6/23/2022 (jc). (Entered: 06/21/2022)

                           71                 Amended Motion to Reconsider Denial of Debtor's Motion to Dismiss
                           (12 pgs; 3 docs)   Filed by Kate Buffy Drakewyck (related document(s)65 Minutes of
                                              Proceedings/Minute Order) . (Attachments: # 1 Exhibit - Forthwith
06/20/2022                                    Petition for Removal # 2 Exhibit) (jc) (Entered: 06/21/2022)

                           70                 Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                           (6 pgs)            Trustee (related document(s):68 Motion to Reconsider). (Dickey,
06/14/2022                                    Jonathan) (Entered: 06/14/2022)

                           69                 This entry entered in error. Disregard following entry per CM
                           (4 pgs)            request. Motion to Remove Creditor Filed by Kate Buffy Drakewyck
                                              (related document(s)2 Voluntary Petition-Chapter 7). (jc) Modified on
06/10/2022                                    6/23/2022 (jc). (Entered: 06/10/2022)

                           68                 Motion to Reconsider Denial of Debtor's Motion to Dismiss Filed by Kate
                           (4 pgs)            Buffy Drakewyck (related document(s)65 Minutes of Proceedings/Minute
06/10/2022                                    Order) . (jc) (Entered: 06/10/2022)


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    Appellate Case: 23-1236
06/09/2022               67     Document:Judgment.
                                          010110908642
                                                    ORDERED thatDate   Filed:is08/25/2023
                                                                   judgment                       Page: 240
                                                                                 entered against Defendant Trustee
          BAP
           BAPAppeal
               AppealNo.
                       No.
                         23-4
                           23-4
                         (1 pg)
                                  Docket
                                   DocketNo.
                                           No.
                                             31-2
                                               1-4      Filed:
                                                         Filed:08/04/2023
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                                                                                            14  of
                                                                                                 of
                                         David V.Wadsworth on his Motion to Authorize Employment and
                                                                                                    20
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                                         Compensation of LarrySimpson of LIV Sotheby's International Realty as
                                         Broker for the Bankruptcy Estate. (related document(s)65 Minutes of
                                         Proceedings/Minute Order). (jc) (Entered: 06/09/2022)

                             66                 Judgment. ORDERED that judgment is entered against Debtor Kate Buffy
                             (1 pg)             Drakewyck on her Motion to End Bankruptcy Case Immediately. (related
                                                document(s)65 Minutes of Proceedings/Minute Order). (jc) (Entered:
06/09/2022                                      06/09/2022)

                             65                 Minute Order. Telephonic Non-Evidentiary Hearing on (1) the Trustee's
                             (2 pgs)            Objection to Debtor's Claim of Homestead Exemption and Debtors
                                                Objection thereto; (2) the Trustee's Motion to (A) Authorize Employment
                                                and Compensation of Larry Simpson of LIV Sotheby's International
                                                Realty as Broker for the Bankruptcy Estate and (B) Sell Real Estate (6798
                                                W. Portland Ave.) pursuant to 11 U.S.C. §§ 363(b), (f), and (h) filed on
                                                April 26, 2022, and supplemented by Supplement to Motion filed on May
                                                10, 2022 and Debtor's Objection thereto; and (3) Debtor's Motion to End
                                                Bankruptcy Case Immediately. Orders: For the reasons stated on the
                                                record, the Trustee's Motion to Authorize Employment and Compensation
                                                of Larry Simpson of LIV Sotheby's International Realty as Broker for the
                                                Bankruptcy Estate is DENIED. For the reasons stated on the record, the
                                                Debtor's Motion to End Bankruptcy Case Immediately is DENIED. The
                                                Trustee and the Debtor shall meet and confer in good faith and, on or
                                                before June 23, 2022, jointly file a proposed scheduling order setting forth
                                                pretrial deadlines to govern the contested matter of the Trustee's Objection
                                                to Debtor's Claim of Homestead Exemption and the Debtor's Objection
                                                thereto. Said proposed scheduling order shall incorporate initial disclosure
                                                obligations on the parties pursuant to Fed. R. Bankr. P. 9014(c) and Fed.
                                                R. Bankr. P. 7026, as made applicable to these proceedings by Fed. R. Civ.
                                                P. 26. (related document(s)30 Motion to Dismiss Case, 34 Objection to
                                                Exemption, 37 Application to Employ & Sell Property Free and Clear of
                                                Liens Under Section 363(f), 41 Motion to Dismiss Case, 48
                                                Document/Support Document). Document due by 6/23/2022 for 34 and
06/09/2022                                      for 30 and for 37 and for 48 and for 41, (jc) (Entered: 06/09/2022)

                             64                 Entry of Appearance and Request for Notice Filed by Jennifer M. Osgood
06/08/2022                   (2 pgs)            on behalf of Linda Chalupsky. (Osgood, Jennifer) (Entered: 06/08/2022)

                             63                 9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                             (5 pgs; 2 docs)    Wadsworth, Trustee (related document(s):61 Motion to Sell Property Free
                                                and Clear of Liens Under Section 363(f)).. 9013 Objections due by
                                                6/28/2022 for 61,. (Attachments: # 1 Other Creditor Matrix) (Dickey,
06/07/2022                                      Jonathan) (Entered: 06/07/2022)

                             62                 Receipt of Motion to Sell Property Free and Clear of Liens Under Section
                                                363(f)( 22-10977-EEB) [motion,s363ftr] ( 188.00) Filing Fee. Receipt
                                                number AXXXXXXXX. Fee amount 188.00 (U.S. Treasury) (Entered:
06/07/2022                                      06/07/2022)

                             61                 Motion to Sell 6798 West Portland Avenue, Littleton, Colorado Free and
                             (33 pgs; 3 docs)   Clear of Liens Under Section 363(f) Filed by Jonathan Dickey on behalf
                                                of David V. Wadsworth, Trustee. (Attachments: # 1 Exhibit # 2
06/07/2022                                      Proposed/Unsigned Order) (Dickey, Jonathan) (Entered: 06/07/2022)

05/31/2022                   60                 Order and Notice of Telephonic Non-Evidentiary Hearing (related
                             (1 pg)             document(s)30 Motion to Dismiss Case, 34 Objection to Exemption, 37

                                                      239
   Appellate Case: 23-1236 Document:Application
                                       010110908642
                                                  to Employ &Date    Filed: 08/25/2023
                                                               Sell Property Free and Clear of Page:  241
                                                                                               Liens Under
       BAPBAPAppeal
              AppealNo.
                      No.
                        23-4
                          23-4 Docket
                                DocketNo.
                                        No.31-2
                                             1-4      Filed:
                                                      Filed: 08/04/2023
                                                              01/30/2023       Page:
                                                                                Page:  240
                                                                                        15  of
                                                                                             of 20
                                                                                                245
                                      Section 363(f), 41 Motion to Dismiss Case, 48 Document/Support
                                              Document). Telephonic Hearing to be held on 6/9/2022 at 10:00 AM
                                              Courtroom F for 34 and for 30 and for 37 and for 48 and for 41,. (jc)
                                              (Entered: 05/31/2022)

                           59                 Response Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                           (4 pgs)            Trustee (related document(s):57 Certificate of Non-Contested Matter).
05/31/2022                                    (Dickey, Jonathan) (Entered: 05/31/2022)

                           58                 Notice of Withdrawal of Document Filed by Jonathan Dickey on behalf of
                           (3 pgs)            David V. Wadsworth, Trustee (related document(s):51 Motion to Sell
                                              Property Free and Clear of Liens Under Section 363(f))... (Dickey,
05/31/2022                                    Jonathan) (Entered: 05/31/2022)

                           57                 (Certificate of Non-Contested Matter) Debtor's Request for Judgment on
                           (4 pgs)            Motion to End Bankruptcy Case Filed by Kate Buffy Drakewyck (related
                                              document(s):30 Motion to Dismiss Case, 41 Motion to Dismiss Case). (jc)
05/20/2022                                    (Entered: 05/20/2022)

                           56                 Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                           (2 pgs)            David V. Wadsworth, Trustee (related document(s):37 Application to
                                              Employ & Sell Property Free and Clear of Liens Under Section 363(f), 47
05/18/2022                                    Objection). (Dickey, Jonathan) (Entered: 05/18/2022)

                           55                 Certificate of Contested Matter Filed by Jonathan Dickey on behalf of
                           (2 pgs)            David V. Wadsworth, Trustee (related document(s):34 Objection to
05/18/2022                                    Exemption, 43 Objection). (Dickey, Jonathan) (Entered: 05/18/2022)

                           54                 Objection to Notice of Motion to Sell Real Estate Filed by Kate Buffy
                           (12 pgs)           Drakewyck (related document(s)51 Motion to Sell Property Free and
05/14/2022                                    Clear of Liens Under Section 363(f)). (jc) (Entered: 05/16/2022)

                           53                 9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                           (5 pgs; 2 docs)    Wadsworth, Trustee (related document(s):51 Motion to Sell Property Free
                                              and Clear of Liens Under Section 363(f)).. 9013 Objections due by
                                              6/3/2022 for 51,. (Attachments: # 1 Other Creditor Matrix) (Dickey,
05/13/2022                                    Jonathan) (Entered: 05/13/2022)

                           52                 Receipt of Motion to Sell Property Free and Clear of Liens Under Section
                                              363(f)( 22-10977-EEB) [motion,s363ftr] ( 188.00) Filing Fee. Receipt
                                              number AXXXXXXXX. Fee amount 188.00 (U.S. Treasury) (Entered:
05/13/2022                                    05/13/2022)

                           51                 Withdrawn Per Notice #58. Motion to Sell 6798 West Portland Avenue,
                           (32 pgs; 3 docs)   Littleton, Colorado Free and Clear of Liens Under Section 363(f) Filed by
                                              Jonathan Dickey on behalf of David V. Wadsworth, Trustee. (Attachments:
                                              # 1 Exhibit 1 # 2 Proposed/Unsigned Order) (Dickey, Jonathan) Modified
05/13/2022                                    on 5/31/2022 (jc). (Entered: 05/13/2022)

                           50                 Corrected Entry of Appearance and Request for Notice Filed by Daniel
                           (2 pgs)            Glasser on behalf of Linda Chalupsky... (Glasser, Daniel) (Entered:
05/12/2022                                    05/12/2022)

                           49                 Entry of Appearance and Request for Notice Filed by Daniel Glasser on
05/12/2022                 (2 pgs)            behalf of Linda Chalupsky... (Glasser, Daniel) (Entered: 05/12/2022)

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   Appellate Case: 23-1236        Document: 010110908642               Date Filed: 08/25/2023           Page: 242
05/10/2022BAP
           BAPAppeal
               AppealNo.
                      No.4823-4 Docket
                         23-4    DocketSupplement
                                       No.
                                         No.  1-4 to Motion
                                            31-2      Filed:  to01/30/2023
                                                                 (A) Authorize Employment
                                                       Filed:08/04/2023           Page:   16and
                                                                                   Page:241    ofCompensation
                                                                                              of 20
                                                                                                  245
                         (3 pgs)       of Larry Simpson of LIV Sotheby's International Realty as Broker for the
                                       Bankruptcy Estate; and (B) Sell Real Estate (6798 West Portland Avenue)
                                       pursuant to 11 U.S.C. Sections 363(b), (f), AND (h) Filed by Jonathan
                                       Dickey on behalf of David V. Wadsworth, Trustee (related document(s):37
                                       Application to Employ & Sell Property Free and Clear of Liens Under
                                       Section 363(f)). (Dickey, Jonathan) (Entered: 05/10/2022)

                            47                 Objection to Application to Employ Larry Simpson Filed by Kate Buffy
                            (12 pgs; 2 docs)   Drakewyck (related document(s)37 Application to Employ & Sell
                                               Property Free and Clear of Liens Under Section 363(f)). (Attachments: # 1
05/04/2022                                     Exhibit) (jc) (Entered: 05/05/2022)

                            46                 Response to Second Order For Compliance Filed by Kate Buffy
                            (5 pgs)            Drakewyck (related document(s)33 Order Regarding Compliance With
05/04/2022                                     Rules). (jc) (Entered: 05/05/2022)

                            45                 Response to Notice of Deficiency Filed by Kate Buffy Drakewyck (related
05/04/2022                  (6 pgs)            document(s)42 Notice of Deficiency (9011(a))). (jc) (Entered: 05/05/2022)

                            44                 Response to Notice of Deficiency Filed by Kate Buffy Drakewyck (related
05/04/2022                  (3 pgs)            document(s)42 Notice of Deficiency (9011(a))). (jc) (Entered: 05/05/2022)

05/04/2022                                     Meeting of Creditors Satisfied. (adiclerk) (Entered: 05/04/2022)

                            43                 Debtor's Objection to Trustee's Objection to Debtor's Claim of Homestead
                            (42 pgs; 2 docs)   Exemption. Including Objection for Refusal to Discharge all Debt Filed by
                                               Kate Buffy Drakewyck (related document(s)34 Objection to Exemption).
04/30/2022                                     (jc) (Entered: 05/02/2022)

                            42                 Notice of Deficiency, Requirement to Cure, and Recommendation To
                            (2 pgs; 2 docs)    Strike for Failure to Comply with Federal Rule of Bankruptcy Procedure
                                               9011(a) (related document(s)41 Motion to Dismiss Case). 9011(a)
                                               Compliance due by5/13/2022. (Attachments: # 1 Missing Signature) (jc)
04/29/2022                                     (Entered: 04/29/2022)

                            41                 Motion to End Bankruptcy Case Immediatly After 21 Days With
04/28/2022                  (4 pgs)            Concessions Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/29/2022)

                            40                 Courts Notice and BNC Certificate of Mailing Re: Notice of Possible
                            (4 pgs)            Dividend (related document(s)36 Notice of Possible Dividends). No. of
04/28/2022                                     Notices: 5. Notice Date 04/28/2022. (Admin.) (Entered: 04/28/2022)

                            39                 9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                            (6 pgs; 2 docs)    Wadsworth, Trustee (related document(s):37 Application to Employ &
                                               Sell Property Free and Clear of Liens Under Section 363(f)).. 9013
                                               Objections due by 5/17/2022 for 37,. (Attachments: # 1 Other Creditor
04/26/2022                                     Matrix) (Dickey, Jonathan) (Entered: 04/26/2022)

                            38                 Receipt of Application to Employ & Sell Property Free and Clear of Liens
                                               Under Section 363(f)( 22-10977-EEB) [motion,es363ftr] ( 188.00) Filing
                                               Fee. Receipt number AXXXXXXXX. Fee amount 188.00 (U.S. Treasury)
04/26/2022                                     (Entered: 04/26/2022)

04/26/2022                  37                 Application to Employ Larry Simpson of LIV Sotheby's International
                            (47 pgs; 5 docs)   Realty as Real Estate Broker to Sell 6798 West Portland Avenue, Littleton,

                                                     241
   Appellate Case: 23-1236 Document:Colorado
                                       010110908642
                                               Free and ClearDate   Filed:
                                                              of Liens     08/25/2023
                                                                       Under                 Page:
                                                                             Section 363(f) Filed     243
                                                                                                  by Jonathan
       BAPBAPAppeal
              AppealNo.
                      No.
                        23-4
                          23-4 Docket
                                DocketNo.
                                       No.31-2
                                            1-4     Filed:
                                                     Filed: 08/04/2023
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                                                                                            of 20
                                                                                               245
                                      Dickey on behalf of David V. Wadsworth, Trustee. (Attachments: # 1
                                              Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Proposed/Unsigned Order)
                                              (Dickey, Jonathan) (Entered: 04/26/2022)

                           36                 Notice of Possible Dividends. It appearing to the Trustee that a dividend to
                           (2 pgs)            creditors is possible; Creditors are hereby notified that if they desire to
                                              participate in a distribution of assets, they must file a claim with the court
                                              no later than the date shown below. Pursuant to Federal Rule of
                                              Bankruptcy Procedure 3002(c)(1) and (5) a proof of claim shall be filed
                                              BY A GOVERNMENTAL UNIT not later than 180 days after the date of
                                              the order for relief, or the date shown below, whichever is later. All
                                              claimants who are seeking an administrative claim must obtain a Court
                                              Order pursuant to the Bankruptcy Code. Proofs of Claim due by
04/26/2022                                    08/1/2022. (Wadsworth, Trustee, David) (Entered: 04/26/2022)

                           35                 9013-1.1 Notice Filed by Jonathan Dickey on behalf of David V.
                           (3 pgs; 2 docs)    Wadsworth, Trustee (related document(s):34 Objection to Exemption)..
                                              9013 Objections due by 5/9/2022 for 34,. (Attachments: # 1 Other
04/25/2022                                    Creditor Matrix) (Dickey, Jonathan) (Entered: 04/25/2022)

                           34                 Objection to Exemption Filed by Jonathan Dickey on behalf of David V.
                           (18 pgs; 3 docs)   Wadsworth, Trustee. (Attachments: # 1 Exhibit # 2 Proposed/Unsigned
04/25/2022                                    Order) (Dickey, Jonathan) (Entered: 04/25/2022)

                           33                 Second Order For Compliance With Local Bankruptcy Rule 9013-1 Or
                           (2 pgs)            Other Applicable Rules of Procedure Regarding Service and Notice
                                              (related document(s)30 Motion to Dismiss Case). Rules Compliance due
04/25/2022                                    by 5/2/2022. (re) (Entered: 04/25/2022)

                           32                 9013-1.1 Notice and Certificate of Service filed by Kate Buffy Drakewyck
                           (7 pgs)            (related document(s):30 Motion to Dismiss Case. (re) (Entered:
04/24/2022                                    04/25/2022)

                           31                 Order For Compliance With Local Bankruptcy Rule 9013-1 Or Other
                           (1 pg)             Applicable Rules Of Procedure Regarding Service And Notice (related
                                              document(s)30 Motion to Dismiss Case). Rules Compliance due by
04/22/2022                                    4/29/2022 for 30, (jc) (Entered: 04/22/2022)

                           30                 Motion to End Bankruptcy Case Immediatly with Concessions Filed by
04/21/2022                 (4 pgs)            Kate Buffy Drakewyck. (jc) (Entered: 04/22/2022)

                           29                 Order Denying Motion To Remove Trustee and Trustee's Attorney.
04/21/2022                 (1 pg)             (related document(s):28 Motion). (sd) (Entered: 04/21/2022)

                           28                 Motion to Remove David Wasworth as Trustee and Lawyer he Contracted
04/20/2022                 (3 pgs)            Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/20/2022)

                           27                 Order Approving Application to Employ Kutner Brinen Dickey Riley, P.C.
                           (1 pg)             as Counsel for the Chapter 7 Trustee (related document(s):26 Application
04/19/2022                                    to Employ). (jc) (Entered: 04/19/2022)

                           26                 Application to Employ Kutner Brinen Dickey Riley, P.C. as Attorney for
                           (7 pgs; 3 docs)    Trustee Filed by Jonathan Dickey on behalf of David V. Wadsworth,
                                              Trustee. (Attachments: # 1 Proposed/Unsigned Order # 2 Exhibit A)
04/18/2022                                    (Dickey, Jonathan) (Entered: 04/18/2022)

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04/13/2022BAP
           BAPAppeal
               AppealNo.
                      No.2523-4 Docket
                         23-4    DocketClarification
                                       No.
                                         No.   1-4 ofFiled:
                                             31-2       Schedule E/F Filed by Kate
                                                        Filed:08/04/2023
                                                               01/30/2023          Buffy 243
                                                                                 Page:
                                                                                 Page:   Drakewyck
                                                                                          18 of 245(related
                                                                                             of20
                         (3 pgs)       document(s):13 Schedule A/B, Schedule D And/Or Schedule E/F, 14
                                       Order Directing Compliance With Rule 1009 On Amendments, 17
                                       Schedule D And/Or Schedule E/F, 18 1009-1.1 Notice of Amendment).
                                       (jc) (Entered: 04/14/2022)

                            24               1009-1.1 Notice of Amendment to Voluntary Petition, Lists, Schedules, or
                            (6 pgs)          Statements Filed by Kate Buffy Drakewyck (related document(s):20
04/13/2022                                   Schedule C). (jc) (Entered: 04/14/2022)

                            23               Courts Notice or Order and BNC Certificate of Mailing (related
                            (2 pgs)          document(s)21 Order Directing Compliance With Rule 1009 On
                                             Amendments). No. of Notices: 1. Notice Date 04/13/2022. (Admin.)
04/13/2022                                   (Entered: 04/13/2022)

                            22               Order on Motion to Pay Amended Form Fee (related document(s):19
                            (1 pg)           Application to Pay Filing Fee in Installments). First Installment Payment
                                             due by 4/27/2022. Second Installment Payment due by 5/16/2022. Final
04/11/2022                                   Installment Payment due by 6/17/2022. (jc) (Entered: 04/11/2022)

                            21               Order Directing Compliance with Federal Rule of Bankruptcy Procedure
                            (1 pg)           1009(a) and/or L.B.R. 1009-1. (related document(s)17 Schedule D And/Or
04/11/2022                                   Schedule E/F, 20 Schedule C). (jc) (Entered: 04/11/2022)

                            20               Amended Schedule C: Property Claimed as Exempt Filed by Kate Buffy
                            (2 pgs)          Drakewyck (related document(s):2 Voluntary Petition-Chapter 7). (jc)
04/08/2022                                   (Entered: 04/11/2022)

                            19               Motion to Pay Amended Schedule E Form Fee With 1st Installment
04/08/2022                  (2 pgs)          Payment Filed by Kate Buffy Drakewyck. (jc) (Entered: 04/08/2022)

                            18               1009-1.1 Notice of Amendment to Voluntary Petition, Lists, Schedules, or
                            (7 pgs)          Statements Filed by Kate Buffy Drakewyck (related document(s):13
                                             Schedule A/B, Schedule D And/Or Schedule E/F, 16 Schedule A/B, 17
04/08/2022                                   Schedule D And/Or Schedule E/F). (jc) (Entered: 04/08/2022)

                            17               Amended Schedule D: Creditors having Claims Secured by Property
                            (6 pgs)          And/Or Schedule E/F: Creditors Who Have Unsecured Claims For
                                             Individual. Total Number of Creditors Added or Uploaded: 1. Fee not
                                             paid. Filed by Kate Buffy Drakewyck (related document(s):2 Voluntary
                                             Petition-Chapter 7, 13 Schedule A/B, Schedule D And/Or Schedule E/F).
04/08/2022                                   (jc) (Entered: 04/08/2022)

                            16               Amended Schedule A/B: Property for Individual Filed by Kate Buffy
                            (11 pgs)         Drakewyck (related document(s):2 Voluntary Petition-Chapter 7, 13
                                             Schedule A/B, Schedule D And/Or Schedule E/F). (jc) (Entered:
04/08/2022                                   04/08/2022)

                            15               Courts Notice or Order and BNC Certificate of Mailing (related
                            (2 pgs)          document(s)14 Order Directing Compliance With Rule 1009 On
                                             Amendments). No. of Notices: 1. Notice Date 04/06/2022. (Admin.)
04/06/2022                                   (Entered: 04/06/2022)

                            14               Order Directing Compliance with Federal Rule of Bankruptcy Procedure
                            (1 pg)           1009(a) and/or L.B.R. 1009-1. (related document(s)13 Schedule A/B,
04/04/2022                                   Schedule D And/Or Schedule E/F). (jc) (Entered: 04/04/2022)

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   Appellate Case: 23-1236           Document: 010110908642             Date Filed: 08/25/2023           Page: 245
04/02/2022BAP
           BAPAppeal
               AppealNo.
                      No.1323-4 Docket
                         23-4    DocketAmended
                                       No.
                                         No.  1-4Schedule
                                           31-2            A/B:
                                                      Filed:
                                                       Filed:   Property For Individual,
                                                             08/04/2023
                                                              01/30/2023        Page:
                                                                                 Page:244Amended
                                                                                         19 ofof20Schedule D:
                                                                                                245
                         (4 pgs)       Creditors having Claims Secured by Property And/Or Schedule E/F:
                                       Creditors Who Have Unsecured Claims For Individual. Total Number of
                                       Creditors Added or Uploaded: 3. Fee not paid. Filed by Kate Buffy
                                       Drakewyck (related document(s):2 Voluntary Petition-Chapter 7). (jc)
                                       (Entered: 04/04/2022)

                            12                 Schedule G: Executory Contracts and Unexpired Leases For Individual
                            (2 pgs)            Filed by Kate Buffy Drakewyck (related document(s):2 Voluntary
04/02/2022                                     Petition-Chapter 7). (jc) (Entered: 04/04/2022)

                            11                 Order on Motion to Modify Installment Payments. (related
                            (1 pg)             document(s):10 Application to Pay Filing Fee in Installments). First
                                               Installment Payment due by 4/27/2022. Second Installment Payment due
                                               by 5/16/2022. Final Installment Payment due by 6/17/2022. (jc) (Entered:
04/01/2022                                     04/01/2022)

                            10                 Motion to Modify Installment Payments Filed by Kate Buffy Drakewyck.
03/30/2022                  (2 pgs)            (jc) (Entered: 03/31/2022)

                            9                  Courts Notice and BNC Certificate of Mailing Re: Meeting of Creditors
                            (5 pgs)            (related document(s)1 Meeting of Creditors-Chapter 7). No. of Notices: 3.
03/30/2022                                     Notice Date 03/30/2022. (Admin.) (Entered: 03/30/2022)

                            8                  Order Denying Application For Waiver of the Chapter 7 Filing Fee First
                            (1 pg)             Installment Payment due by 4/8/2022. Second Installment Payment due by
                                               5/6/2022. Final Installment Payment due by 6/3/2022. (jc) (Entered:
03/28/2022                                     03/28/2022)

                            7                  Notice of Deficiency For Omission of Information: Schedule G, Missing
                            (1 pg)             document(s) due by 4/8/2022. (related document(s)2 Voluntary Petition-
03/28/2022                                     Chapter 7). (jc) (Entered: 03/28/2022)

                                               Set Notice of Financial Course Due Date. Notice of Financial
                                               Management Course Certificate Due by 06/18/2022 (adiclerk) (Entered:
03/26/2022                                     03/26/2022)

                            6                  Application For Waiver of the Chapter 7 Filing Fee. Filed by Kate Buffy
03/25/2022                  (5 pgs)            Drakewyck . (mmg) (Entered: 03/25/2022)

                            5           Chapter 7 Means Test Calculation - Form 122A-2, Chapter 7 Statement of Current
                            (13 pgs)    Monthly Income - Form 122A-1. Filed by Kate Buffy Drakewyck. (related
03/25/2022                              document(s):2 Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)

                            4           Statement of Intent. Filed by Kate Buffy Drakewyck (related document(s):2
03/25/2022                  (3 pgs)     Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)

                            3           Statement of Social Security Number. Filed by Kate Buffy Drakewyck (related
03/25/2022                              document(s):2 Voluntary Petition-Chapter 7). (mmg) (Entered: 03/25/2022)

                            2           Chapter 7 Voluntary Petition for Individual, Certificate of Credit Counseling and
                            (48 pgs)    Employee Income Records. Filed by Kate Buffy Drakewyck . (mmg) (Entered:
03/25/2022                              03/25/2022)

03/25/2022                  1           Meeting of Creditors & Notice of Appointment of Interim Trustee Wadsworth,

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   Appellate Case: 23-1236
                        (3 pgs)Document:   010110908642
                                  Trustee, David                 Date to
                                                 V. with 341(a) meeting Filed: 08/25/2023
                                                                          be held on 4/20/2022 atPage:  246at
                                                                                                 08:00 AM
       BAPBAPAppeal
              AppealNo.
                      No.
                        23-4
                          23-4 Docket
                                  Docket No.No.
                                              31-2
                                                 1-4     Filed:
                                                         Filed: 08/04/2023
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                                  Denver Chapter 7 Telephonic Financial Management Course Certificate due by
                                       6/21/2022. Last day to oppose discharge or dischargeability is 6/21/2022.
                                       (Entered: 03/25/2022)

                                       New Bankruptcy Case Opened . Section 521 Incomplete Filings due by 5/9/2022.
03/25/2022                             (mmg) (Entered: 03/25/2022)




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